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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

    In re:                                                  CASE NO. 6:20-bk-02159-KSJ

                                                            CHAPTER 11
    FOODFIRST GLOBAL
    RESTAURANTS, INC., et al.,                              Jointly Administered 1

                           Debtors.
                                                            EMERGENCY RELIEF REQUESTED
                                                            HEARING REQUESTED BY APRIL
                                                   /        15, 2020

     EMERGENCY MOTION OF DEBTORS SEEKING ENTRY OF AN INTERIM
    AND FINAL ORDER: (A) AUTHORIZING THE DEBTORS TO OBTAIN POST
     PETITION FINANCING FROM THE DIP LENDER PURSUANT TO 11 U.S.C.
   §§ 105, 361, 362, 363, AND 364; (B) PROVIDING LIENS, SECURITY INTERESTS
   AND SUPERPRIORITY CLAIMS TO THE DIP LENDER; (C) MODIFYING THE
AUTOMATIC STAY TO ALLOW THE DIP LENDER TO TAKE CERTAIN ACTIONS;
(D) GRANTING ADEQUATE PROTECTION TO CERTAIN PREPETITION SECURED
PARTIES AND (E) APPROVING THE FORM AND METHOD OF NOTICE THEREOF
                     AND REQUEST FOR EMERGENCY HEARING


             FOODFIRST GLOBAL RESTAURANTS, INC., (“FoodFirst” or “Debtor”), a Ohio

corporation, and seven (7) of its affiliates or subsidiaries (the “Affiliated Debtors”) (“FoodFirst”

and the “Affiliated Debtors” are hereinafter collectively referred to as the “Debtors”), file this

emergency motion pursuant to Sections 105, 361, 362, 363 and 364 of the U.S. Bankruptcy

Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”), and Rules 2002, 4001, 6003, 6004 and

9014, Federal Rules of Bankruptcy Procedure, requesting authority to obtain credit, incur debt,




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 Joint administration requested with the following cases: Food First Global Restaurants, LLC, Case No. 6:20-bk-
02159; FoodFirst Global Holdings, LLC, Case No: 6:20-bk-02161; Brio Tuscan Grille of Maryland, Inc., Brio
Marlton, LLC, Case No: 6:20-bk-02162; Case No: 6:20-bk-02163-; Brio Tuscan Grille of Baltimore, LLC, Case No:
6:20-bk-02164; Cherry Hill To, LLC, Case No: 6:20-bk-02166; Brio Tuscan Grille of Cherokee, LLC, Case No:
6:20-bk-02165; and Bravo Development of Kansas, Inc., Case No: 6:20-bk-02167.
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grant liens, use cash collateral and other collateral and request an emergency hearing on the

motion by April , 2020 (the “Motion”).

       A.      The Motion seeks authorization and approval of a debtor-in-possession loan (the

“DIP Loan”), on the terms and conditions consistent with those set forth in the Debtor-in-

Possession Credit Facility Term Sheet, (the “DIP Loan Agreement”), and the other DIP

Documents, as defined by the DIP Loan Agreement, as they may be modified from time to time.

The lender shall be GPEE Lender, LLC, a Florida limited liability company (the “DIP Lender”)

and the DIP Loan Agreement shall be entered into by and among the DIP Lender and the

Debtors, and consented to by the Prepetition Secured Parties. A true and correct copy of the DIP

Loan Agreement is attached hereto as Exhibit “A” and is incorporated herein by reference. The

DIP Lender agrees to make a senior secured superpriority priming debtor-in-possession loan to

Debtors from time to time during the Availability Period in accordance with the Draw Schedule,

all as defined in the DIP Loan Agreement, in an aggregate amount not to exceed at any time

outstanding aggregate commitments of $10.0 million (the “DIP Commitment”) consisting of a

$3.0 million DIP Commitment as of the Interim Closing Date (the “Interim Commitment”) and

an incremental $7.0 million DIP Commitment as of the Final Closing Date (the “Final

Commitment”), provided, that after giving effect to the principal balance of all DIP Loans

(exclusive of amounts “paid in kind”), the aggregate principal balance of all DIP Loans shall not

exceed the DIP Commitment. The advances made under the DIP Loan Agreement will be used

solely in accordance with the agreed upon thirteen (13) week budget (the “Approved Budget”)

for: (a) working capital and general corporate purposes of the Debtors; and (b) obligations under

that certain Management Agreement, dated on or about the date hereof, between the Debtors and



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BBR Manager LLC, a Florida limited liability company (the “Management Agreement”); (c)

bankruptcy-related costs and expenses; and (d) costs and expenses related to the DIP Loan.

       B.      Debtors requests an emergency hearing (the “Hearing”), pursuant to Bankruptcy

Rule 4001, shall be held on the Motion on or before April 15, 2020, for this Court to consider

entry of an interim order (the “Interim Order”) approving the DIP Loan, on an interim basis, as

set forth herein and in the DIP Loan Agreement and waiver of Bankruptcy Rule 6004(h)

applicable to the Interim Order. A copy of the proposed Interim Order is attached to the Motion

and filed with this Court as Exhibit “B”.

       In support of its Motion, the Debtors respectfully represent as follows:

BANKRUPTCY RULE 4001 SUMMARY OF RELIEF REQUESTED (DIP FINANCING)

       Pursuant to Bankruptcy Rule 4001(c)(1)(B), a concise statement of material provisions of

the proposed DIP Loan Agreement and form of Interim Order are as follows:

       A.      Interest Rate: The Debtors shall pay interest at a rate of 15.0% per annum, to be

paid in kind with such interest added to the principal amount of the DIP Loan, compounded

monthly in arrears on the last day of each month. Interest shall begin to accrue on the Interim

DIP Loan on the Interim Closing Date and on the Final DIP Loan from and after the Final

Closing Date (the “Note Rate”) (DIP Loan Agreement, p. 8). The default rate on the DIP Loan

shall be the Note Rate plus 2%. (DIP Loan Agreement, p. 8).

       B.      Maturity:       The DIP Loans (together with all other DIP Obligations) shall

mature and be due and payable on the earliest to occur of the following (such date, the “Maturity

Date”): (i) 75 days after the Petition Date (the “Outside Date”); (ii) the date which is thirty-three

(33) days following the entry of the Interim Order if the Bankruptcy Court has not entered the

Final Order on or prior to such date; (iii) the date of the Debtors’ receipt of notice of the

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acceleration of any of the DIP Loans and the termination of the commitments to make the DIP

Loans resulting from the occurrence of an Event of Default (including, without limitation, the

failure to meet any Sale Milestone set forth on Exhibit C of the DIP Loan Agreement

(collectively, the “Sale Milestones”) by the applicable “Specified Deadline” set forth on Exhibit

C of the DIP Loan Agreement (the “Specified Deadline”); (iv) the date of substantial

consummation (as defined in section 1101(2) of the Bankruptcy Code) of a confirmed plan of

reorganization in the Chapter 11 Cases; and (v)       the filing of a motion by the Debtors seeking

dismissal of any or all of the Chapter 11 Cases, the dismissal of any or all of the Chapter 11

Cases, the filing of a motion by the Debtors seeking to convert any or all of the Chapter 11 Cases

to a case under chapter 7 of the Bankruptcy Code, the conversion of any or all of the Chapter 11

Cases to a case under chapter 7 of the Bankruptcy Code or the appointment or election of a

trustee under chapter 11 of the Bankruptcy Code, a responsible officer or examiner with enlarged

powers relating to the operation of the Debtors’ business (powers beyond those set forth in

section 1106(a)(3) and (4) of the Bankruptcy Code) under section 1106 of the Bankruptcy Code.

       Provided, however, that the Outside Date may be extended at the option of Borrower for

no more than three 2-week periods after the Outside Date subject to the satisfaction of the

following conditions in respect of each such extension; it being understood that the sole purpose

of such extension is to afford additional time for the Bankruptcy Court to enter a Sale Order: (1)

on or prior to the Maturity Date, the DIP Lender shall have received (i) written notice from

Borrower of Borrower’s election to exercise the option to extend the Maturity Date for a 2-week

period and (ii) the payment of a $200,000 extension fee (each an “Extension Fee”) for each

extension, which shall be fully earned, non-refundable and due and payable in full in cash; (2)

the Asset Purchase Agreement is then in full force and effect, all conditions to the closing of the

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transactions contemplated by the Asset Purchase Agreement have been satisfied (unless waived

with the prior written consent of the DIP Lender), other than the condition requiring the entry of

the Sale Order; (3) all parties to the Asset Purchase Agreement are otherwise ready, willing and

able to close the transactions contemplated by the Asset Purchase Agreement in accordance with

the terms thereof; and (4) none of the conditions set forth in clauses (ii)-(v) of the immediately

preceding paragraph above exist and are continuing. (DIP Loan Agreement, pp. 10-11)

       C.      Events of Default: Each of the following shall constitute an “Event of Default”:

(i) the occurrence of any deviation from the Approved Budget that is greater than the Permitted

Variances; (ii) the use of Cash Collateral for any purpose other than as permitted in the DIP

Documents, DIP Order or Approved Budget; (iii) any modification of the DIP Lender’s rights

under the DIP Documents or DIP Order; (iv) failure of any of the Sale Milestones to be satisfied

by the Specified Deadline (as such Specified Deadlines may be modified to accommodate the

calendar of the Bankruptcy Court); (v) failure by any Debtor to be in compliance in all respects

with clauses (i), (ii), (iii), (vi) (subject to Permitted Variances), (xiii), (xiv) and (xv) of the

Section entitled “Affirmative Covenants” and in compliance in all material respects with any

other provision of the DIP Loan Agreement, the DIP Order and/or the Final Order (as

applicable); (vi) failure of any representation or warranty to be true and correct in all material

respects; (vii) the filing of any application by the Debtors (other than the application for

financing provided by a third party which seeks authority to pay all of the DIP Obligations in full

upon entry of the order approving such financing) for the approval of (or an order is entered by

the Court approving) any claim arising under Section 507(b) of the Bankruptcy Code or any

other provision of the Bankruptcy Code or any security, mortgage, collateral interest or other lien

in any of the Chapter 11 Cases which is pari passu with or senior to the DIP Superpriority

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Claims or the Priming DIP Liens, excluding liens arising under the DIP Order, or pursuant to any

other financing agreement made with the prior written consent of the DIP Lender; (viii) the

filing of any application by the Debtors for the approval of (or an order is entered by the Court

authorizing) compensation or other amounts under any employee or executive incentive or

retention plans (or any similar sort of retention or incentive program) without the prior written

consent of the DIP Lender in its sole discretion; (ix) any request made by the Debtors for, or the

reversal, modification, amendment, stay, reconsideration or vacatur of the DIP Order, as entered

by the Bankruptcy Court, without the prior written consent of the DIP Lender; (x) the

commencement of any action by the Debtors or other authorized person (other than an action

permitted by the DIP Order) against any of the DIP Lender or its agents and employees, to

subordinate or avoid any liens made in connection with the DIP Order; (xi) the assertion by the

Debtors in any pleading filed in any court that any material provision of the DIP Order or DIP

Loan Agreement is not valid and binding for any reason, or any material provision of the DIP

Order or DIP Loan Agreement shall for any reason, or any other order of this Court approving

the Debtors’ use of Cash Collateral (as defined in the DIP Order), cease to be valid and binding

(without the prior written consent of the DIP Lender); (xii) the filing with the Bankruptcy Court

of a plan of reorganization or liquidation in any of the Chapter 11 Cases that does not provide for

indefeasible payment in full in cash to the DIP Lender of DIP Loans and all other amounts

outstanding under the DIP Loan Agreement, the DIP Order on the effective date of such plan;

(xiii) the appointment in any of the Chapter 11 Cases of a trustee, receiver, examiner, or

responsible officer with enlarged powers relating to the operation of the business of any Debtor

(powers beyond those set forth in sections 1106(a)(3) and (a)(4) of the Bankruptcy Code); (xiv)

the granting of relief from the automatic stay by the Bankruptcy Court to any other creditor or

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party in interest in the Chapter 11 Cases with respect to any portion of the DIP Collateral

exceeding $50,000 in value in the aggregate; (xv) failure to pay principal, interest or other DIP

Obligations in full in cash when due, including without limitation, on the Maturity Date; (xvi)

the allowance of any claim or claims under Section 506(c) or 552(b) of the Bankruptcy Code

against or with respect to any DIP Collateral; (xvii) withdrawal or material modification by the

Debtors of the motion to approve the sale of all or substantially all of the Debtors’ assets, to be

filed on or shortly thereafter the Petition Date, without the consent of the DIP Lender; (xviii) the

successful bidder at the Auction defaults or otherwise breaches its obligations under either the

asset purchase agreement, which shall be in form and substance acceptable to the DIP Lender

(and any “back-up” bidder is not likewise ready, willing and able to close), or under the order

approving the sale to such buyer (and the “back-up” bidder), which shall be in form and

substance acceptable to the DIP Lender (the “Sale Order”), or the Asset Purchase Agreement (or

the asset purchase agreement with the “back-up” bidder, if applicable) or the Sale Order ceases

to be in full force and effect for any reason; (xix) any modification, amendment or waiver to the

terms of the Asset Purchase Agreement not consented to in writing by the DIP Lender; (xx) the

occurrence of any Material Adverse Change; (xxi) any breach by the Debtors pursuant to the

terms of the Asset Purchase Agreement, which breach is not cured by the Debtors within any

cure period provided pursuant to the terms of the Asset Purchase Agreement or waived by the

buyer thereunder; (xxii) the Management Agreement ceases to be in full force and effect for any

reason; and (xxiii) such other events of default as the DIP Lender may reasonably identify in

writing to Borrower prior to the entry of the DIP Order. (DIP Loan Agreement, pp. 18-19).

       D.      Priming Liens Under Section 364(c) and (d): The DIP Loan and other liabilities

and obligations of Debtors to the DIP Lender under or in connection with the DIP Loan

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Agreement, the DIP Documents, the Interim Order and/or Final Order (collectively, the “DIP

Obligations”) shall be: (i) pursuant to section 364(c)(1) of the Bankruptcy Code, entitled to

superpriority administrative expense claim status in the Chapter 11 Cases of the Debtors with

priority over any and all administrative expenses, whether heretofore or hereafter incurred, of the

kind specified in sections 503(b) or 507(a) of the Bankruptcy Code but shall be subject to the

Carve-Out and, subject to entry of a Final Order, shall be payable from the proceeds of DIP

Collateral, including, without limitation, Avoidance Actions, if any; (ii) pursuant to sections

364(c)(2), secured by a perfected first-priority lien on the DIP Collateral, as defined in the DIP

Loan Agreement, to the extent that such DIP Collateral is not subject to valid, perfected and

nonavoidable liens as of the Petition Date (but in all cases subject to the Carve-Out); (iii)

pursuant to section 364(c)(3), secured by a perfected junior lien on DIP Collateral (as defined in

the DIP Loan Agreement), to the extent such DIP Collateral is subject to a Permitted Lien; and

(iv) pursuant to section 364(d) of the Bankruptcy Code, secured by a perfected, senior secured

superpriority priming security interest and lien granted to the DIP Lender (the “Priming DIP

Liens”) on the DIP Collateral.

       The Priming DIP Liens shall not be pari passu with, or subordinated to, any other liens or

security interests (whether currently existing or hereafter created), subject in each case only to

permitted exceptions (i) to be expressly agreed upon in writing by the DIP Lender and the

Prepetition Agent (on behalf of the Prepetition Secured Parties) in their sole discretion or (ii)

imposed by applicable non-bankruptcy law and disclosed to the DIP Lender and the Prepetition

Agent prior to the entry of the Interim Order, in existence as of the Petition Date and otherwise

unavoidable (collectively, the “Permitted Liens”). For the avoidance of doubt, the Permitted



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Liens shall not include any liens which are junior in priority to the Liens held by the Prepetition

Lenders. (DIP Loan Agreement, pp. 4-5).

         E.      Liens on Avoidance Actions: As part of the collateral for the DIP Loan, DIP

Lender shall receive a lien on avoidance actions and the proceeds thereof under Chapter 5 of the

Bankruptcy Code, if any (the “Avoidance Actions”). Notwithstanding the foregoing, Avoidance

Actions and proceeds thereof, if any, shall not constitute DIP Collateral, as defined in the DIP

Loan Agreement, until after the entry of a Final Order. (DIP Loan Agreement, p. 5).

         F.      Borrowing Limits:    (i) The Interim DIP Loan: On or after the Interim Closing

Date, Debtors may request loans in one or more draws in an aggregate principal amount of up to

$3.0 million, subject to the provisions of the DIP Loan Agreement and in accordance with the

Approved Budget and the terms of the Interim Order approving the DIP Loan on an interim basis

(the “Interim DIP Loans”); and (ii) The Final DIP Loan: On or after the Final Closing Date,

Borrower may request DIP Loans up to amounts, not to exceed the DIP Commitment, less

amounts drawn under the Initial DIP Commitment, set forth in the schedule set forth in the DIP

Loan Agreement and in paragraph G below (the “Final DIP Loan”, together with the Interim DIP

Loans, the “DIP Loans”), subject to the provisions of the DIP Loan Agreement and in

accordance with the Approved Budget and the terms of the Final Order. (DIP Loan Agreement,

p. 2).

         G.      Borrowing Conditions: The DIP Loans shall be available from the Interim

Closing Date to the earliest of (i) the Maturity Date and (ii) the date of the termination of the DIP

Credit Facility pursuant to the terms hereof or the DIP Order (as hereinafter defined) (the

“Availability Period”), subject to the satisfaction or waiver “Conditions Precedent to Each

Interim DIP Loan” and “Conditions Precedent to Final DIP Loan”, in each case set forth in the

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DIP Loan Agreement. Borrower may request draws under the DIP Loan in accordance with the

below schedule by delivering a notice of borrowing to the DIP Lender in substantially the form

of Exhibit B attached to the DIP Loan Agreement (the “Notice of Borrowing”), duly executed by

an authorized officer of Borrower, to the DIP Lender (the “Draw Schedule”).

              I.       Interim DIP Loan: On or after the Interim Closing Date, Borrower may

                       request loans in one or more draws in an aggregate principal amount of up to

                       $3.0 million, subject to the provisions of the DIP Loan Agreement and in

                       accordance with the Approved Budget and the terms of the Interim Order;

                       and

             II.       Final DIP Loan: On or after the Final Closing Date, Borrower may request

                       DIP Loans up to amounts, not to exceed the DIP Commitment, less amounts

                       drawn under the Initial DIP Commitment, subject to the provisions of the

                       DIP Loan Agreement and in accordance with the Approved Budget and the

                       terms of the Final Order.

        (DIP Loan Agreement, p. 2, 12-13).

       H.          Release and Indemnification: Debtors shall indemnify, pay and hold harmless

the DIP Lender (and its directors, officers, members, employees and agents) against any loss,

liability, cost or expense incurred in respect of the financing contemplated hereby or the use or

the proposed use of proceeds thereof (except to the extent resulting from the gross negligence or

willful misconduct of the indemnified party, as determined by a final, non-appealable judgment

of a court of competent jurisdiction). The DIP Order shall contain releases and exculpations for

the DIP Lender (in any capacity) and the Prepetition Secured Parties, in form and substance



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satisfactory to such party, respectively, including, without limitation, releases from any

avoidance actions. (DIP Loan Agreement, p. 22).

       I.      Adequate Protection:       As adequate protection for any diminution of the

Prepetition Secured Parties’ interest in the “collateral” (as defined in the Prepetition Credit

Agreement) resulting from the subordination of their existing liens to the Priming DIP Liens

and/or in exchange for their consent thereof, the Prepetition Agent shall receive, for the benefit

of the Prepetition Secured Parties, the adequate protection and other rights provided in any

Settlement Agreement, including, without limitation, (i) replacement liens pursuant to sections

361, 363(e), and 364(d)(l) of the Bankruptcy Code on the DIP Collateral, which shall be subject

and subordinated only to the Carve-Out, the Priming DIP Liens and Permitted Liens; (ii) an

administrative expense claim, junior and subordinate only to the Carve-Out and the DIP

Superpriority Claims (as defined in the Interim Order or the Final Order, as applicable), with

priority over any and all other administrative expenses; provided that the Prepetition Agent and

the Prepetition Lenders shall not receive or retain any payments, property, or other amounts in

respect of such superpriority claim or on account of the obligations under the Prepetition Credit

Agreement unless and until the DIP Obligations have indefeasibly been paid in full in cash or as

otherwise agreed by the DIP Lender in writing; (iii) cash payments in respect of reasonable fees

and expenses (including reasonable attorneys’ fees) incurred by the Prepetition First-Out Lender

(with such amount not to exceed $175,000 for the period up to the date that is 60 days after the

Petition Date (the “Prepetition First-out Lender Expense Cap”)), (iv) a $2.5 million

promissory note (and related Term Loan and Security Agreement) maturing in 3 years after the

execution thereof and accruing paid-in-kind interest for the first 6 months after the execution

thereof (and quarterly cash pay interest thereafter) at LIBOR plus 3.50% (with a 0.75% LIBOR

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Floor), executed by the Purchaser (or, if an Auction is required, the Stalking Horse Purchaser) in

favor of the Prepetition Agent for the benefit of the Prepetition Secured Parties (including the

Prepetition First-Out Lender), secured by substantially all assets of the Purchaser (or Stalking

Horse Purchaser, if applicable), including pursuant to a mortgage with respect to the Debtors

owned real property known as the “Bethel Bravo Property” located at 3000 Hayden Road,

Columbus, Ohio, 43235, with such other terms as set forth in the Interim Order and in form and

substance satisfactory to the DIP Lender and the Prepetition Agent, (v) a $1.5 million contingent

return note executed by the Purchaser (or, if an Auction is required, the Stalking Horse

Purchaser) in favor of the Prepetition Agent for the benefit of the Prepetition Secured Parties

(including the Prepetition First-Out Lender), payable upon the earlier of certain triggering events

(previously agreed to by Purchaser and Prepetition First-out Lender) and the date that is 5 years

after the date thereof, with such other terms as set forth in the Interim Order and in form and

substance satisfactory to the DIP Lender and Prepetition Agent and (vi) a letter agreement

executed by and among the Prepetition Agent and the Purchaser (or, if an Auction is required,

the Stalking Horse Purchaser), wherein the Purchaser (or Stalking Horse Purchaser, if

applicable), agrees to distribute to Prepetition Agent on behalf of the Prepetition Secured Parties

(including the Prepetition First-Out Lender) as additional consideration and not in payment of

the notes described in clauses (iv) and (v) immediately above) the net cash proceeds received

from a sale of the real property located at 8651 Castle Creek Parkway East Drive, Indianapolis,

Indiana, 46250 and acquired by the Purchaser (or Stalking Horse Purchaser, if applicable)

pursuant to the Sale, with the obligations under such letter agreement to be secured by a

mortgage in favor of the Prepetition Agent on behalf of the Prepetition Secured Parties on such

property; provided, that the documents set forth in clauses (iv) through (vi) (the “Sale Closing

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Deliverables”) shall be in form and substance satisfactory to the Purchaser (or Stalking Horse

Purchaser, if applicable) and the Prepetition Agent and included as closing deliverables in the

Asset Purchase Agreement; provided further, however, that the Sale Closing Deliverables will

also be granted to the Prepetition Agent on behalf of the Prepetition Secured Parties (including

the Prepetition First-Out Lender) by the DIP Lender if the DIP Lender acquires any material

portion of the Debtors’ assets by means of an exercise of remedies under the DIP Documents,

upon the closing of such acquisition (provided, for the avoidance of doubt, that the foregoing

shall not apply to any liquidation or sale of assets for cash proceeds by means of an exercise of

remedies under the DIP Documents effectuated in order to satisfy the DIP Obligations, with any

cash proceeds received in excess of those used to satisfy the DIP Obligations in full being paid to

the Prepetition Agent on behalf of the Prepetition Secured Parties pursuant to the terms of the

DIP Documents and this Interim Order) or, unless otherwise agreed by the Prepetition Agent, by

any replacement purchaser of the Debtors’ assets if an Auction is required as part of the 363 Sale

Process. The Prepetition Secured Parties shall not seek and shall not be granted any other form

of adequate protection for so long as any DIP Obligations remain outstanding. Such adequate

protection shall in all cases be subject to the Carve-Out and shall be entitled to the full

protections of Section 507(b) of the Bankruptcy Code and shall be payable from Avoidance

Actions or proceeds, if any, thereof. (DIP Loan Agreement, p. 5-7).

       J.      Waiver of Automatic Stay: Upon the occurrence and during the continuance of

any Event of Default, subject to three (3) business days’ notice to the Debtors during which the

Debtors may seek an emergency hearing before the Bankruptcy Court (at which hearing the sole

issue shall be whether or not an Event of Default has occurred or is continuing), the DIP Lender

may take all or any of the itemized actions set forth in the “Remedies Upon Event of Default”

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row of the DIP Loan Agreement without further order of or application to the Bankruptcy Court,

and notwithstanding the automatic stay. (DIP Loan Agreement, pp. 20).

                                           Jurisdiction

       1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding over which this Court has jurisdiction pursuant to 28 U.S.C. § 157(b).

       2.      The Debtors continue to operate as a debtor-in-possession pursuant to §§ 1107

and 1108 of the Bankruptcy Code and this Court’s order authorizing it to continue doing

business as a debtor-in-possession.

                                 Relevant Factual Background

       3.      On April 10, 2020 (the “Petition Date”), the Debtors filed petitions for relief

under Chapter 11 of the Bankruptcy Code. The Debtors are authorized to continue to operate

their businesses and manage their properties as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in these

chapter 11 cases. The Debtors’ chapter 11 cases, and the cases of seven (7) affiliated entities, are

subject to a request for joint administration for procedural purposes pursuant to Bankruptcy Rule

1015(b). (Doc. No. 1).

       4.       FoodFirst was created in May of 2018 and thereafter acquired Brio Tuscan Grille,

which was renamed Brio Italian Mediterranean, (“Brio”), and Bravo Cucina Italiana, renamed

BRAVO Fresh Italian, (“Bravo” and collectively, the “Restaurants”), in a $100 million

transaction that closed May 24, 2018. Brio was positioned within the upscale casual dining

market, while Bravo was marketed toward the core casual dining market. When acquired, Brio

and Bravo operated 110 locations in 32 states across the country reporting annual sales of more

than $400 million for 2017 with nearly 10,000 employees. Bravo’s first location opened in 1992

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in Columbus, Ohio, with the first Brio restaurant opening in Columbus five years later. By 2006,

the Restaurants expanded to 19 states with 31 Bravo and 19 Brio locations.

       5.       From 2006 to 2010 the Restaurants underwent substantial expansion reaching 28

states with 85 total locations, including 47 Bravos and 38 Brios. By the end of 2013 there were

107 Restaurant locations. Unfortunately, due to changes in the marketplace and the economy, by

the end of 2019, annual sales were only $307 million, which was significantly below

expectations.

       6.        As of the Petition Date, Debtors owed approximately $27,000,000 related to that

certain Revolving Credit, Term Loan, Guaranty and Security Agreement, dated as of May 24,

2018 (as amended, restated, amended and restated, supplemented or otherwise modified from

time to time, the “Prepetition Credit Agreement”), by and among the Debtors, as the borrower,

the other Guarantors (as defined therein) from time to time party thereto, and Garrison Funding

2016-02 Ltd., Garrison Middle Market Funding II Primary LP, Garrison Funding 2018-1 LP and

City National Bank (collectively, the “Prepetition Lenders”, and together with Garrison Agency

Loan Services LLC, a Delaware limited liability company, the “Prepetition Secured Parties”).

       7.         As noted, overall sales slumped in 2019, and in January 2020, Debtor

employed Mr. Steven Layt as its CEO to implement a cost savings program and reduce

unprofitable locations. Unfortunately, as Mr. Layt was beginning his work the entire country was

struck by the current global pandemic. Due primarily to the pandemic, Debtor was forced to

reduce operations to carry-out only at just eighteen (18) locations.

       8.       The Debtors have attempted to obtain an additional loan advances from the

Prepetition Secured Parties.    However, the Debtors were unable to obtain consent for an

additional loan or credit extension.

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       9.      Without additional financing, the Debtors have been and will be unable to

continue operations and will be forced to close all Restaurants as soon as the end of April 2020.

       10.     Because of current conditions, Debtors determined the only viable exit was a

going concern sale using the proceeds of the DIP Loan until the sale can be consummated.

Debtors filed this case to preserve the going concern of the Restaurants, as well as retain key

employees and the good will of the communities they serve. The Debtors believe that by

securing DIP financing, the ultimate sale of the Restaurants, as well as all of the assets of the

Debtors, will result in a larger distribution to creditors. Without the DIP Loan and sale, Debtors

believe there will be no distribution to unsecured creditors and, importantly, the amount of

claims will increase dramatically as all locations will be dark.

       11.     Shortly before the Petition Date, the Debtors, and Dip Lender agreed upon the

terms and conditions of the DIP Loans. Debtors understand that the Prepetition Secured Parties

consent to the priming lien.

                                         Relief Requested

                               I. The Proposed DIP Loan Agreement

A.     The Critical Need for the DIP Loan

       12.     The Debtors are in immediate need of funds to cover: (i) working capital

shortfalls; (ii) employee salary and independent contractor wages; (iii) required utility payments;

(iv) payments to its vital and critical vendors and suppliers; and (v) professional and

administrative fees. Continued operation and maintenance are necessary to preserve the going

concern value of the Debtors’ business which the Debtors believe account for the substantial

portion of the current value of the estates.



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       13.     The Debtors need these additional funds to pay these post-petition, ordinary-

course expenses. The DIP Loan is intended to keep operations running until the Debtors’ sale

pursuant to 11 U.S.C. §363 and/or confirmation hearing on its plan of reorganization.

B.     Approval Under Sections 364(c)(2) and (d) of the Bankruptcy Code.

       14.     Section 364 of the Bankruptcy Code allows a debtor to: (a) obtain unsecured

credit in the ordinary course of business, (b) obtain unsecured credit out of the ordinary course of

business, and (c) obtain credit with specialized priority or with security.         If a debtor-in-

possession cannot obtain post-petition credit on an unsecured basis, a bankruptcy court may

authorize the obtaining of credit or the incurring of debt, the repayment of which is entitled to

superpriority administrative expense status or is secured by a lien on unencumbered property, or

combination of the foregoing.

       15.     Section 364(d)(1) of the Bankruptcy Code provides that a court may authorize a

debtor to incur post-petition debt on a senior or “priming” basis if: (a) the debtors are unable to

obtain credit otherwise and (b) there is “adequate protection” of the interest of the holder of the

lien on the property of the estate on which such senior or equal lien is proposed to be granted.

See 11 U.S.C. § 364(d)(1).

       16.     As noted above, the need for the Debtors to obtain financing is critical. Further,

the evidence at the Hearing will show that a working capital facility of the type needed in this

chapter 11 case could not have been obtained on any other basis.

       17.     The Debtors propose to obtain financing under the DIP Loan, DIP Documents,

and the Interim Order by seeking, pursuant to section 364(c)(1) of the Bankruptcy Code, to

provide for DIP Superpriority Claims.



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       18.     In addition, the Debtors are seeking authority, pursuant to section 364(d) of the

Bankruptcy Code, to prime valid liens, which may exist on the Debtors’ real and personal

property. Debtors assert that existing lenders are adequately protected by the increase in value of

the assets and related sale proceeds that will result from an ordinary course sale. Moreover,

adequate protection need not be shown where the secured creditors consent to priming. See

Anchor Savs. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989 (“[B]y tacitly

consenting to the superpriority lien, those [undersecured] creditors relieved the debtor of having

to demonstrate that they were adequately protected.”). Here, the Prepetition Secured Parties are

in favor of the Priming DIP Liens on the terms and conditions set forth in the DIP Loan

Agreement and the Interim Order, and shall formally consent thereto by execution of the DIP

Loan Agreement in exchange for receipt of the adequate protection set forth therein and

described herein.

C.     The Debtors’ Lack of Alternative Financing.

       19.     It is well recognized that the appropriateness of a proposed post-petition financing

facility must be considered in light of the current market conditions. See In re Lyondell Chem.

Co., No. 09-10023 (Bankr.S.D.N.Y. 2009). Indeed, courts often recognize that where there are

few lenders likely able and willing to extend the necessary credit to a debtor, “it would be

unrealistic and unnecessary to require [a debtor] to conduct such an exhaustive search for

financing.” See In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr.N.D.Ga. 1988). Rather, a

debtor must demonstrate that it made a reasonable effort to seek credit from other sources

available under Section 364(a) and (b). See In re Plabell Rubber Prods. Inc., 137 B.R. 897, 899-

900 (Bankr.N.D.Ohio 1992).



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       20.     Despite its diligent efforts in seeking unsecured or secured credit, the Debtors

were unable to secure any additional debtor-in-possession financing from any source, including

Prepetition Secured Parties, other than the DIP Loan. Accordingly, the Debtors submit that

terms of the DIP Loan Agreement are the only terms available to the Debtors.

D.     Use of the DIP Loan Proceeds

       21.     The Interim Order provides that, upon finalizing and executing the DIP

Documents, the Debtors will immediately be authorized to borrow the amount of available

borrowing under the DIP Loan Agreement, according to their respective terms and conditions.

       22.     Attached to the original of this Motion and filed with this Court as Exhibit “C” is

an operating budget (the “Budget”) for the thirteen (13) week period following Petition Date.

The Budget has been prepared by the Debtors and represents the Debtors’ projections of those

costs which are reasonable and necessary for the Debtors’ continued operations during the

Budget period. The DIP Loan will be used to provide the liquidity necessary to fund the

amounts set forth in the Budget, which the Debtor estimates to be approximately $ 1,400,000

during the interim four-week period.

       23.     The DIP Lender has reviewed the Budget and has no objection to the same.

E.     Good Faith

       24.     The Debtors and DIP Lender have negotiated the terms and conditions of the

proposed credit extension in good faith; the terms and conditions of such credit extension are fair

and reasonable and are supported by reasonably equivalent value. Any credit extended by the

DIP Lender pursuant to the terms of this Motion will have been extended in “good faith” (as that

term is used in § 364(e) of the Bankruptcy Code).



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F.     Request for Modification of Automatic Stay

       25.     As set forth more fully in the proposed Interim Order, the proposed DIP Loan

Agreement contemplate a modification of the automatic stay established pursuant to section 362

of the Bankruptcy Code to permit the DIP Lender to take certain actions required or permitted by

the Interim Order. More specifically, the Interim Order provides the DIP Lender with relief from

the automatic stay upon the occurrence of specified events of default and the Debtors’ failure to

cure or contest same successfully to allow the DIP Lender, inter alia, to enforce certain remedies

against the Debtors’ property, without having to obtain any further order of this Court. The

Interim Order further provides that prior to the exercise of any enforcement of liquidation

remedies against the Property, the DIP Lender shall be required to give three (3) days’ written

notice to counsel for the Debtor and the Debtors, as provided for in the DIP Documents.

       26.     The Debtors submit that stay modification provisions of this sort are ordinary and

usual features of post-petition debtor-in-possession financing facilities and, in the Debtors’

business judgment, are reasonable under the present circumstances. Accordingly, the Court

should modify the automatic stay to the extent contemplated by the Interim Order.

G.     Request for Waiver of Stay

       27.     The Debtors further seek a waiver of any stay of the effectiveness of the order

approving this motion. Pursuant to Bankruptcy Rule 6004(h), “an order authorizing the use, sale,

or lease of property other than cash collateral is stayed until the expiration of 14 days after entry

of the order, unless the court orders otherwise.” As set forth above, the DIP Loan Agreement is

essential to prevent considerable damage to the Debtors’ operations and the value of its property.

Accordingly, the Debtors submit that ample cause exists to justify a waiver of the fourteen (14)

day stay imposed by Bankruptcy Rule 6004(h), to the extent it applies.

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       28.     Upon court approval of this Motion, the Debtor and DIP Lender will execute the

DIP Loan Agreement and any related documents and shall consummate the loans.

       29.     All terms not defined herein shall be as set forth in the DIP Loan Agreement and

the DIP Documents. The Debtors agree that the automatic stay of Bankruptcy Code Section 362

shall be lifted to allow the DIP Lender and the Debtors to consummate the loans.

       WHEREFORE, Debtors respectfully requests this Court enter an Order granting the

following:

       A.      Authorize the Debtors to borrow up to Ten Million Dollars and No Cents

($10,000,000.00) from GPEE Lender, LLC on a secured basis, pursuant to the terms of this

Motion and the DIP Loan Agreement;

       B.      Authorize the Debtors to obtain such post-petition financing and incur post-

petition indebtedness, which financing and indebtedness due and owing by the Debtors to GPEE

Lender, LLC, shall: (i) pursuant to § 364(c)(1) of the Bankruptcy Code, have priority over any

and all administrative expenses; (ii) pursuant to § 364(c)(2) of the Bankruptcy Code, be senior

secured superpriority priming security interest and lien on the DIP Collateral; and (iii) pursuant

to § 364(d) of the Bankruptcy Code, be secured by a perfected, senior secured superpriority

priming security interest and lien granted to the DIP Lender on the DIP Collateral;

       C.      Authorize the Debtors to execute security agreements (if necessary), loan

agreements, and such other documents, instruments, and agreements as are necessary to evidence

the obligation to repay the DIP Loan made by DIP Lender pursuant to this Motion and to grant

and automatically perfect liens on the pledged assets and proceeds without the necessity of the

execution and perfection as set forth under state and federal law, and to perform all such other



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acts as reasonably may be required in connection with the credit to be provided pursuant to this

Motion;

       D.      Grant relief from the automatic stay imposed by § 362 of the Bankruptcy Code to

the extent necessary to permit the DIP Lender and the Debtors to implement the terms of this

Motion;

       E.      Grant the use of cash collateral on an interim basis, in accordance with the

Approved Budget; and

       F.      Grant the Debtors such other and further relief as the Court deems necessary,

appropriate, equitable, proper, and consistent with the terms of this Motion.

       RESPECTFULLY SUBMITTED this 13h day of April 2020.

                                          /s/ R. Scott Shuker
                                          R. Scott Shuker, Esquire
                                          Florida Bar No.: 984469
                                          rshuker@shukerdorris.com
                                          Mariane L. Dorris
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                                          Orlando, Florida 32801
                                          Telephone: 407-337-2060
                                          Facsimile: 407-337-2050
                                          Attorneys for the Debtors




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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 In re:                                               CASE NO. 6:20-bk-02159-KSJ

 FOODFIRST GLOBAL                                     CHAPTER 11
 RESTAURANTS, INC.,
                                                      EMERGENCY RELIEF REQUESTED
                        Debtor.                       HEARING REQUESTED BY APRIL
                                             /        15, 2020


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the EMERGENCY MOTION
OF DEBTORS SEEKING ENTRY OF AN INTERIM AND FINAL ORDER: (A)
AUTHORIZING THE DEBTORS TO OBTAIN POST PETITION FINANCING FROM
THE DIP LENDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, AND 364; (B)
PROVIDING LIENS, SECURITY INTERESTS AND SUPERPRIORITY CLAIMS TO
THE DIP LENDER; (C) MODIFYING THE AUTOMATIC STAY TO ALLOW THE DIP
LENDER TO TAKE CERTAIN ACTIONS; AND (D) APPROVING THE FORM AND
METHOD OF NOTICE THEREOF AND REQUEST FOR EMERGENCY HEARING,
together with all exhibits, has been furnished by facsimile, electronic transmission and/or U.S.
First Class mail, postage prepaid, to: Debtors, c/o Stephen R. Layt, 420 S. Orange Ave., Suite
900, Orlando, FL 32801; Proskauer Rose LLP, attorney for GPEE Lender, LLC, Eleven Times
Square, New York, NY 10036-8299; Vincent Indelicato, Esq., Proskauer, Eleven Times Square,
New York, NY 10036, vindelicato@proskauer.com; Ron Freed, Vice President,
Ron.Freed@cnb.com; City National Bank, 555 South Flower St., 16th Floor, Los Angeles, CA
90071; Matthew White, Esq., mwhite@garrisoninv.com, Anthony M. DiGiacomo, Chapman and
Cutler LLP, 1270 Avenue of the Americas, New York, NY 10020; digiacomo@chapman.com;
Garrison Funding; Suzanne E. Gilbert, Esq., Holland & Knight, 200 South Orange Avenue, Suite
2600, Orlando, FL 32801, Suzanne.gilbert@hklaw.com; Brian Smith, Esq., Holland & Knight,
200 South Orange Avenue, Suite 2600, Orlando, FL 32801, brian.smith@hklaw.com; the U.S.
Trustee’s Office, 400 W. Washington St., Ste. 1120, Orlando, FL 32801; and the list of 20
largest unsecured creditors and the Local Rule 1007-2 Parties-in-Interest List, as shown on the
matrices attached to the original of this motion filed with the Court, this 13th day of April 2020.

                                                  /s/ R. Scott Shuker
                                                  R. Scott Shuker, Esquire




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                                                  EXHIBIT “A”

                              FOODFIRST GLOBAL RESTAURANTS, INC.

                                  Senior Secured Superpriority Priming
                              Debtor-in-Possession Credit Facility Term Sheet

                                          Dated as of April [●], 2020

         This Senior Secured Superpriority Debtor-in-Possession Credit Facility Term Sheet (including all
schedules, annexes and exhibits hereto, this “Term Sheet”) describes the principal terms and conditions of
a proposed senior secured superpriority priming debtor-in-possession term loan facility (the “DIP Credit
Facility”) to be provided by the DIP Lender (as defined below) to Foodfirst Global Restaurants, Inc., an
Ohio corporation (the “Borrower”) in connection with cases (collectively, the “Chapter 11 Cases”) filed
by Borrower and the Guarantors (as defined below) (collectively, the “Debtors”) in the United States
Bankruptcy Court for the Middle District of Florida (the “Bankruptcy Court”) pursuant to chapter 11 of
title 11 of the United States Code (as amended, the “Bankruptcy Code”) on April 10, 2020 (the “Petition
Date”). The DIP Facility is being provided by the DIP Lender in reliance upon the promulgation and
consummation of the 363 Sale Process (as defined below).

         This Term Sheet is being provided on a confidential basis and it, along with its contents and
existence, may not be distributed, disclosed or discussed with any other party. This Term Sheet is not an
offer for the purchase, sale or subscription or invitation of any offer to buy, sell or to subscribe for any
securities. The terms and conditions set forth in this Term Sheet do not constitute or create an agreement,
obligation or commitment of any kind by or on behalf of any party, unless and until executed by each of
the undersigned parties hereto.


    BORROWER:                         Foodfirst Global Restaurants, Inc., an Ohio corporation, in its capacity
                                      as a debtor and debtor-in-possession under the Bankruptcy Code.

    GUARANTORS:                       FoodFirst Global Holdings, Inc. and all of its existing and future direct
                                      and indirect subsidiaries (each, a “Guarantor”, and collectively, the
                                      “Guarantors”; the Guarantors, together with Borrower, collectively,
                                      the “Debtors”, and each individually, a “Debtor”). 1 The guaranty
                                      provisions set forth in Exhibit A attached hereto are hereby
                                      incorporated herein by reference.

    DIP LENDER:                       GPEE Lender, LLC, a Florida limited liability company, solely in its
                                      capacity as the lender as set forth in this Term Sheet (the “DIP
                                      Lender”).

    DIP COMMITMENT:                   The DIP Lender agrees to make senior secured superpriority priming
                                      debtor-in-possession loans to Borrower from time to time during the
                                      Availability Period (defined below) in accordance with the Draw
                                      Schedule set forth below, in an aggregate amount not to exceed at any
                                      time outstanding aggregate commitments of $10.0 million (the “DIP
                                      Commitment”) consisting of a $3.0 million DIP Commitment as of
                                      the Interim Closing Date (the “Interim Commitment”) and an


1
 The DIP Lender reserves the right to obtain guarantees from non-Debtor affiliates, including some or all of the
existing obligors and guarantors under the Prepetition Credit Agreement.




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                       incremental $7.0 million DIP Commitment as of the Final Closing
                       Date (the “Final Commitment”), provided, that after giving effect to
                       the principal balance of all DIP Loans (exclusive of amounts “paid in
                       kind”), the aggregate principal balance of all DIP Loans shall not
                       exceed the DIP Commitment.

AVAILABILITY PERIOD    The DIP Credit Facility shall be available from the Interim Closing
& DRAW SCHEDULE:       Date to the earliest of (i) the Maturity Date and (ii) the date of the
                       termination of the DIP Credit Facility pursuant to the terms hereof or
                       the DIP Order (as hereinafter defined) (the “Availability Period”).
                       Borrower may request draws under the DIP Credit Facility in
                       accordance with the following schedule by delivering a notice of
                       borrowing to the DIP Lender in substantially the form of Exhibit B
                       attached hereto (the “Notice of Borrowing”), duly executed by an
                       authorized officer of Borrower, to the DIP Lender (the “Draw
                       Schedule”):

                      (i)    Interim DIP Loan: On or after the Interim Closing Date,
                             Borrower may request loans in one or more draws in an aggregate
                             principal amount of up to $3.0 million, subject to the provisions
                             of this Term Sheet and in accordance with the Approved Budget
                             and the terms of the Interim Order approving the DIP Credit
                             Facility on an interim basis (the “Interim DIP Loans”); and

                      (ii)   Final DIP Loan: On or after the Final Closing Date, Borrower
                             may request DIP Loans up to amounts, not to exceed the DIP
                             Commitment, less amounts drawn under the Initial DIP
                             Commitment (the “Final DIP Loan”, together with the Interim
                             DIP Loans, the “DIP Loans”), subject to the provisions of this
                             Term Sheet and in accordance with the Approved Budget and the
                             terms of the Final Order.

                       The proceeds of the DIP Loans shall be funded into a deposit account
                       of the Borrower, subject to the exclusive control and dominion of the
                       DIP Lender (the “Funding Account”), including pursuant to an
                       account control agreement satisfactory to the DIP Lender if required
                       by the DIP Lender.

CLOSING DATES:         “Interim Closing Date” means the date on which the “Conditions
                       Precedent to the Interim DIP Loan” (including, without limitation,
                       entry of the Interim Order) are satisfied or waived in accordance with
                       this Term Sheet.

                       “Final Closing Date” means the date on which the “Conditions
                       Precedent to the Final DIP Loan” as set forth below (including, without
                       limitation, entry of the Final Order) shall have been satisfied or waived
                       in accordance with this Term Sheet.

DIP LOAN               At the option of the DIP Lender in its reasonable discretion, Debtors
DOCUMENTATION:         shall execute definitive financing documentation with respect to the
                       DIP Loans, including, without limitation, guarantees and security

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                       documents, in each case, satisfactory in form and substance to each of
                       the DIP Lender and Debtors (and, solely as to subordination of its liens
                       to the Priming DIP Liens and the Bid Procedures directly relating to
                       the Prepetition Secured Parties (including the Sale Closing
                       Deliverables), the Prepetition Agent on behalf of the Prepetition
                       Secured Parties) which documentation shall be executed by all parties
                       thereto (the “DIP Documents”). The provisions of the DIP
                       Documents shall, upon execution, supersede the provisions of this
                       Term Sheet. The provisions of the DIP Documents shall be consistent
                       with this Term Sheet, the Interim Order and, once entered, the Final
                       Order.

USE OF PROCEEDS:       The DIP Loans will be used solely in accordance with the Approved
                       Budget for (a) working capital and general corporate purposes of the
                       Debtors, (b) obligations under that certain Management Agreement,
                       dated on or about the date hereof, between the Borrower and BBR
                       Manager LLC, a Florida limited liability company (the “Management
                       Agreement”), (c) bankruptcy-related costs and expenses, and (d) costs
                       and expenses related to the DIP Credit Facility.

APPROVED BUDGET;       By no later than the Petition Date, Debtors shall deliver to the DIP
APPROVED CASH FLOW     Lender and Prepetition Agent a weekly budget for the 13-week period
PROJECTION; AND        commencing on the Petition Date, and such weekly budget shall be
VARIANCE REPORTS:      approved by the DIP Lender in its sole discretion and shall set forth,
                       among other things, the projected cash receipts, sales and cash
                       disbursements (the “Approved Budget”).

                       By not later than three (3) business days after the end of the week
                       following the Petition Date, Debtors shall deliver to the DIP Lender
                       and the Prepetition Agent a variance report in form and substance
                       reasonably acceptable to the DIP Lender (an “Approved Variance
                       Report”) showing comparisons of actual results for each line item
                       against such line item in the Approved Budget. Thereafter, Debtors
                       shall deliver to the DIP Lender and the Prepetition Agent, by not later
                       than three (3) business days after the close of each weekly period after
                       the Petition Date, an Approved Variance Report for (a) the preceding
                       week, and (b) the trailing two (2) week period (or, if fewer than two
                       weeks have lapsed since the Petition Date, then for the trailing one
                       week period, as applicable).

                       Each Approved Variance Report shall indicate whether there are any
                       adverse variances that exceed the Permitted Variances (as defined
                       below). “Permitted Variances” shall mean, with respect to the
                       Debtors’ actual cash disbursements, on a line item basis and a
                       cumulative basis, variances from the Approved Budget by no more
                       than 15%; provided that if the aggregate amount of any proceeds of
                       the DIP Loans or any Cash Collateral actually used by the Debtors,
                       measured once every week, is less than the aggregate amount of
                       proceeds of the DIP Loans and Cash Collateral available for use by the
                       Debtors in the Approved Budget during such period, then the Debtors


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                       may carry over any such unused amount to the future periods in the
                       Budget.

                       Commencing with the third week after the Petition Date, and
                       continuing on every three (3)-week anniversary thereafter, the weekly
                       budget shall be updated, and if such updated budget is in form and
                       substance satisfactory to the DIP Lender in its sole discretion, it shall
                       become the “Approved Budget” for purposes of this Term Sheet and
                       the DIP Order. Any amendments, supplements or modifications to the
                       Approved Budget or an Approved Variance Report shall be subject to
                       the prior written approval of the DIP Lender in its sole discretion prior
                       to the implementation thereof.

FIRST PRIORITY         All DIP Loans and other liabilities and obligations of Debtors to the
SECURITY INTEREST:     DIP Lender under or in connection with this Term Sheet, the DIP
                       Documents, the Interim Order and/or Final Order (collectively, the
                       “DIP Obligations”) shall be:

                       (i)   pursuant to section 364(c)(1) of the Bankruptcy Code, entitled to
                             superpriority administrative expense claim status in the Chapter
                             11 Cases of the Debtors with priority over any and all
                             administrative expenses, whether heretofore or hereafter
                             incurred, of the kind specified in sections 503(b) or 507(a) of the
                             Bankruptcy Code but shall be subject to the Carve-Out and,
                             subject to entry of a Final Order, shall be payable from the
                             proceeds of DIP Collateral, including, without limitation,
                             Avoidance Actions, if any;

                       (ii) pursuant to sections 364(c)(2), secured by a perfected first-
                            priority lien on the DIP Collateral, to the extent that such DIP
                            Collateral is not subject to valid, perfected and non-avoidable
                            liens as of the Petition Date (but in all cases subject to the Carve-
                            Out);

                       (iii) pursuant to section 364(c)(3), secured by a perfected junior lien
                             on DIP Collateral (as defined below), to the extent such DIP
                             Collateral is subject to a Permitted Lien; and

                       (iv) pursuant to section 364(d) of the Bankruptcy Code, secured by a
                            perfected, senior secured superpriority priming security interest
                            and lien granted to the DIP Lender (the “Priming DIP Liens”)
                            on the DIP Collateral (but in all cases subject to the Carve-Out).
                            For clarity, all existing liens, including the liens granted in
                            connection with that certain Revolving Credit, Term Loan,
                            Guaranty and Security Agreement, dated as of May 24, 2018 (as
                            amended, restated, amended and restated, supplemented or
                            otherwise modified from time to time, the “Prepetition Credit
                            Agreement”), by and among the Borrower, as the borrower, the
                            other Guarantors (as defined therein) from time to time party
                            thereto, CNB (as successor-in-interest to Garrison Agency Loan
                            Services LLC, a Delaware limited liability company) (together

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                            with its successors and assigns (including, in connection with any
                            Garrison Assignment, CNB to the extent such assumption is
                            made pursuant to the terms of the Prepetition Credit Agreement),
                            the “Prepetition Agent”; it being understood and agreed that
                            until the consummation Garrison Assignment referred to below
                            and the assumption by CNB of such agency role, the term
                            Prepetition Agent shall include CNB) and the undersigned
                            Prepetition Lenders and City National Bank (collectively, the
                            “Prepetition Lenders”, and together with the Prepetition Agent,
                            the “Prepetition Secured Parties”), shall be primed and made
                            subject to and subordinate to the Priming DIP Liens. The parties
                            hereto agree that City National Bank (hereinafter “CNB” or
                            “Prepetition First-Out Lender”), as between the Prepetition
                            Secured Parties, has priority over proceeds from the sale or
                            liquidation of the Debtors’ assets pursuant to an Agreement
                            Among Lenders with the Prepetition Secured Parties, and DIP
                            Lender and each of its affiliates hereby agrees not challenge or
                            contest such priority between the Prepetition Secured Parties
                            under such Agreement Among Lenders. Upon any purchase or
                            assignment of the loans under the Prepetition Credit Agreement
                            held by Garrison Funding 2016-02 Ltd., Garrison Middle Market
                            Funding II Primary LP, Garrison Funding 2018-1 LP or any of
                            their affiliates (a “Garrison Assignment”), CNB will assume the
                            role of Prepetition Agent pursuant to and in accordance with the
                            terms of the Prepetition Credit Agreement.

                      The Priming DIP Liens shall not be pari passu with, or subordinated
                      to, any other liens or security interests (whether currently existing or
                      hereafter created), subject in each case only to permitted exceptions
                      (i) to be expressly agreed upon in writing by the DIP Lender and the
                      Prepetition Agent (on behalf of the Prepetition Secured Parties) in their
                      sole discretion or (ii) imposed by applicable non-bankruptcy law and
                      disclosed to the DIP Lender and the Prepetition Agent prior to the entry
                      of the Interim Order, in existence as of the Petition Date and otherwise
                      unavoidable (collectively, the “Permitted Liens”). For the avoidance
                      of doubt, the Permitted Liens shall not include any liens which are
                      junior in priority to the Liens held by the Prepetition Lenders.

ADEQUATE               As adequate protection for any diminution of the Prepetition Secured
PROTECTION:            Parties’ interest in the “collateral” (as defined in the Prepetition Credit
                       Agreement) resulting from the subordination of their existing liens to
                       the Priming DIP Liens, the Prepetition Agent shall receive, for the
                       benefit of the Prepetition Secured Parties (including the Prepetition
                       First-Out Lender), the following adequate protection rights, (i)
                       replacement liens pursuant to sections 361, 363(e), and 364(d)(l) of the
                       Bankruptcy Code on the DIP Collateral, which shall be subject and
                       subordinated only to the Carve-Out, the Priming DIP Liens and
                       Permitted Liens; (ii) an administrative expense claim, junior and
                       subordinate only to the Carve-Out and the DIP Superpriority Claims
                       (as defined in the Interim Order or the Final Order, as applicable), with
                       priority over any and all other administrative expenses; provided that

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                 the Prepetition Agent and the Prepetition Lenders shall not receive or
                 retain any payments, property, or other amounts in respect of such
                 superpriority claim or on account of the obligations under the
                 Prepetition Credit Agreement unless and until the DIP Obligations
                 have indefeasibly been paid in full in cash or as otherwise agreed by
                 the DIP Lender in writing; (iii) cash payments in respect of reasonable
                 fees and expenses (including reasonable attorneys’ fees) incurred by
                 the Prepetition First-Out Lender (with such amount not to exceed
                 $175,000 for the period up to the date that is 60 days after the Petition
                 Date (the “Prepetition First-out Lender Expense Cap”)), (iv) a $2.5
                 million promissory note (and related Term Loan and Security
                 Agreement) maturing in 3 years after the execution thereof and
                 accruing paid-in-kind interest for the first 6 months after the execution
                 thereof (and quarterly cash pay interest thereafter) at LIBOR plus
                 3.50% (with a 0.75% LIBOR Floor), executed by the Purchaser (or, if
                 an Auction is required, the Stalking Horse Purchaser) in favor of the
                 Prepetition Agent for the benefit of the Prepetition Secured Parties
                 (including the Prepetition First-Out Lender), secured by substantially
                 all assets of the Purchaser (or Stalking Horse Purchaser, if applicable),
                 including pursuant to a mortgage with respect to the Debtors owned
                 real property known as the “Bethel Bravo Property” located at 3000
                 Hayden Road, Columbus, Ohio, 43235, with such other terms as set
                 forth in the Interim Order and in form and substance satisfactory to the
                 DIP Lender and the Prepetition Agent, (v) a $1.5 million contingent
                 return note executed by the Purchaser (or, if an Auction is required, the
                 Stalking Horse Purchaser) in favor of the Prepetition Agent for the
                 benefit of the Prepetition Secured Parties (including the Prepetition
                 First-Out Lender), payable upon the earlier of certain triggering events
                 (previously agreed to by Purchaser and Prepetition First-out Lender)
                 and the date that is 5 years after the date thereof, with such other terms
                 as set forth in the Interim Order and in form and substance satisfactory
                 to the DIP Lender and Prepetition Agent (the “Contingent Return
                 Note”) and (vi) a letter agreement executed by and among the
                 Prepetition Agent and the Purchaser (or, if an Auction is required, the
                 Stalking Horse Purchaser), wherein the Purchaser (or Stalking Horse
                 Purchaser, if applicable), agrees to distribute to Prepetition Agent on
                 behalf of the Prepetition Secured Parties (including the Prepetition
                 First-Out Lender) as additional consideration and not in payment of
                 the notes described in clauses (iv) and (v) immediately above) the net
                 cash proceeds received from a sale of the real property located at 8651
                 Castle Creek Parkway East Drive, Indianapolis, Indiana, 46250 and
                 acquired by the Purchaser (or Stalking Horse Purchaser, if applicable)
                 pursuant to the Sale, with the obligations under such letter agreement
                 to be secured by a mortgage in favor of the Prepetition Agent on behalf
                 of the Prepetition Secured Parties on such property; provided, that the
                 documents set forth in clauses (iv) through (vi) (the “Sale Closing
                 Deliverables”) shall be in form and substance satisfactory to the
                 Purchaser (or Stalking Horse Purchaser, if applicable) and the
                 Prepetition Agent and included as closing deliverables in the Asset
                 Purchase Agreement; provided further, however, that the Sale Closing
                 Deliverables will also be granted to the Prepetition Agent on behalf of

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                       the Prepetition Secured Parties (including the Prepetition First-Out
                       Lender) by the DIP Lender if the DIP Lender acquires any material
                       portion of the Debtors’ assets by means of an exercise of remedies
                       under the DIP Documents, upon the closing of such acquisition
                       (provided, for the avoidance of doubt, that the foregoing shall not
                       apply to any liquidation or sale of assets for cash proceeds by means
                       of an exercise of remedies under the DIP Documents effectuated in
                       order to satisfy the DIP Obligations, with any cash proceeds received
                       in excess of those used to satisfy the DIP Obligations in full being paid
                       to the Prepetition Agent on behalf of the Prepetition Secured Parties
                       pursuant to the terms of this DIP Term Sheet and the DIP Order) or,
                       unless otherwise agreed by the Prepetition Agent, by any replacement
                       purchaser of the Debtors’ assets if an Auction is required as part of the
                       363 Sale Process. The Prepetition Secured Parties shall not seek and
                       shall not be granted any other form of adequate protection for so long
                       as any DIP Obligations remain outstanding. Such adequate protection
                       shall in all cases be subject to the Carve-Out and shall be entitled to
                       the full protections of Section 507(b) of the Bankruptcy Code and shall
                       also be payable from Avoidance Actions or proceeds, if any, thereof.

DIP COLLATERAL:        “DIP Collateral” means, collectively, all assets and property (whether
                       tangible, intangible, real, personal or mixed), wherever located,
                       whether now owned or owing to, or hereafter acquired by, or arising
                       in favor of each Debtor and its respective chapter 11 estate, and any
                       and all proceeds therefrom, including, without limiting the generality
                       of the foregoing, all cash, accounts, accounts receivable, inventory,
                       property, plant and equipment, real estate, leaseholds, intellectual
                       property, and avoidance actions under chapter 5 of the Bankruptcy
                       Code (collectively, the “Avoidance Actions”), if any.
                       Notwithstanding the foregoing, Avoidance Actions and proceeds
                       thereof, if any, shall not constitute DIP Collateral until after the entry
                       of a Final Order.

                       Proceeds of all collateral received by the Debtors in the ordinary
                       course of business shall be deposited into the Funding Account, but
                       shall not be required to be applied to prepay the DIP Loans (other than
                       in connection with a voluntary or mandatory prepayment of the DIP
                       Loans as described under “Optional Prepayments” and “Mandatory
                       Prepayments” below), and shall thereafter be available to be
                       withdrawn from the Funding Account and used by the Debtors, in each
                       case in accordance with the Budget (subject to Permitted Variances
                       thereto) and the DIP Loan Documents.

                       The DIP Collateral shall also include any rents, issues, products,
                       proceeds and profits generated by any item of DIP Collateral, without
                       the necessity of any further action of any kind or nature by the DIP
                       Lender in order to claim or perfect such rents, issues, products or
                       proceeds.

                       The Debtors shall take all action that may be reasonably necessary or
                       desirable, or that the DIP Lender may reasonably request, to at all times

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                       maintain the validity, perfection, enforceability and priority of the
                       security interest and liens of the DIP Lender in the DIP Collateral, or
                       to enable the DIP Lender to protect, exercise or enforce its rights
                       hereunder, under the DIP Order and in the DIP Collateral.

ORIGINATION FEE:       A fee equal to $300,000 (the “Origination Fee”), which shall be fully
                       earned and non-refundable, on the Interim Closing Date. The
                       Origination Fee shall be payable upon the initial draw made in
                       accordance with the Draw Schedule as original issue discount and shall
                       be netted from the proceeds of the initial DIP Loan funded.

COMMITMENT FEES:       The Debtors shall pay commitment fees as follows: (i) 10.0% of the
                       Interim Commitment (the “Interim Commitment Fee”), which shall
                       be fully earned and non-refundable, on the Interim Closing Date, and
                       (ii) 10.0% of the aggregate principal amount of the Final Commitment
                       (the “Final Commitment Fee”, together with the Interim
                       Commitment Fee, the “Commitment Fees”), which shall be fully
                       earned, non-refundable on the Final Closing Date. Each Commitment
                       Fee shall be payable upon each draw made in accordance with the
                       Draw Schedule as original issue discount and shall be netted from the
                       proceeds of each DIP Loan funded, provided, that in the event any DIP
                       Loan is not drawn in accordance with the Draw Schedule, then the
                       applicable Commitment Fee that would have been then due and
                       payable as original issue discount shall be automatically added to the
                       principal balance of the DIP Loans.

INTEREST RATE:         The Debtors shall pay interest at a rate of 15.0% per annum, to be paid
                       in kind with such interest added to the principal amount of the DIP
                       Loans, compounded monthly in arrears on the last day of each month.
                       Interest shall begin to accrue on the Interim DIP Loan on the Interim
                       Closing Date and on the Final DIP Loan from and after the Final
                       Closing Date.

DEFAULT RATE:          At all times following the occurrence and during the continuance of an
                       Event of Default, principal, interest and other amounts due on the DIP
                       Loans shall bear interest at a rate equal to 2.00% per annum in excess
                       of the interest rate set forth under “Interest Rate” above and shall be
                       paid in kind with such interest added to the principal amount of the
                       DIP Loans, compounded monthly in arrears on the last day of each
                       month.

363 SALE PROCESS:      It is anticipated that the Debtors will commence a private sale on or
                       immediately following the Petition Date to the DIP Lender or one or
                       more of its designees (or, if required by the Bankruptcy Court, a public
                       sale process (an “Auction”) to the DIP Lender or one or more third
                       party(ies)) of substantially all of the assets of the Loan Parties
                       (including all cash, accounts receivable, investment property,
                       inventory, intellectual property, general intangibles, contracts and
                       leases specifically assumed, and equipment free and clear of all claims
                       and interests (except for claims specifically assumed) prior to the Final
                       Maturity Date pursuant to Section 363 of the Bankruptcy Code (the

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                 “Sale”). In connection with the Sale, the DIP Lender or one or more of
                 its designees will serve as the purchaser (the “Purchaser”), or, if an
                 Auction is required by the Bankruptcy Court, the stalking horse
                 purchaser (the “Stalking Horse Purchaser”), under an asset purchase
                 agreement in form and substance satisfactory to the DIP Lender and,
                 solely as to the Sale Closing Deliverables and Bid Procedures directly
                 relating to the Prepetition Secured Parties, the Prepetition Agent on
                 behalf of the Prepetition Secured Parties (the “Asset Purchase
                 Agreement”) for a purchase price to be determined, which will consist
                 of (i) a credit bid of all DIP Obligations including, all principal,
                 interest, fees and other obligations owing under the DIP Documents
                 and (ii) to the extent of any shortfall between the purchase price under
                 the Asset Purchase Agreement and the DIP Obligations, a cash amount
                 to the estate in the amount of such shortfall, to be allocated to the assets
                 pursuant to the Asset Purchase Agreement. The Asset Purchase
                 Agreement will, if an Auction is required by the Bankruptcy Court,
                 contain bidding procedures acceptable to the Stalking Horse
                 Purchaser, including, without limitation, (i) payment of a break-up fee
                 in the amount equal to 3% of the purchase price under the Asset
                 Purchase Agreement (or such other amount as approved by the
                 Bankruptcy Court) plus (y) expenses incurred by the Stalking Horse
                 Purchaser in the amount not to exceed $150,000 (or such other amount
                 as approved by the Bankruptcy Court), ((x) and (y), the “Break-Up
                 Protection”) payable upon and earned in the event of a termination by
                 the Stalking Horse Purchaser because the Debtors select an alternative
                 transaction, (ii) a minimum overbid of the sum of the aggregate amount
                 set forth in (i) of the Break-Up Protection plus $200,000 for alternative
                 bids, (iii) a requirement that alternative bids to be qualified will not
                 have any due diligence, financing or other conditions and be no less
                 favorable to the estates than the terms of the Asset Purchase
                 Agreement, (iv) bids to be submitted no later than the Bid Deadline (as
                 defined in the Sale Milestones) with an auction to be held (if there are
                 alternative qualified bids) no later than 2 days after the Bid Deadline,
                 and (v) if there are alternative qualified bids, an open auction process
                 with full opportunity for Stalking Horse Purchaser to raise its bid and
                 include as a credit the Breakup Protection in any subsequent bids, (vi)
                 the Debtors consulting with the Stalking Horse Purchaser concerning
                 alternative bids and (vii) the selection of the highest and best
                 transaction (collectively, the “Bid Procedures”).

                 The process set forth above, including the Sale, the Bid Procedures
                 (including the Break-Up Protection), designation of the Stalking Horse
                 Purchaser and use of the Asset Purchase Agreement shall collectively
                 be referred to as the “363 Sale Process”. The DIP Facility is being
                 provided by the DIP Lender in reliance upon the promulgation and
                 consummation of the 363 Sale Process. The Bid Procedures will
                 specify that any competing bid for the Debtors’ assets must contain
                 terms at least as favorable to the Prepetition First-out Lender (as
                 determined by the Prepetition First-out Lender) as those contained in
                 this Term Sheet. The Prepetition First-out Lender is agreeing to the
                 subordination of its first-priority liens to the liens of the DIP Lender as

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                       provided in this Term Sheet in reliance upon the consummation of the
                       363 Sale Process in accordance with the immediately preceding
                       sentence.

MATURITY DATE:         The DIP Loans (together with all other DIP Obligations) shall mature
                       and be due and payable on the earliest to occur of the following (such
                       date, the “Maturity Date”):

                      (i)    75 days after the Petition Date (the “Outside Date”);

                      (ii)   the date which is thirty-three (33) days following the entry of the
                             Interim Order if the Bankruptcy Court has not entered the Final
                             Order on or prior to such date;

                      (iii) the date of the Debtors’ receipt of notice of the acceleration of
                            any of the DIP Loans and the termination of the commitments to
                            make the DIP Loans resulting from the occurrence of an Event
                            of Default (including, without limitation, the failure to meet any
                            Sale Milestone set forth on Exhibit C attached hereto
                            (collectively, the “Sale Milestones”) by the applicable
                            “Specified Deadline” set forth on Exhibit C (the “Specified
                            Deadline”);

                      (iv)   the date of substantial consummation (as defined in section
                             1101(2) of the Bankruptcy Code) of a confirmed plan of
                             reorganization in the Chapter 11 Cases; and

                      (v)    the filing of a motion by the Debtors seeking dismissal of any or
                             all of the Chapter 11 Cases, the dismissal of any or all of the
                             Chapter 11 Cases, the filing of a motion by the Debtors seeking
                             to convert any or all of the Chapter 11 Cases to a case under
                             chapter 7 of the Bankruptcy Code, the conversion of any or all of
                             the Chapter 11 Cases to a case under chapter 7 of the Bankruptcy
                             Code or the appointment or election of a trustee under chapter 11
                             of the Bankruptcy Code, a responsible officer or examiner with
                             enlarged powers relating to the operation of the Debtors’
                             business (powers beyond those set forth in section 1106(a)(3) and
                             (4) of the Bankruptcy Code) under section 1106 of the
                             Bankruptcy Code;

                       provided, that the Outside Date may be extended at the option of
                       Borrower for no more than three 2-week periods after the Outside Date
                       subject to the satisfaction of the following conditions in respect of each
                       such extension; it being understood that the sole purpose of such
                       extension is to afford additional time for the Bankruptcy Court to enter
                       a Sale Order:

                      (1)    on or prior to the Maturity Date, the DIP Lender shall have
                             received (i) written notice from Borrower of Borrower’s election
                             to exercise the option to extend the Maturity Date for a 2-week
                             period and (ii) the payment of a $200,000 extension fee (each an

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                            “Extension Fee”) for each extension, which shall be fully
                            earned, non-refundable and due and payable in full in cash;

                      (2)   the Asset Purchase Agreement is then in full force and effect, all
                            conditions to the closing of the transactions contemplated by the
                            Asset Purchase Agreement have been satisfied (unless waived
                            with the prior written consent of the DIP Lender), other than the
                            condition requiring the entry of the Sale Order;

                      (3)   all parties to the Asset Purchase Agreement are otherwise ready,
                            willing and able to close the transactions contemplated by the
                            Asset Purchase Agreement in accordance with the terms thereof;
                            and

                      (4)   none of the conditions set forth in clauses (ii)-(v) of this Section
                            above exist and are continuing.

OPTIONAL               The Debtors may prepay the DIP Loans in whole or in part at any time.
PREPAYMENTS:           All optional prepayments shall be applied to the DIP Loans in
                       accordance with the application of payment provisions set forth in the
                       “Mandatory Prepayments” section below. Any amounts so prepaid
                       may not be reborrowed.

MANDATORY              The Debtors shall pay or prepay the DIP Loans and all other DIP
PREPAYMENTS;           Obligations (together with a cash reserve established by the DIP to
APPLICATION OF         cover asserted contingent and indemnity obligations) until such
PREPAYMENTS:           obligations are paid in full immediately as follows (each, a
                       “Mandatory Prepayment Event”):

                      (i) 100% of the net proceeds of any sale or disposition of all or
                          substantially all of Debtors’ assets pursuant to Section 363 of the
                          Bankruptcy Code simultaneous with the consummation thereof,
                          after funding the Carve-Out and reserving proceeds sufficient to
                          pay accrued and unpaid expenses to the extent set forth in the
                          Approved Budget;

                      (ii) 100% of the net proceeds of any other sale or other disposition by
                           any Debtor of any assets, in a single transaction or series of related
                           transactions, having a value in excess of $10,000 (except for the
                           sale of goods or services in the ordinary course of business and
                           certain other sales to be agreed on); and

                      (iii) 100% of the net proceeds of extraordinary receipts (including tax
                            refunds, indemnity payments and insurance proceeds not included
                            as proceeds of asset dispositions) by any Debtor, excluding any
                            tax refunds contemplated to be received by any of the Debtors as
                            set forth in the Approved Budget.

                       Any amounts so paid or prepaid may not be reborrowed. No
                       reinvestment of the proceeds of any extraordinary receipts, asset sales


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                       or other proceeds described above shall be permitted without the prior
                       written consent of the DIP Lender.

                       Voluntary and mandatory payments or prepayments and proceeds of
                       DIP Collateral received by the Debtors outside the ordinary course of
                       business will be applied in the following order of priority (unless
                       otherwise determined by the DIP Lender in its sole discretion):

                      (1) first, to pay all documented out-of-pocket expenses of the DIP
                          Lender (including, without limitation, fees and expenses of
                          counsel and external advisors);

                      (2) second, to pay an amount equal to all accrued and unpaid interest
                          (including, without limitation, any interest that accrued and was
                          “paid in kind”) owing to the DIP Lender;

                      (3) third, to repay any principal amounts outstanding in respect of the
                           DIP Loans (including any amounts, other interest, that have been
                           added to the principal balance); and

                      (4) fourth, all other amounts owing to the DIP Lender.

CONDITIONS             The obligations of the DIP Lender to make the Interim DIP Loans in
PRECEDENT TO EACH      accordance with the Draw Schedule will be subject to satisfaction, or
INTERIM DIP LOAN:      written waiver, by the DIP Lender in its sole and absolute discretion,
                       of each of the following conditions precedent in connection with each
                       draw request:

                      (i)    Debtors shall have timely delivered to the DIP Lender the
                             Approved Budget or any update thereto required to be delivered
                             in accordance with this Term Sheet;

                      (ii)   Debtors shall have delivered to the DIP Lender a Notice of
                             Borrowing in connection with each such draw request;

                      (iii) Debtors shall have delivered to the DIP Lender a Closing
                            Certificate, substantially in the form attached hereto as Exhibit
                            D, duly executed by an authorized officer of the Debtors,
                            delivered to the DIP Lender, appropriately completed, by which
                            such officer shall certify to the DIP Lender all of the conditions
                            precedent to the Interim DIP Loans have been satisfied (at any
                            time delivered, a “Closing Certificate”);

                      (iv)   Debtors shall be in compliance with and satisfied the Sale
                             Milestones no later than by the applicable Specified Deadline;

                      (v)    the interim order (in form and substance acceptable to the DIP
                             Lender in its sole and absolute discretion) has been entered by
                             the Bankruptcy Court (after a hearing on notice to all parties
                             having or asserting a lien on all or any portion of the DIP
                             Collateral) and shall not have been reversed, modified, amended,

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                       stayed or vacated, or in the case of any modification or
                       amendment, in a manner without the consent of the DIP Lender
                       (the “Interim Order”) and the Debtors shall be in compliance in
                       all respects with the Interim Order;

                (vi)   All of the “first day” motions, orders and related pleadings shall
                       have been reviewed in advance by the DIP Lender and CNB and
                       shall be reasonably satisfactory in form and substance to the DIP
                       Lender;

                (vii) The DIP Lender shall be satisfied that its liens and security
                      interests have been perfected in the DIP Collateral (other than
                      with respect to security interests in eligible foreign inventory)
                      and shall constitute first-priority liens (subject only to Permitted
                      Liens);

                (viii) all fees and out-of-pocket expenses of the DIP Lender relating to
                       the DIP Credit Facility (including, without limitation, reasonable
                       fees and expenses of their counsel and external advisors) shall
                       have been paid in full;

                (ix)   Debtors shall have insurance (including, without limitation,
                       commercial general liability and property insurance) with respect
                       to the DIP Collateral in such amounts and scope as is reasonably
                       acceptable to the DIP Lender, and the DIP Lender shall have
                       received additional insured and loss payee endorsements, as
                       applicable, with respect thereto, in form and substance
                       reasonably acceptable to the DIP Lender;

                (x)    the DIP Lender shall have received the results of a recent lien,
                       tax and judgment search in each relevant jurisdiction with respect
                       to Debtors, and such search shall reveal no liens on any of the
                       assets of Debtors other than Permitted Liens and liens of the
                       Prepetition Secured Parties;

                (xi)   no Default or Event of Default shall have occurred and be
                       continuing on the Interim Closing Date or after giving effect to
                       the Interim DIP Loan;

                (xii) all representations and warranties of the Debtors hereunder shall
                      be true and correct in all material respects (except those qualified
                      by materiality or Material Adverse Change, which shall be true
                      and correct in all respects);

                (xiii) subject to Bankruptcy Court approval, (i) each Debtor shall have
                       the corporate power and authority to make, deliver and perform
                       its obligations under this Term Sheet and the Interim Order, and
                       (ii) no consent or authorization of, or filing with, any person
                       (including, without limitation, any governmental authority) shall
                       be required in connection with the execution, delivery or
                       performance by each Debtor, or for the validity or enforceability

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                            in accordance with its terms against such Debtor, of this Term
                            Sheet and the Interim Order except for consents, authorizations
                            and filings which shall have been obtained or made and are in
                            full force and effect and except for such consents, authorizations
                            and filings, the failure to obtain or perform, could not reasonably
                            be expected to cause a Material Adverse Change (as defined
                            below);

                      (xiv) the DIP Lender shall have received a copy of the fully-executed
                            Asset Purchase Agreement, which shall be in form and substance
                            acceptable to the DIP Lender in its sole and absolute discretion
                            (without limiting the Prepetition Agent’s right to approve the
                            form and substance of the Asset Purchase Agreement solely as to
                            the Sale Closing Deliverables and Bid Procedures directly
                            relating to the Prepetition Secured Parties as part of the 363 Sale
                            Process); and

                      (xv) the Debtors shall be operating restaurants at no fewer than 20
                           locations;

                      (xvi) the Management Agreement shall be in full force and effect; and

                      (xvii) the DIP Lender shall have received such other information and/or
                             deliverables as the DIP Lender may reasonably require.

                       Modifications of the Interim Order shall require the prior written
                       consent of the DIP Lender.

CONDITIONS             The obligations of the DIP Lender to make the Final DIP Loan shall
PRECEDENT TO FINAL     be subject to satisfaction or waiver of each of the following conditions:
DIP LOAN:              (i) the receipt by the DIP Lender of a Notice of Borrowing; (ii) all
                       representations and warranties being true and correct in all material
                       respects (except those qualified by materiality or Material Adverse
                       Change, which shall be true and correct in all respects); (iii) no Default
                       or Event of Default then existing or after giving effect to the Final DIP
                       Loan; (iv) all fees and expenses, including reasonable attorney’s fees
                       of the DIP Lender, shall have been paid in full; (v) the Sale Milestones
                       shall have been satisfied by the applicable Specified Deadline; (vi) a
                       final order (in form and substance acceptable to the DIP Lender in its
                       sole and absolute discretion) approving the DIP Credit Facility shall
                       have been entered, which final order shall not have been reversed,
                       modified, amended, stayed or vacated or in the case of any
                       modification or amendment, in a manner without the consent of the
                       DIP Lender (the “Final Order”, together with the Interim Order, the
                       “DIP Order”)) and the Debtors shall be in compliance in all respects
                       with the Final Order; (vii) all conditions to the consummation of the
                       Asset Purchase Agreement shall have been satisfied in accordance
                       with the terms thereof (or waived with the prior written consent of the
                       DIP Lender), other than the entry of a Sale Order; (viii) subject to entry
                       of a Sale Order, the parties to the Asset Purchase Agreement are ready,
                       willing and able to close; (ix) the Asset Purchase Agreement shall then

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                       be in full force and effect; (x) the Management Agreement shall be in
                       full force and effect; (xi) the Debtors shall be operating restaurants at
                       no fewer than 20 locations and (xii) receipt by the DIP Lender of a
                       Closing Certificate certifying that the foregoing conditions have been
                       satisfied.

                       Modifications of the Final Order shall require the prior written consent
                       of the DIP Lender.

REPRESENTATIONS AND    The representations and warranties set forth in 5.1, 5.2, 5.4, 5.7, 5.8(c),
WARRANTIES:            5.8(d), 5.10, 5.12, 5.14, 5.15, 5.16, 5.17 and 5.19 of the Prepetition
                       Credit Agreement are incorporated herein by reference and shall be
                       deemed made by the Debtors for the benefit of the DIP Lender in
                       respect of the DIP Credit Facility and DIP Obligations, mutatis
                       mutandis, as if fully set forth herein.

AFFIRMATIVE            Each Debtor shall:
COVENANTS:
                       (i)   timely deliver, or cause to be timely delivered, to the DIP Lender
                             the Approved Budget and Approved Variance Reports, and all
                             other financial reports, budgets, forecasts, and legal and financial
                             documentation requested by the DIP Lender (or their respective
                             legal advisors), all in accordance with the provisions set forth
                             herein;

                       (ii) (a) keep proper books, records and accounts in accordance with
                            GAAP in which full, true and correct entries shall be made of all
                            dealings and transactions in relation to their business and
                            activities, (b) cooperate, consult with, and provide to the DIP
                            Lender all such information as required or as reasonably
                            requested by the DIP Lender, (c) permit, upon one (1) business
                            day’s notice, representatives of the DIP Lender to visit and
                            inspect any of their respective properties, to examine and make
                            abstracts or copies from any of their respective books and
                            records, to conduct a collateral audit and analysis of their
                            respective inventory and accounts, to tour the Debtors’ business
                            premises and other properties, and to discuss, and provide advice
                            with respect to, their respective affairs, finances, properties,
                            business operations and accounts with their respective officers,
                            employees and independent public accountants as often as may
                            reasonably be desired, and (d) permit representatives of the DIP
                            Lender to consult with and advise the Debtors’ management on
                            matters concerning the general status of the Debtors’ business,
                            financial condition and operations;

                       (iii) comply with the Approved Budget and with provisions of this
                             Term Sheet and the Interim Order and/or the Final Order (as
                             applicable);

                       (iv) except to the extent contemplated by the Approved Budget or
                            otherwise consented to by the DIP Lender in writing, continue,

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                       and cause to be continued, the business of the Debtors, maintain,
                       and cause to be maintained, the Debtors’ existence and material
                       relationships, rights and privileges, and comply with all material
                       contractual obligations;

                 (v)   take, or cause to be taken, all appropriate action, to do or cause
                       to be done all things necessary, proper or advisable, to pursue and
                       consummate a Sale in accordance with the Specified Deadlines
                       for each of the Sale Milestones, and provide the DIP Lender with
                       copies of any bids (including, without limitation, any
                       information, financial or otherwise, submitted in connection with
                       any bids) upon receipt by the Debtors;

                 (vi) take, or cause to be taken, all appropriate action, to do or cause
                      to be done all things necessary, proper or advisable under
                      applicable law, and to execute and deliver such documents and
                      other papers, as may be required or reasonably requested by the
                      DIP Lender to carry out the provisions of this Term Sheet, the
                      Interim Order or the Final Order;

                 (vii) take, or cause to be taken, all appropriate action to remain the
                       sole owner of the DIP Collateral, free of liens other than
                       Permitted Liens;

                 (viii) take, or cause to be taken, all appropriate action to comply with
                        all material applicable laws with respect to the DIP Collateral;

                 (ix) pay when due all taxes prior to the date on which penalties attach,
                      except where such tax is being contested in good faith and
                      adequate reserves have been established in accordance with
                      GAAP;

                 (x)   pay when due all US Trustee fees and fund, each week, amounts
                       set forth in the Approved Budget for such week on the line-items
                       entitled “Debtor professional fees / escrow” and “UCC
                       professional fee escrow” as and when specified in the Approved
                       Budget into the Estate Professional Fee Escrow (as defined in the
                       Interim Order or the Final Order, as applicable);

                (xi)   promptly provide such additional information concerning the
                       Debtors, the Sale, or the DIP Collateral as the DIP Lender may
                       reasonably request and access to Debtors’ officers, directors and
                       advisors to discuss such information at reasonable times during
                       normal business hours (and such officers, directors and advisors
                       shall be directed to discuss such information with the DIP
                       Lender); and

                (xii) promptly provide to the DIP Lender and their counsel promptly
                      after the same is available, copies of all pleadings, motions,
                      applications, judicial information, financial information and
                      other documents to be filed by or on behalf of the Borrower or

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                             any other Debtor with the Bankruptcy Court in the Chapter 11
                             Cases.

NEGATIVE COVENANTS:    Unless otherwise provided in the Approved Budget, no Debtor shall,
                       without the express, prior written consent of the DIP Lender, do, cause
                       to be done, or agree to do or cause to be done, any of the following:

                       (i)   create, incur, assume or suffer to exist any lien upon any of its
                             property, assets, income or profits, whether now owned or
                             hereafter acquired, except valid, perfected and unavoidable liens
                             existing as of the Petition Date which, other than Permitted Liens,
                             are junior to the liens securing the DIP Credit Facility, and shall
                             not cause, or permit to be caused, any direct or indirect subsidiary
                             of Borrower that is not a Debtor to, create, incur, assume or suffer
                             to exist any such liens;

                       (ii) convey, sell, lease, assign, transfer or otherwise dispose of
                            (including through a transaction of merger or consolidation) any
                            of its property, business or assets, whether now owned or
                            hereafter acquired, out of the ordinary course of business;

                       (iii) incur or make any expenditure, Restricted Payment (as defined
                             below), investment, loan or other payment, other than in
                             accordance with the Approved Budget, subject to the Permitted
                             Variances;

                       (iv) create, or acquire any ownership interest in, any subsidiaries
                            (whether direct or indirect) other than those existing on the
                            Petition Date;

                       (v)   since the Petition Date, permit or suffer any material adverse
                             change, individually or in the aggregate, (i) in the operations,
                             assets, revenues, financial condition, profits or customer
                             relations of Debtors, taken as a whole (other than as a result of
                             the filing of the Chapter 11 Cases or the assertion of prepetition
                             claims against the Debtors), including, without limitation, as a
                             result of, or relating to, any epidemic, pandemic, disease
                             outbreak or public health crisis (including the COVID-19 virus),
                             (ii) the ability of the Borrower or the other Debtors to perform
                             their respective obligations under the DIP Documents or this
                             Term Sheet or (iii) the validity or enforceability of this Term
                             Sheet or any of the other DIP Documents or the rights or
                             remedies of the DIP Lender hereunder or thereunder (any such
                             change under (i), (ii) or (iii), a “Material Adverse Change”); or

                       (vi) engage in any activities that will result in any of the Debtors
                            becoming an “investment company” as defined in, or subject to
                            regulation under the Investment Company Act of 1940.

                       As used in this Term Sheet, “Restricted Payment” means, with
                       respect to any person (a) the declaration or payment of any dividend

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                       (whether in cash, securities or other property or assets) or distribution
                       of cash or other property or assets in respect of equity interests of such
                       person; (b) any payment (whether in cash, securities or other property
                       or assets) on account of the purchase, redemption, defeasance, sinking
                       fund or other retirement of the equity interests of such person or any
                       other payment or distribution (whether in cash, securities or other
                       property or assets) made in respect thereof, either directly or indirectly;
                       (c) any payment or prepayment of principal or premium, if any, or
                       interest, fees or other charges on or with respect to, and any
                       redemption, purchase, retirement, defeasance, sinking fund or similar
                       payment and any claim for rescission with respect to any indebtedness;
                       and (d) any payment made to redeem, purchase, repurchase or retire,
                       or to obtain the surrender of, any outstanding warrants, options or other
                       rights to acquire equity interests of such person now or hereafter
                       outstanding.

EVENTS OF DEFAULT:     Each of the following shall constitute an “Event of Default”:

                       (i)   the occurrence of any deviation from the Approved Budget that
                             is greater than the Permitted Variances;

                       (ii) the use of Cash Collateral for any purpose other than as permitted
                            in the DIP Documents, DIP Order or Approved Budget;

                       (iii) any modification of the DIP Lender’s rights under the DIP
                             Documents or DIP Order;

                       (iv) failure of any of the Sale Milestones to be satisfied by the
                            Specified Deadline (as such Specified Deadlines may be
                            modified to accommodate the calendar of the Bankruptcy Court);

                       (v)   failure by any Debtor to be in compliance in all respects with
                             clauses (i), (ii), (iii), (vi) (subject to Permitted Variances), (xiii),
                             (xiv) and (xv) of the Section entitled “Affirmative Covenants”
                             and in compliance in all material respects with any other
                             provision of this Term Sheet, the DIP Order and/or the Final
                             Order (as applicable);

                       (vi) failure of any representation or warranty to be true and correct in
                            all material respects;

                       (vii) the filing of any application by the Debtors (other than the
                             application for financing provided by a third party which seeks
                             authority to pay all of the DIP Obligations in full upon entry of
                             the order approving such financing) for the approval of (or an
                             order is entered by the Court approving) any claim arising under
                             Section 507(b) of the Bankruptcy Code or any other provision of
                             the Bankruptcy Code or any security, mortgage, collateral
                             interest or other lien in any of the Chapter 11 Cases which is pari
                             passu with or senior to the DIP Superpriority Claims or the
                             Priming DIP Liens, excluding liens arising under the DIP Order,

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                       or pursuant to any other financing agreement made with the prior
                       written consent of the DIP Lender;

                 (viii) the filing of any application by the Debtors for the approval of
                        (or an order is entered by the Court authorizing) compensation or
                        other amounts under any employee or executive incentive or
                        retention plans (or any similar sort of retention or incentive
                        program) without the prior written consent of the DIP Lender in
                        its sole discretion;

                 (ix) any request made by the Debtors for, or the reversal,
                      modification, amendment, stay, reconsideration or vacatur of the
                      DIP Order, as entered by the Bankruptcy Court, without the prior
                      written consent of the DIP Lender;

                 (x)   the commencement of any action by the Debtors or other
                       authorized person (other than an action permitted by the DIP
                       Order) against any of the DIP Lender or its agents and
                       employees, to subordinate or avoid any liens made in connection
                       with the DIP Order;

                 (xi) (1) the assertion by the Debtors in any pleading filed in any court
                      that any material provision of the DIP Order or Term Sheet is not
                      valid and binding for any reason, or (2) any material provision of
                      the DIP Order or Term Sheet shall for any reason, or any other
                      order of this Court approving the Debtors’ use of Cash Collateral
                      (as defined in the DIP Order), cease to be valid and binding
                      (without the prior written consent of the DIP Lender);

                 (xii) the filing with the Bankruptcy Court of a plan of reorganization
                       or liquidation in any of the Chapter 11 Cases that does not
                       provide for indefeasible payment in full in cash to the DIP Lender
                       of DIP Loans and all other amounts outstanding under this Term
                       Sheet, the DIP Order on the effective date of such plan;

                 (xiii) the appointment in any of the Chapter 11 Cases of a trustee,
                        receiver, examiner, or responsible officer with enlarged powers
                        relating to the operation of the business of any Debtor (powers
                        beyond those set forth in sections 1106(a)(3) and (a)(4) of the
                        Bankruptcy Code);

                 (xiv) the granting of relief from the automatic stay by the Bankruptcy
                       Court to any other creditor or party in interest in the Chapter 11
                       Cases with respect to any portion of the DIP Collateral exceeding
                       $50,000 in value in the aggregate;

                 (xv) failure to pay principal, interest or other DIP Obligations in full
                      in cash when due, including without limitation, on the Maturity
                      Date;



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                       (xvi) the allowance of any claim or claims under Section 506(c) or
                             552(b) of the Bankruptcy Code against or with respect to any DIP
                             Collateral;

                       (xvii) withdrawal or material modification by the Debtors of the
                             motion to approve the sale of all or substantially all of the
                             Debtors’ assets filed on the Petition Date, without the consent of
                             the DIP Lender;

                       (xviii) (1) the successful bidder at the Auction defaults or otherwise
                             breaches its obligations under either the asset purchase
                             agreement, which shall be in form and substance acceptable to
                             the DIP Lender (and any “back-up” bidder is not likewise ready,
                             willing and able to close), or under the order approving the sale
                             to such buyer (and the “back-up” bidder), which shall be in form
                             and substance acceptable to the DIP Lender (the “Sale Order”),
                             or (2) the Asset Purchase Agreement (or the asset purchase
                             agreement with the “back-up” bidder, if applicable) or the Sale
                             Order ceases to be in full force and effect for any reason;

                       (xix) any modification, amendment or waiver to the terms of the Asset
                             Purchase Agreement not consented to in writing by the DIP
                             Lender;

                       (xx) the occurrence of any Material Adverse Change;

                       (xxi) any breach by the Debtors pursuant to the terms of the Asset
                             Purchase Agreement, which breach is not cured by the Debtors
                             within any cure period provided pursuant to the terms of the
                             Asset Purchase Agreement or waived by the buyer thereunder;
                             and

                       (xxii) the Management Agreement ceases to be in full force and
                             effect for any reason; and

                       (xxiii) such other events of default as the DIP Lender may reasonably
                             identify in writing to Borrower prior to the entry of the DIP
                             Order.

REMEDIES UPON EVENT    Upon the occurrence and during the continuance of any Event of
OF DEFAULT:            Default, subject to three (3) business days’ notice to the Debtors during
                       which the Debtors may seek an emergency hearing before the
                       Bankruptcy Court (at which hearing the sole issue shall be whether or
                       not an Event of Default has occurred or is continuing), the DIP Lender
                       may take all or any of the following actions without further order of or
                       application to the Bankruptcy Court, and notwithstanding the
                       automatic stay:




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                      (i)   declare all DIP Obligations (including principal of, and accrued
                            interest on, any outstanding DIP Loans) to be immediately due
                            and payable;

                      (ii) terminate any further commitment to lend to Borrower; and

                      (iii) exercise rights and remedies pursuant to the terms of the DIP
                            Order, or applicable law (including, without limitation, direct any
                            or all of the Debtors (or file a motion in the name of the Debtors)
                            (i) to enforce the terms and provisions of the Asset Purchase
                            Agreement, (ii) to collect accounts receivable, without setoff by
                            any account debtor, including direct the Debtors to collect such
                            account receivables, (iii) to sell or otherwise dispose of any all of
                            the DIP Collateral on terms and conditions reasonably acceptable
                            to the DIP Lender pursuant to Sections 363, 365 and other
                            applicable provisions of the Bankruptcy Code (and without
                            limiting the foregoing, direct the Debtors (or file a motion in the
                            name of the Debtors) to assume and assign any lease or executory
                            contract included in the DIP Collateral to the DIP Lender’s
                            designees in accordance with and subject to Section 365 of the
                            Bankruptcy Code) and (iv) enter into the premises of any Debtor
                            in connection with the orderly sale or disposition of the DIP
                            Collateral (including, without limitation, complete any work in
                            process); provided, that the Debtors shall take all action that is
                            reasonably necessary to cooperate with the DIP Lender in the
                            DIP Lender’s exercise of its rights and remedies and facilitate the
                            realization upon the DIP Collateral by the DIP Lender.

OTHER BANKRUPTCY      All out-of-pocket costs and expenses of the DIP Lender relating to the
MATTERS:              DIP Credit Facility and the Chapter 11 Cases (including, without
                      limitation, prepetition and post-petition reasonable and documented
                      fees and disbursements of counsel and advisors) shall be payable by
                      Borrower promptly upon written demand (together with summary
                      backup documentation supporting such reimbursement request) and
                      without the requirement for Bankruptcy Court approval. A copy of the
                      summary invoice shall be provided by the Debtors to the Office of the
                      U.S. Trustee, counsel to the Prepetition Secured Parties and counsel
                      for any statutory committee.

                      Subject to the Prepetition First-out Lender Expense Cap, all out-of-
                      pocket costs and expenses of CNB relating to the Prepetition Credit
                      Agreement, DIP Credit Facility and the Chapter 11 Cases (including,
                      without limitation, prepetition and post-petition reasonable and
                      documented fees and disbursements of counsel and advisors) shall be
                      payable by Borrower promptly upon written demand (together with
                      summary backup documentation supporting such reimbursement
                      request) and without the requirement for Bankruptcy Court approval.
                      A copy of the summary invoice shall be provided by the Debtors to the
                      Office of the U.S. Trustee, counsel to the DIP Lender and counsel for
                      any statutory committee.


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                       Borrower shall indemnify, pay and hold harmless the DIP Lender (and
                       its respective directors, officers, members, employees and agents)
                       against any loss, liability, cost or expense incurred in respect of the
                       financing contemplated hereby or the use or the proposed use of
                       proceeds thereof (except to the extent resulting from the gross
                       negligence or willful misconduct of the indemnified party, as
                       determined by a final, non-appealable judgment of a court of
                       competent jurisdiction).

                       The DIP Order shall contain releases and exculpations for the DIP
                       Lender (in any capacity) and the Prepetition Secured Parties, in form
                       and substance satisfactory to such party, respectively, including,
                       without limitation, releases from any avoidance actions.

                       The DIP Lender shall have the right to credit bid the outstanding DIP
                       Obligations in connection with the Sale.

DIP ORDER GOVERNS:     To the extent of any conflict or inconsistency between this Term Sheet
                       and the DIP Order, the DIP Order shall govern.

AMENDMENT AND          No provision of this Term Sheet or the DIP Order may be amended
WAIVER:                other than by an instrument in writing signed by the DIP Lender and
                       Debtors.

GOVERNING LAW AND      The laws of the State of New York (except as governed by the
JURISDICTION:          Bankruptcy Code) shall govern this Term Sheet.

                       Debtors shall submit to the exclusive jurisdiction of the Bankruptcy
                       Court and shall waive any right to trial by jury.

COUNTERPARTS AND       This Term Sheet may be executed in any number of counterparts and
ELECTRONIC             by different parties hereto on separate counterparts, each of which
TRANSMISSION:          when so executed and delivered, shall be deemed an original, and all
                       of which, when taken together, shall constitute one and the same
                       instrument. Delivery of an executed counterpart of a signature page to
                       this Term Sheet by facsimile, “PDF” or other electronic transmission
                       shall be effective as delivery of a manually executed counterpart of this
                       Term Sheet.

CONSENT OF             Each of the Prepetition Secured Parties (including on behalf of each of
PREPETITION SECURED    its respective successors and assigns):
PARTIES:
                       (A) subject to the terms and conditions set forth in this Term Sheet
                       consents to (a) the use of Cash Collateral, subject to the terms hereof,
                       the Interim Order and the Final Order, as applicable, (b) the DIP Credit
                       Facility, including the Priming DIP Liens, as described in this Term
                       Sheet and in the Interim Order and the Final Order, as applicable, (c)
                       the 363 Sale Process, including, if an Auction is required, the
                       designation of the DIP Lender or one or more of its designees as the



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                 Stalking Horse Purchaser and the Bid Procedures (including the Break-
                 Up Protection) and (d) the Approved Budget; and

                 (B) agrees (and shall be deemed to have agreed upon entry of the
                 Interim DIP Order):

                      (i)      to (x) consent (and be deemed to have consented)
                               (including as may be required under section 363(f)(2) of
                               the Bankruptcy Code) to any sale or disposition of the
                               DIP Collateral (and release any liens and security
                               interest therein) agreed to by the DIP Lender and (y) not
                               object to, or otherwise contest (or support any other
                               person contesting), any order pursuant to Section 363(f)
                               of the Bankruptcy Code or other applicable Bankruptcy
                               Law relating to any sale or disposition of the DIP
                               Collateral (and release any liens and security interest
                               therein) agreed to by the DIP Lender; provided that (i)
                               the liens of the Prepetition Secured Parties shall attach
                               to the proceeds to the extent not applied to the DIP
                               Obligations, (ii) notwithstanding the foregoing, any
                               Prepetition Secured Party may raise any objections to
                               any such sale or disposition of assets (other than a sale
                               under the Asset Purchase Agreement) that could be
                               raised by any other creditor of a Debtor whose claims
                               are not secured by any Liens on the applicable DIP
                               Collateral to the extent not otherwise inconsistent with
                               the terms of this Term Sheet; and (iii) the Prepetition
                               Agent on behalf of the Prepetition Secured Parties
                               (including the Prepetition First-Out Lender) is granted
                               the Sale Closing Deliverables by the Purchaser (or
                               Stalking Horse Purchaser, if applicable) as closing
                               deliverables under the Asset Purchase Agreement or DIP
                               Lender if the DIP Lender acquires any material portion
                               of the Debtors’ assets whether pursuant to the 363 Sale
                               Process or by means of an exercise of remedies under
                               the DIP Documents, upon the closing of such acquisition
                               (provided, for the avoidance of doubt, that the foregoing
                               shall not apply to any liquidation or sale of assets for
                               cash proceeds by means of an exercise of remedies under
                               the DIP Documents effectuated in order to satisfy the
                               DIP Obligations, with any cash proceeds received in
                               excess of those used to satisfy the DIP Obligations in full
                               being paid to the Prepetition Agent on behalf of the
                               Prepetition Secured Parties pursuant to the terms of this
                               DIP Term Sheet and the DIP Order) or, unless otherwise
                               agreed by the Prepetition Agent, by any replacement
                               purchaser of the Debtors’ assets if an Auction is required
                               as part of the 363 Sale Process; and

                      (ii)     not take any action that would restrain, hinder, limit, or
                               delay with any action taken by the DIP Lender (or the

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                                     DIP Lender’s inaction) in connection with the Chapter
                                     11 Cases that is consistent with the Interim Order;

                       provided, in each of clause A and B, the Interim Order, the Final Order
                       the Bid Procedures and the 363 Sale Process are in form and substance
                       satisfactory to the Prepetition Agent on behalf of the Prepetition
                       Secured Parties as to the adequate protection terms pertaining to the
                       Prepetition Secured Parties provided for herein and therein; provided
                       that the Prepetition Secured Parties acknowledge and agree that the
                       adequate protection terms set forth in this Term Sheet are satisfactory
                       to the Prepetition Secured Parties.

COUNSEL TO DIP         Proskauer Rose LLP
LENDER:



                    [Remainder of page intentionally left blank]




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                                                DIP LENDER:

                                                GPEE LENDER, LLC


                                                By: ______________________________________
                                                Name:
                                                Title:




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                                                DEBTORS:

                                                FOODFIRST GLOBAL HOLDINGS, INC.,
                                                a Delaware corporation


                                                By: ______________________________________
                                                Name:
                                                Title:


                                                FOODFIRST GLOBAL RESTAURANTS, INC.,
                                                an Ohio corporation


                                                By: ______________________________________
                                                Name:
                                                Title:


                                                BRIO TUSCAN GRILLE OF MARYLAND, INC.,
                                                a Maryland corporation


                                                By: ______________________________________
                                                Name:
                                                Title:

                                                BRIO TUSCAN GRILLE OF BALTIMORE, LLC,
                                                a Maryland limited liability company


                                                By: ______________________________________
                                                Name:
                                                Title:

                                                BRIO TUSCAN GRILLE OF CHEROKEE, LLC,
                                                a Delaware limited liability company


                                                By: ______________________________________
                                                Name:
                                                Title:

                                                BRIO MARLTON, LLC,
                                                a Delaware limited liability company


                                                By: ______________________________________
                                                Name:
                                                Title:

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                                                CHERRY HILL TWO, LLC,
                                                a New Jersey limited liability company


                                                By: ______________________________________
                                                Name:
                                                Title:

                                                BRAVO DEVELOPMENT OF KANSAS, INC,
                                                a Kansas corporation


                                                By: ______________________________________
                                                Name:
                                                Title:




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                                                THE PREPETITION SECURED PARTIES:

                                                CITY NATIONAL BANK,
                                                as the Prepetition Agent and a Prepetition Lender


                                                By: ______________________________________
                                                Name:
                                                Title:




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                                                [EARL ENTITY],
                                                as a Prepetition Lender


                                                By: ______________________________________
                                                Name:
                                                Title:


                                                [EARL ENTITY],
                                                as a Prepetition Lender


                                                By: ______________________________________
                                                Name:
                                                Title:


                                                _____________________




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                                     EXHIBIT A TO TERM SHEET

                                                 Guaranty

Capitalized terms used herein without definition having the meaning set forth in the Senior Secured
Superpriority Debtor-in-Possession Credit Facility Term Sheet to which this Exhibit is attached.

        A.      Guaranty.

                  (a)      Each of the Guarantors hereby, jointly and severally, unconditionally and
irrevocably, as a primary obligor and not only a surety, guarantees to the DIP Lender, the prompt and
complete payment and performance by Borrower when due (whether at the stated maturity, by acceleration
or otherwise) of all obligations (monetary (including post-petition interest, allowed or not) or otherwise) of
Borrower under the DIP Credit Facility all in each case howsoever created, arising or evidenced, whether
direct or indirect, absolute or contingent, now or hereafter existing, or due or to become due. The guarantee
contained in this Exhibit A is a primary and original obligation of each Guarantor, is not merely the creation
of a surety relationship, and is an absolute, unconditional, and continuing guaranty of payment and
performance which will remain in full force and effect without respect to future changes in conditions.

                 (b)      Notwithstanding any provision of the DIP Credit Facility to the contrary, the
maximum liability of each Guarantor under the DIP Credit Facility will in no event exceed the amount that
can be guaranteed by that Guarantor under applicable federal and state laws relating to the insolvency of
debtors (after giving effect to the right of contribution established herein).

                (c)     Each Guarantor agrees that the DIP Obligations may at any time and from time to
time exceed the amount of the liability of that Guarantor under the DIP Credit Facility without impairing
the guaranty contained in this Exhibit A or affecting the rights and remedies of the DIP Lender under the
DIP Credit Facility.

               (d)      The guaranty contained in this Exhibit A will remain in full force and effect until
irrevocable payment in full of the DIP Obligations.

                 (e)     No payment made by Borrower, any of the Guarantors, any other guarantor, or any
other person or received or collected by the DIP Lender from Borrower, any of the Guarantors, any other
guarantor, or any other person by virtue of any action or proceeding or any set-off or appropriation or
application at any time or from time to time in reduction of or in payment of the DIP Obligations will be
deemed to modify, reduce, release, or otherwise affect the liability of any Guarantor under the DIP Credit
Facility, which Guarantor will, notwithstanding any such payment (other than any payment made by that
Guarantor in respect of the DIP Obligations or any payment received or collected from that Guarantor in
respect of the DIP Obligations), remain liable for the DIP Obligations up to the maximum liability of that
Guarantor under the DIP Credit Facility until Payment in Full of the DIP Obligations.

         B.      Right of Contribution. Each Guarantor hereby agrees that to the extent that a Guarantor
has paid more than its proportionate share of any payment made under the Term Sheet, that Guarantor will
be entitled to seek and receive contribution from and against any other Guarantor under the DIP Credit
Facility that has not paid its proportionate share of that payment. Each Guarantor’s right of contribution
will be subject to the terms and conditions of this guaranty. The provisions of this guaranty in no respect
limit the obligations and liabilities of any Guarantor to the DIP Lender, and each Guarantor will remain
liable to the DIP Lender for the full amount guaranteed by that Guarantor under the DIP Credit Facility.
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        C.       No Subrogation. Notwithstanding any payment made by any Guarantor under this
Agreement or any set-off or application of funds of any Guarantor by the DIP Lender, no Guarantor is or
will be entitled to be subrogated to any of the rights of the DIP Lender against Borrower or any other
Guarantor or any collateral security or guaranty or right of offset held by the DIP Lender for the payment
of the DIP Obligations, and no Guarantor may seek or is or will be entitled to seek any contribution or
reimbursement from Borrower or any other Guarantor in respect of payments made by that Guarantor under
the DIP Credit Facility until Payment in Full of the DIP Obligations. If any amount is paid to any Guarantor
on account of those subrogation rights at any time before Payment in Full of the DIP Obligations, then that
Guarantor shall hold that amount in trust for the DIP Lender, segregated from other funds of that Guarantor,
and shall, promptly upon receipt by that Guarantor, turn that amount over to the DIP Lender in the exact
form received by that Guarantor (duly endorsed by that Guarantor to the DIP Lender, if required), to be
applied against the DIP Obligations, whether matured or unmatured, in such order as the DIP Lender
determines, unless otherwise specified in the DIP Credit Facility.

        D.       Amendments, etc.

                 (a)     Each Guarantor will remain obligated under the DIP Credit Facility
notwithstanding that, without any reservation of rights against any Guarantor and without notice to or
further assent by any Guarantor, (i) any demand for payment of any of the DIP Obligations made by the
DIP Lender may be rescinded by the DIP Lender and any of the DIP Obligations may be continued; (ii) the
DIP Obligations, or the liability of any other person upon or for any part thereof, or any collateral security
or guaranty therefor or right of offset with respect thereto, may, from time to time, in whole or in part, be
renewed, extended, amended, modified, accelerated, compromised, waived, surrendered, or released by the
DIP Lender; and (iii) the DIP Credit Facility and any other documents executed and delivered in connection
therewith may be amended, modified, supplemented, or terminated, in whole or in part, as the DIP Lender
may deem advisable from time to time in accordance with the DIP Credit Facility. The DIP Lender does
not and will not have any obligation to protect, secure, perfect, or insure any lien at any time held by it as
security for the DIP Obligations or for this guaranty or any property subject thereto.

                  (b)      The DIP Lender may, from time to time, at its sole discretion and without notice
to any Guarantor, take any or all of the following actions: (i) retain or obtain a security interest in any
property to secure any of the DIP Obligations or any obligation under the DIP Credit Facility; (ii) retain or
obtain the primary or secondary obligation of any obligor or obligors, in addition to the undersigned, with
respect to any of the DIP Obligations; (iii) extend or renew any of the DIP Obligations for one or more
periods (whether or not longer than the original period), alter or exchange any of the DIP Obligations, or
release or compromise any obligation of any of Guarantor under the DIP Credit Facility or any obligation
of any nature of any other obligor with respect to any of the DIP Obligations; (iv) release any guaranty or
right of offset or its security interest in, or surrender, release, or permit any substitution or exchange for, all
or any part of any property securing any of the DIP Obligations or any obligation under the DIP Credit
Facility, or extend or renew for one or more periods (whether or not longer than the original period) or
release, compromise, alter, or exchange any obligations of any nature of any obligor with respect to any
such property; and (v) resort to any Guarantor (or any of them) for payment of any of the DIP Obligations
when due, whether or not the DIP Lender has resorted to any property securing any of the DIP Obligations
or any obligation under the Term Sheet or have proceeded against any other Guarantor or any other obligor
primarily or secondarily obligated with respect to any of the DIP Obligations.

        E.       WAIVERS.

                (a)     Each Guarantor waives, until the DIP Obligations are Paid in Full, to the furthest
extent permitted by applicable law, any and all notice of the creation, renewal, extension, or accrual of any
of the DIP Obligations and notice of or proof of reliance by the DIP Lender upon the guaranty contained in
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this Exhibit A or acceptance of the guaranty contained in this Exhibit A. The DIP Obligations, and any of
them, will conclusively be deemed to have been created, contracted, or incurred, or renewed, extended,
amended, or waived, in reliance upon the guaranty contained in this Exhibit A, and all dealings between
Borrower and any of the Guarantors, on the one hand, and the DIP Lender, on the other hand, likewise will
be conclusively presumed to have been had or consummated in reliance upon the guaranty contained in this
guaranty. To the furthest extent permitted by applicable law, each Guarantor waives, until the DIP
Obligations are Paid in Full, to the furthest extent permitted by applicable law, (i) diligence, presentment,
protest, demand for payment, and notice of default, dishonor, or nonpayment and all other notices
whatsoever to or upon Borrower or any of the Guarantors with respect to the DIP Obligations; (ii) notice
of the existence or creation or non-payment of all or any of the DIP Obligations; and (iii) all diligence in
collection or protection of or realization upon any DIP Obligations or any security for or guaranty of any
DIP Obligations. Without limiting the generality of any other waiver or other provision set forth in the
guaranty contained in this Exhibit A, each Guarantor waives all rights and defenses that such Guarantor
may have if all or part of the DIP Obligations are secured by real property to the furthest extent permitted
by applicable law.

                (b)      The waivers set forth in this guaranty mean, among other things:

                        (i)     that the DIP Lender may collect from any Guarantor without first
        foreclosing on any real or personal property collateral that may be pledged by that Guarantor,
        Borrower, or any other guarantor;

                       (ii)    that if the DIP Lender forecloses on any real property collateral that may
        be pledged by any Guarantor, Borrower, or any other guarantor:

                                 (A)      the amount of the DIP Obligations or any obligations of any
                guarantor in respect thereof may be reduced only by the price for which that collateral is
                sold at the foreclosure sale, even if the collateral is worth more than the sale price; and

                               (B)     the DIP Lender may collect from that Guarantor even if the DIP
                Lender, by foreclosing on the real property collateral, has destroyed any right such
                Guarantor may have to collect from Borrower, any other Guarantor or any other guarantor.

                 (c)      Each waiver set forth in this guaranty is an unconditional and irrevocable waiver
of any rights and defenses each Guarantor may have if all or part of the DIP Obligations are secured by real
property to the furthest extent permitted under applicable law.

                (d)     Without limiting the generality of any other waiver or other provision set
forth in this guaranty, to the maximum extent permitted by applicable law, each Guarantor waives
all rights and defenses arising out of an election of remedies by the DIP Lender, even though that
election of remedies, such as a nonjudicial foreclosure with respect to security for the DIP
Obligations, has destroyed that Guarantor’s rights of subrogation and reimbursement against
Borrower by the operation of applicable law.

         F.       Payments. Each Guarantor hereby guarantees that payments under the DIP Credit Facility
will be paid to the DIP Lender without set-off or counterclaim in United States dollars.
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                                     EXHIBIT B TO TERM SHEET

                                FORM OF NOTICE OF BORROWING

                                                      []

                                       Date: ____________________


         THIS NOTICE OF BORROWING (this “Notice”) is delivered in accordance with the terms of that
certain Senior Secured Superpriority Priming Debtor-in-Possession Credit Facility Term Sheet, dated as of
April [●], 2020 (as amended, restated, amended and restated, supplemented or otherwise modified from
time to time, including all schedules, annexes and exhibits hereto, the “Term Sheet”), by and among
FOODFIRST GLOBAL RESTAURANTS, INC., a Delaware corporation (the “Borrower”), the other
Debtors (as defined below) party thereto, GPEE LENDER, LLC, as DIP Lender (as defined therein), and
the other parties party thereto, in connection with cases to be filed by Borrower and the Guarantors (as
defined therein) (collectively, the “Debtors”) in the United States Bankruptcy Court for the Middle District
of Florida pursuant to chapter 11 of title 11 of the United States Code on April 10, 2020. Capitalized terms
used herein without definition shall have the meanings set forth in the Term Sheet. To the extent the
provisions set forth in this Notice conflict with any provisions in the Term Sheet, the Term Sheet shall
govern.

        The undersigned, as [the chief executive officer, president or chief financial officer] of Borrower,
hereby certifies to the DIP Lender, on behalf of Borrower, and not in any individual capacity, that he/she is
authorized to execute this Notice and hereby gives notice to the DIP Lender of Borrower’s request to borrow
DIP Loans in the amount of $__________________ on ____________________.

        The undersigned hereby requests that such funds be disbursed to the following account:

        Name of Bank:             __________________________________
        ABA No.:                  __________________________________
        Account No.:              __________________________________
        Account Name:             __________________________________
        Reference:                __________________________________

         The undersigned hereby certifies that, both before and after giving effect to the request above, each
of the [“Conditions Precedent to Each Interim DIP Loan”] / [“Conditions Precedent to Final DIP Loan”]
set forth in the Term Sheet has been satisfied (or waived in writing by the DIP Lender in its sole and absolute
discretion).


                                          [Signature page follows]
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         IN WITNESS WHEREOF, the undersigned has duly executed and delivered this Notice as of the
date first set forth above.

                                             BORROWER:

                                             FOODFIRST GLOBAL RESTAURANTS, INC.



                                             By: ______________________________________
                                             Name:
                                             Title:
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                                    EXHIBIT C TO TERM SHEET

                                             Sale Milestones


                     Sale Milestone                                       Specified Deadline

1. Filing with the Bankruptcy Court of the (i) motion to       April 14, 2020 (the “DIP Motion Date”)
approve the DIP Credit Facility, (ii) motion to approve
the 363 Sale Process and the Sale and (iii) such other first
day papers as may be approved or requested by the DIP
Lender, all of which shall be in form and substance
acceptable to the DIP Lender in its sole discretion.

                                                               No later than 3 days after the DIP Motion
2. Entry by the Bankruptcy Court of the Interim Order.         Date, or such date as the DIP Lender
                                                               consents in writing in its sole discretion

3. Execution of the Asset Purchase Agreement with the          No later than 15 days after the DIP Motion
DIP Lender (or if an Auction is required, the Stalking         Date, or such date as the DIP Lender
Horse Purchaser).                                              consents in writing in its sole discretion

3. If an Auction is required, entry by the Bankruptcy          No later than 25 days after the DIP Motion
Court of an order approving the Stalking Horse Purchaser       Date, or such date as the DIP Lender
and the Bid Procedures.                                        consents in writing in its sole discretion

                                                               No later than 33 days after the DIP Motion
4. Entry by the Bankruptcy Court of the Final Order.           Date, or such date as the DIP Lender
                                                               consents in writing in its sole discretion

5. If an Auction is required, last day to submit counterbids   No later than 54 days after the DIP Motion
in accordance with the Bid Procedures (the “Bid                Date, or such date as the DIP Lender
Deadline”).                                                    consents in writing in its sole discretion

6. If required, the Auction in accordance with the Bid         No later than 56 days after the DIP Motion
Procedures, if any qualified competing bids are submitted      Date, or such date as the DIP Lender
by any qualified purchasers.                                   consents in writing in its sole discretion

                                                               No later than 58 days after the DIP Motion
7. Hearing to approve Sale and entry of a Sale Order.          Date, or such date as the DIP Lender
                                                               consents in writing in its sole discretion

8. Closing of Sale in accordance with the terms of the         No later than 60 days after the DIP Motion
Asset Purchase Agreement and receipt by the DIP Lender         Date, or such date as the DIP Lender
of the indefeasible payment in full in cash of the DIP         consents in writing in its sole discretion
Obligations.
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                                          EXHIBIT D TO TERM SHEET

                                      FORM OF CLOSING CERTIFICATE

                                FOODFIRST GLOBAL RESTAURANTS, INC.

                                            Date: ___________________


         THIS CLOSING CERTIFICATE (this “Certificate”) is delivered in accordance with the terms of
that certain Senior Secured Superpriority Priming Debtor-in-Possession Credit Facility Term Sheet, dated
as of April [●], 2020 (as amended, restated, amended and restated, supplemented or otherwise modified
from time to time, including all schedules, annexes and exhibits hereto, the “Term Sheet”), by and
among[FOODFIRST GLOBAL RESTAURANTS, INC., a Delaware corporation (the “Borrower”), the
other Debtors (as defined below) party thereto, GPEE LENDER, LLC, as DIP Lender (as defined therein),
and the other parties party thereto, in connection with cases to be filed by Borrower and the Guarantors (as
defined therein) (collectively, the “Debtors”) in the United States Bankruptcy Court for the Middle District
of Florida pursuant to chapter 11 of title 11 of the United States Code on April 10, 2020. Capitalized terms
used herein without definition shall have the meanings set forth in the Term Sheet. To the extent the
provisions set forth in this Certificate conflict with any provisions in the Term Sheet, the Term Sheet shall
govern.

         The undersigned, as the [chief executive officer, president or chief financial officer] of each Debtor,
hereby certifies to the DIP Lender, on behalf of such Debtor, and not in any individual capacity, that (i)
he/she is authorized to execute this Certificate and (ii) as of the date hereof, each of the conditions precedent
set forth below and in the Term Sheet has been satisfied (or waived in writing by the DIP Lender in its sole
and absolute discretion):

[Conditions Precedent to Each Interim DIP Loan] 2

        Debtors have timely delivered to the DIP Lender the Approved Budget or any update thereto
required to be delivered in accordance with the Term Sheet.

           Debtors have delivered to the DIP Lender a Notice of Borrowing.

        Debtors are in compliance with and have satisfied the Sale Milestones no later than by the
applicable Specified Deadline.

         The interim order (in form and substance acceptable to the DIP Lender in its sole and absolute
discretion) has been entered by the Bankruptcy Court (after a hearing on notice to all parties having or
asserting a lien on all or any portion of the DIP Collateral) and has not been reversed, modified, amended,
stayed or vacated, or in the case of any modification or amendment, in a manner without the consent of the
DIP Lender (the “Interim Order”), and the Debtors are in compliance in all respects with the Interim
Order.

       All of the “first day” motions, orders and related pleadings have been reviewed in advance by the
DIP Lender and CNB and are reasonably satisfactory in form and substance to the DIP Lender.



2
    The following list should be included in the Closing Certificate delivered for each Interim DIP Loan.
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             The DIP Lender is satisfied that its liens and security interests have been perfected in the DIP
    Collateral (other than with respect to security interests in eligible foreign inventory) and constitute first-
    priority liens (subject only to Permitted Liens).

            All fees and out-of-pocket expenses of the DIP Lender relating to the DIP Credit Facility
    (including, without limitation, reasonable fees and expenses of their counsel and external advisors) have
    been paid in full.

            Debtors have insurance (including, without limitation, commercial general liability and property
    insurance) with respect to the DIP Collateral in such amounts and scope as is reasonably acceptable to the
    DIP Lender, and the DIP Lender has received additional insured and loss payee endorsements, as
    applicable, with respect thereto, in form and substance reasonably acceptable to the DIP Lender.

             The DIP Lender has received the results of a recent lien, tax and judgment search in each relevant
    jurisdiction with respect to Debtors, and such search revealed no liens on any of the assets of Debtors other
    than Permitted Liens and liens of the Prepetition Secured Parties.

             No Event of Default has occurred and is continuing on the Interim Closing Date, or after giving
    effect to the Interim DIP Loan.

            All representations and warranties of the Debtors set forth in the Term Sheet are true and correct in
    all material respects.

             Subject to Bankruptcy Court approval, (i) each Debtor has the corporate power and authority to
    make, deliver and perform its obligations under the Term Sheet and the Interim Order, and (ii) no consent
    or authorization of, or filing with, any person (including, without limitation, any governmental authority)
    is required in connection with the execution, delivery or performance by each Debtor, or for the validity or
    enforceability in accordance with its terms against such Debtor, of the Term Sheet and the Interim Order
    except for consents, authorizations and filings which have been obtained or made and are in full force and
    effect and except for such consents, authorizations and filings, the failure to obtain or perform, could not
    reasonably be expected to cause a Material Adverse Change.

           The DIP Lender has received a copy of the fully-executed Asset Purchase Agreement, which is in
    form and substance acceptable to the DIP Lender in its sole and absolute discretion.

           The DIP Lender has received such other information and/or deliverables as the DIP Lender may
    reasonably require.


    [Conditions Precedent to Final DIP Loan] 3

           1.       Debtors have delivered to the DIP Lender a Notice of Borrowing.

        2.        All representations and warranties of the Debtors set forth in the Term Sheet are true and correct
in all material respects.

         3.      No Event of Default has occurred and is continuing on the Final Closing Date, or after giving
effect to the Final DIP Loan.


    3
        The following list should be included in the Closing Certificate delivered for the Final DIP Loan.
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           4.   All fees and expenses, including reasonable attorney’s fees of the DIP Lender, have been paid
in full.

           5.   The Sale Milestones have been satisfied by the applicable Specified Deadline.

         6.      A final order (in form and substance acceptable to the DIP Lender in its sole and absolute
discretion) approving the DIP Credit Facility has been entered, which final order has not been reversed,
modified, amended, stayed or vacated or in the case of any modification or amendment, in a manner without
the consent of the DIP Lender (the “Final Order”, together with the Interim Order, the “DIP Order”)) and the
Debtors are in compliance in all respects with the Final Order.

         7.      All conditions to the consummation of the Asset Purchase Agreement have been satisfied in
accordance with the terms thereof (or waived with the prior written consent of the DIP Lender), other than the
entry of a Sale Order.

        8.       Subject to entry of a Sale Order, the parties to the Asset Purchase Agreement are ready, willing
and able to close.

           9.   The Asset Purchase Agreement remains in full force and effect.


                                             [Signature page follows]
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         IN WITNESS WHEREOF, each of the undersigned has duly executed and delivered this Certificate
as of the date first set forth above.

                                              DEBTORS:

                                              FOODFIRST GLOBAL HOLDINGS, INC.,
                                              a Delaware corporation


                                              By: ______________________________________
                                              Name:
                                              Title:


                                              FOODFIRST GLOBAL RESTAURANTS, INC.,
                                              an Ohio corporation


                                              By: ______________________________________
                                              Name:
                                              Title:


                                              BRIO TUSCAN GRILLE OF MARYLAND, INC.,
                                              a Maryland corporation


                                              By: ______________________________________
                                              Name:
                                              Title:

                                              BRIO TUSCAN GRILLE OF BALTIMORE, LLC,
                                              a Maryland limited liability company


                                              By: ______________________________________
                                              Name:
                                              Title:

                                              BRIO TUSCAN GRILLE OF CHEROKEE, LLC,
                                              a Delaware limited liability company


                                              By: ______________________________________
                                              Name:
                                              Title:

                                              BRIO MARLTON, LLC,
                                              a Delaware limited liability company
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                           By: ______________________________________
                           Name:
                           Title:

                           CHERRY HILL TWO, LLC,
                           a New Jersey limited liability company


                           By: ______________________________________
                           Name:
                           Title:

                           BRAVO DEVELOPMENT OF KANSAS, INC,
                           a Kansas corporation


                           By: ______________________________________
                           Name:
                           Title:
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                                                            EXHIBIT “B”




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION

    In re:                                                                     CASE NO. 6:20-bk-02159-KSJ

                                                                               CHAPTER 11
    FOODFIRST GLOBAL
    RESTAURANTS, INC., et al.,                                                 Jointly Administered 1

                                     Debtors.
                                                                               EMERGENCY RELIEF REQUESTED
                                                                               HEARING REQUESTED BY APRIL
                                                                    /          15, 2020

           INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO
          OBTAIN POSTPETITION FINANCING, (II) AUTHORIZING
      THE DEBTORS TO USE CASH COLLATERAL, (III) GRANTING LIENS
 AND PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS, (IV)
GRANTING ADEQUATE PROTECTION, (V) MODIFYING THE AUTOMATIC STAY,
(VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

           Upon the motion, dated April __, 2020 (the “Motion”) of FoodFirst Global Holdings, Inc.

and its subsidiaries (collectively, the “Debtors”) in the above-captioned chapter 11 cases

(collectively, the “Chapter 11 Cases”), seeking entry of an interim order (this “Interim Order”) and



1
 Joint administration requested with the following cases: Food First Global Restaurants, LLC, Case No. 6:20-bk-02159; FoodFirst Global Holdings,
LLC, Case No: 6:20-bk-02161; Brio Tuscan Grille of Maryland, Inc., Brio Marlton, LLC, Case No: 6:20-bk-02162; Case No: 6:20-bk-02163-; Brio
Tuscan Grille of Baltimore, LLC, Case No: 6:20-bk-02164; Cherry Hill To, LLC, Case No: 6:20-bk-02166; Brio Tuscan Grille of Cherokee, LLC,
Case No: 6:20-bk-02165; and Bravo Development of Kansas, Inc., Case No: 6:20-bk-02167.
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a final order (the “Final Order”) pursuant to sections 105, 361, 362, 363, 364(c)(l), 364(c)(2),

364(c)(3), 364(d), 364(e), 507 and 552 of chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”), Rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), the Local Rules for the Middle District of Florida (the “Local

Bankruptcy Rules”), inter alia:

       (i)      authorizing the Debtors to obtain senior secured postpetition financing on a

superpriority basis under a multi-draw term loan facility of up to $3.0 million in the aggregate on

an interim basis and up to $7.0 million in the aggregate upon entry of the Final Order (the “DIP

Facility”) pursuant to the terms and conditions of that certain Senior Secured Superpriority Priming

Debtor-in-Possession Credit Facility Term Sheet (as the same may be amended, restated,

supplemented, or otherwise modified from time to time (the “DIP Term Sheet”), to be entered into

by and among FoodFirst Global Restaurants, Inc., as borrower, each other Debtor as guarantor,

and GPEE Lender, LLC as the “DIP Lender,” and consented to by Garrison Loan Agency Services

LLC (the “Prepetition Agent”), as agent for the Prepetition Secured Parties (as hereinafter defined)

and the Prepetition Secured Parties, in the form attached to the Motion as Exhibit A;

       (ii)     approving the terms of and authorizing the Debtors party thereto to execute and

deliver the DIP Term Sheet and any other agreements, instruments and documents related thereto

(collectively with the DIP Term Sheet, the “DIP Documents”) and to perform such other acts as

may be necessary or desirable in connection with the DIP Documents;

       (iii)    approving the DIP Facility and granting all obligations owing thereunder and under

the DIP Documents to the DIP Lender (collectively, and including all “Obligations” as described
                                                 2
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in the DIP Documents, the “DIP Obligations”) allowed superpriority administrative expense claim

status in each of the Chapter 11 Cases and any Successor Cases (as defined below);

           (iv)       granting to the DIP Lender automatically perfected security interests in and

superpriority liens on all of the DIP Collateral (as defined below), including, without limitation,

all property constituting “Cash Collateral” as defined in section 363(a) of the Bankruptcy Code
                             2
(“Cash Collateral”), which liens shall be subject to the priorities set forth herein;

           (v)        authorizing and directing the Debtors to pay the principal, interest, fees, expenses

and other amounts payable under the DIP Documents as such become due, including, without

limitation, commitment fees and the fees and disbursements of the DIP Professionals, including

attorneys, advisors, accountants and other consultants, all to the extent provided in, and in

accordance with, this Interim Order and the applicable DIP Documents;

           (vi)       authorizing the Debtors to use the Prepetition Collateral, including the Cash

Collateral (each as defined below) of the Prepetition Secured Parties under the Prepetition Loan

Documents (each as defined below) on an interim basis, and providing, among other things,

adequate protection to the Prepetition Secured Parties for any Diminution (as defined below) of

their interests in the Prepetition Collateral, including the Cash Collateral, and/or in exchange for

their consent to the priming of the Prepetition Liens by the Priming DIP Liens;

           (vii)      approving the stipulations by the Debtors herein with respect to the Prepetition

Loan Documents and the liens and security interests arising therefrom;


2
 Capitalized terms used in this Interim Order but not defined herein shall have the meanings given to them in the Motion or the DIP Term Sheet,
as applicable.
                                                                       3
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       (viii) authorizing the Debtors to use Cash Collateral and the proceeds of the DIP Facility

in accordance with both the Approved Budget and the DIP Documents on an interim basis;

       (ix)    modifying the automatic stay imposed by section 362 of the Bankruptcy Code to

the extent necessary to implement and effectuate the terms and provisions of the DIP Documents

and this Interim Order; and

       (x)     scheduling a final hearing (the “Final Hearing”) to consider the relief requested in

the Motion and approving the form of notice with respect to the Final Hearing.

       The Bankruptcy Court having considered the Motion, the exhibits attached thereto, the

First Day Declaration, the DIP Documents, and the evidence submitted and argument made at the

interim hearing (the “Interim Hearing”); and notice of the Interim Hearing having been provided

in accordance with Bankruptcy Rules 2002, 4001(b), (c) and (d), and all applicable Local

Bankruptcy Rules; and the Interim Hearing having been held and concluded; and all objections, if

any, to the interim relief requested in the Motion having been withdrawn, resolved or overruled by

the Bankruptcy Court; and it appearing that approval of the interim relief requested in the Motion

is necessary to avoid immediate and irreparable harm to the Debtors and their estates pending the

Final Hearing, and otherwise is fair and reasonable and in the best interests of the Debtors, their

estates and all parties-in-interest, and is essential for the continued operation of the Debtors’

business and the preservation of the value of the Debtors’ assets; and the Bankruptcy Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and it appearing that the Debtors’ entry into the DIP Term Sheet is a sound and



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prudent exercise of the Debtors’ business judgment; and after due deliberation and consideration,

and good and sufficient cause appearing therefor;

           BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING,

THE BANKRUPTCY COURT MAKES THE FOLLOWING FINDINGS OF FACT AND
                                             3
CONCLUSIONS OF LAW:

           A.         Disposition. The relief requested in the Motion is granted on an interim basis in

accordance with the terms of this Interim Order. Any objections to the Motion with respect to the

entry of this Interim Order that have not been withdrawn, waived or settled, and all reservations of

rights included therein, are hereby denied and overruled on the merits. This Interim Order shall

become effective immediately upon its entry and any applicable stay (including under Bankruptcy

Rule 6004) is waived to permit such effectiveness.

           B.         Petition Date. On April 10, 2020 (the “Petition Date”), each of the Debtors filed

a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the Bankruptcy Court.

           C.         Debtors in Possession. The Debtors are operating their businesses and properties

as debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. As of the

date hereof, no trustee or examiner has been appointed.

           D.         Jurisdiction and Venue. This Bankruptcy Court has jurisdiction over the Chapter

11 Cases, the Motion and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b)



3
  The findings and conclusions set forth herein constitute the Bankruptcy Court’s findings of fact and conclusions of law pursuant to Bankruptcy
Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings of fact constitute
conclusions of law, they are adopted as such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted as
such.
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and 1334 and the [Amended Standing Order of Reference from the United States District Court for

the Middle District of Florida, dated [February 29, 2012]. Consideration of the Motion constitutes

a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue for the Chapter 11 Cases and the

proceedings on the Motion is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409. The

bases for the relief sought in the Motion are sections 105, 361, 362, 363, 364, 507 and 552 of the

Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004 and 9014, and the Local Bankruptcy Rules.

       E.       Committee Formation. As of the date hereof, no statutory committee has been

appointed in these Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code (a

“Committee”).

       F.       Notice. Upon the record presented to the Court at the Interim Hearing, and under

the exigent circumstances set forth therein, notice of the Motion and the relief requested thereby

and this Interim Order has been provided in accordance with Bankruptcy Rules 4001(b) and

4001(c)(1) to (a) the United States Trustee for Region 3 (the “U.S. Trustee”); (b) the entities listed

on the Consolidated List of Creditors Holding the 30 Largest Unsecured Claims filed pursuant to

Bankruptcy Rule 1007(d); (c) counsel to the DIP Lender; (d) counsel for the Prepetition Agent; (e)

the United States Attorney’s Office for the Middle District of Florida; (f) the Internal Revenue

Service; (g) all parties known to the Debtors who hold any liens or security interests in the Debtors’

assets who have filed UCC-1 financing statements against the Debtors; (h) the United States

Securities and Exchange Commission; (i) the state attorneys general for states in which the Debtors

conduct business; (j) the U.S. Food and Drug Administration; and (k) any party that has requested

notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”), which notice was
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appropriate under the circumstances and sufficient for the Motion, and the entry of this Interim

Order; and no further notice of, or hearing on, the entry of this Interim Order and the relief set

forth therein is necessary or required. The interim relief granted herein is necessary to avoid

immediate and irreparable harm to the Debtors and their estates pending a Final Hearing.

        G.      Debtors’ Stipulations.       Subject to Paragraph 45 hereof, each stipulation,

admission, and agreement contained in this Interim Order, including, without limitation, the

Debtors’ Stipulations, shall be binding upon the Debtors, their Estates and any successor thereto

(including, without limitation, any chapter 7 or chapter 11 trustee appointed or elected for any of

the Debtors) under all circumstances and for all purposes, and the Debtors are deemed to have

irrevocably waived and relinquished all Challenges (as defined herein) as of the date of the Petition

Date. After consultation with their attorneys and financial advisors, and without prejudice to the

rights of parties in interest as set forth in paragraph 45 herein, the Debtors, on behalf of themselves,

admit, stipulate, acknowledge, and agree as follows (paragraphs G(i) through G(iv) below are

referred to herein, collectively, as the “Debtors’ Stipulations”):

                  (i)   Prepetition Term Loan Facility. Pursuant to that certain Revolving Credit,

  Term Loan, Guaranty and Security Agreement, dated as May 24, 2018 (as amended, restated,

  supplemented, or otherwise modified from time to time, the “Prepetition Credit Agreement,” and

  collectively with all other agreements, instruments and documents executed or delivered in

  connection therewith, each as may be amended, restated, supplemented, or otherwise modified

  from time to time, the “Prepetition Loan Documents”), among (a) Foodfirst Global Restaurants,

  Inc. (f/k/a Bravo Brio Restaurant Group, Inc.) (the “Prepetition Borrower”) (b) Foodfirst Global
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Holdings, Inc. (f/k/a Bugatti Parent, Inc.), and the other guarantors party thereto (the “Prepetition

Guarantors,”), (c) the Prepetition Agent, and (d) the term loan lenders party thereto (the

“Prepetition Lenders,” and together with the Prepetition Agent, collectively, the “Prepetition

Secured Parties”), the Prepetition Lenders provided secured term loans to the Debtors (the

“Prepetition Term Loan Facility”).

                (ii)   Prepetition Obligations. The Debtors represent that as of March 31, 2020,

the aggregate principal amount outstanding under the Prepetition Term Loan Facility was

$[27,000,000] (together with accrued and unpaid interest, any fees, expenses and disbursements

(including, without limitation, attorneys’ fees, accountants’ fees, appraisers’ fees and financial

advisors’ fees, and related expenses and disbursements), indemnification obligations, and other

charges, amounts and costs of whatever nature owing, whether or not contingent, whenever

arising, accrued, accruing, due, owing, or chargeable in respect of any of the Prepetition

Borrower’s and Prepetition Guarantors’ obligations in connection with the Prepetition Term

Loan Facility pursuant to the Prepetition Loan Documents, including all “Obligations” as defined

in the Prepetition Credit Agreement, the “Prepetition Obligations”).

                (iii) Prepetition Liens and Prepetition Collateral. As more fully set forth in the

Prepetition Loan Documents, prior to the Petition Date, the Prepetition Borrower and the

Prepetition Guarantors granted to the Prepetition Agent for the benefit of the Prepetition Secured

Parties, a security interest in and continuing lien (the “Prepetition Liens”) on substantially all of

the assets of the Prepetition Borrower and the Prepetition Guarantors (the “Prepetition

Collateral”).
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                 (iv) Priority of Prepetition Liens. As of the Petition Date: the Prepetition Liens

 (solely to the extent they were valid, binding, enforceable, non-avoidable and properly perfected)

 were senior in priority over any and all other liens on the Prepetition Collateral, subject only

 to certain liens senior by operation of law or otherwise permitted by the Prepetition Loan

 Documents (solely to the extent any such permitted liens were valid, properly perfected, non-

 avoidable and senior in priority to the Prepetition Liens as of the Petition Date, the “Prepetition

 Priority Liens”).

       H.      Releases.     The Debtors, on behalf of themselves, hereby absolutely and

unconditionally release and forever and irrevocably discharge and acquit the Prepetition Secured

Parties and their respective affiliates and each of their respective former or current officers,

partners, directors, managers, owners, members, principals, employees, agents, related funds,

investors, financing sources, financial advisors, attorneys, accountants, investment bankers,

consultants, representatives and other professionals and the respective successors and assigns

thereof, in each case in their respective capacity as such (collectively, the “Released Parties”) from

any and all obligations and liabilities to the Debtors (and their successors and assigns) and from

any and all claims, counterclaims, demands, debts, accounts, contracts, disputes, liabilities,

allegations, suits, controversies, proceedings, actions and causes of action arising prior to the

Petition Date (collectively, the “Released Claims”) of any kind, nature or description, whether

known or unknown, foreseen or unforeseen or liquidated or unliquidated, arising in law or equity

or upon contract or tort or under any state or federal law or regulation or otherwise, arising out of

or related to (as applicable) the Prepetition Loan Documents, the obligations owing and the
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financial obligations made thereunder, the negotiation thereof and of the transactions reflected

thereby and the obligations and financial obligations made thereunder, in each case that the Debtors

at any time had, now have or may have, or that their successors or assigns hereafter can or may

have against any of the Released Parties for or by reason of any act, omission, matter, cause or

thing whatsoever arising at any time on or prior to the date of this Interim Order.

       I.       Findings Regarding Postpetition Financing

                  (i)    Request for Postpetition Financing. The Debtors seek authority to (a) enter

 into the DIP Facility on the terms described herein and in the DIP Documents, and (b) use Cash

 Collateral on the terms described herein to administer their Chapter 11 Cases and fund their

 operations.    At the Final Hearing, the Debtors will seek final approval of the proposed

 postpetition financing and use of Cash Collateral arrangements pursuant to a proposed Final

 Order. Notice of the Final Hearing and Final Order will be provided in accordance with this

 Interim Order.

                  (ii)   Priming of the Prepetition Liens. The priming of the Prepetition Liens on

 the Prepetition Collateral under section 364(d) of the Bankruptcy Code, as contemplated by the

 DIP Term Sheet and as further described below, will enable the Debtors to obtain the DIP Facility

 and to continue to operate their businesses to the benefit of their estates and creditors. The

 Prepetition Secured Parties are entitled to receive adequate protection as set forth in this Interim

 Order pursuant to sections 361, 363, and 364 of the Bankruptcy Code, for any diminution in

 value (“Diminution”) of their respective interests in the Prepetition Collateral (including Cash

 Collateral).
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               (iii) Need for Postpetition Financing and Use of Cash Collateral. The Debtors

have an immediate and critical need to obtain the financing pursuant to the DIP Facility and to

continue to use the Prepetition Collateral (including Cash Collateral) in order to, among other

things, (i) pay the fees, costs and expenses incurred in connection with the Cases, (ii) fund any

obligations benefitting from the Carve-Out, (iii) permit the orderly continuation of the operation

of their businesses, (iv) maintain business relationships with customers, vendors and suppliers,

(v) make payroll, (vi) satisfy obligations under that certain Management Agreement, dated on or

about the date hereof, between the Debtors and BBR Manager LLC, and (vii) satisfy other

working capital and operational needs. The incurrence of new debt under the DIP Documents

and use of Cash Collateral is necessary and vital to the preservation and maintenance of the going

concern value of the Debtors. Immediate and irreparable harm will be caused to the Debtors and

their estates if immediate financing is not obtained and permission to use Cash Collateral is not

granted. The terms of the proposed financing are fair and reasonable, reflect the Debtors’

exercise of prudent business judgment, and are supported by reasonably equivalent value and

fair consideration. The adequate protection provided in this Interim Order and other benefits and

privileges contained herein are consistent with and authorized by the Bankruptcy Code.

               (iv) No Credit Available on More Favorable Terms. The DIP Facility is the best

source of debtor in possession financing available to the Debtors. Given their current financial

condition, financing arrangements, capital structure, and the circumstances of these Cases, the

Debtors have been and continue to be unable to obtain financing from sources other than the DIP

Lender on terms more favorable than the DIP Facility. Further, the Prepetition Secured Parties
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have consented to the Debtors incurring debtor-in-possession financing, the priming of their

Prepetition Liens and the use of their Cash Collateral, on the terms and subject to the conditions

set forth in the DIP Documents and this Interim Order. The Debtors are unable to obtain

unsecured credit allowable under Bankruptcy Code section 503(b)(1) as an administrative

expense. The Debtors have also been unable to obtain: (a) unsecured credit having priority over

that of administrative expenses of the kind specified in sections 503(b), 507(a) and 507(b) of the

Bankruptcy Code; (b) credit secured solely by a lien on property of the Debtors and their estates

that is not otherwise subject to a lien; or (c) credit secured solely by a junior lien on property of

the Debtors and their estates that is subject to a lien. Financing on a postpetition basis is not

otherwise available without granting the DIP Lender: (1) perfected security interests in and liens

on (each as provided herein) all of the Debtors’ existing and after-acquired assets with the

priorities set forth herein, (2) superpriority claims and liens, and (3) the other protections set

forth in this Interim Order.

               (v)   Use of Proceeds of the DIP Facility. As a condition to entry into the DIP

Documents, the extension of credit under the DIP Facility and the authorization to use Cash

Collateral, the DIP Lender, and the Prepetition Secured Parties require, and the Debtors have

agreed, that Cash Collateral and the proceeds of the DIP Facility shall be used solely in

accordance with the terms and conditions of this Interim Order and the DIP Documents and in

accordance with the Approved Budget (as defined herein).

               (vi) Application of Proceeds of Collateral. As a condition to entry into the DIP

Term Sheet, the extension of credit under the DIP Facility and authorization to use Cash
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 Collateral, the Debtors the Prepetition Secured Parties and the DIP Lender have agreed that, as

 of and commencing on the date of entry of this Interim Order, the Debtors shall apply the

 proceeds of DIP Collateral in accordance with this Interim Order and the DIP Documents.

       J.      Adequate Protection. The Prepetition Secured Parties are entitled to receive

adequate protection to the extent of any Diminution of their interests in the Prepetition Collateral,

in exchange for their consent to the priming of the Prepetition Liens by the Priming DIP Liens and

their consent to the use of Cash Collateral to the extent set forth in this Interim Order.

       K.      Prepetition Collateral Value. The Prepetition Collateral is valued on a liquidation

value basis for all purposes, including for purposes of determining any Diminution of the

Prepetition Secured Parties’ interests in the Prepetition Collateral resulting from the priming of the

Prepetition Liens by the Priming DIP Liens.

       L.      Sections 506(c) and 552(b). In light of (i) the DIP Lender’s agreement that its liens

and superpriority claims shall be subject to the Carve-Out and (ii) the Prepetition Secured Parties’

agreement that, with respect to the Prepetition Collateral, their liens shall be subject to the Carve-

Out and subordinate to the Priming DIP Liens, (a) the DIP Lender, and subject to entry of the Final

Order, the Prepetition Secured Parties are each entitled to a waiver of any “equities of the case”

exception under section 552(b) of the Bankruptcy Code, and (b) the DIP Lender, and subject to

entry of a Final Order, the Prepetition Secured Parties are each entitled to a waiver of the provisions

of section 506(c) of the Bankruptcy Code.




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     M.      Good Faith of the DIP Lender.

               (i)    Willingness to Provide Financing. The DIP Lender has committed to

provide financing to the Debtors subject to: (a) entry of this Interim Order and the Final Order;

(b) approval of the terms and conditions of the DIP Facility and those set forth in the DIP

Documents; (c) satisfaction of the closing conditions set forth in the DIP Documents; and

(d) findings by this Bankruptcy Court that the DIP Facility is essential to the Debtors’ estates,

that the DIP Lender is extending credit to the Debtors pursuant to the DIP Documents in good

faith, and that the DIP Lender’s claims, superpriority claims, security interests and liens and

other protections granted pursuant to this Interim Order and the DIP Documents will have the

protections provided by section 364(e) of the Bankruptcy Code.

               (ii)   Business Judgment. Based on the Motion, the declarations filed in support

of the Motion, and the record presented to the Bankruptcy Court at the Interim Hearing, (i) the

terms of the financing embodied in the DIP Facility, including the fees, expenses and other

charges paid and to be paid thereunder or in connection therewith (as set forth in the DIP Term

Sheet), (ii) the adequate protection authorized by this Interim Order and DIP Documents and (iii)

the terms on which the Debtors may continue to use the Prepetition Collateral (including Cash

Collateral), in each case pursuant to this Interim Order and the DIP Documents, are fair and

reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with their

fiduciary duties, constitute reasonably equivalent value and fair consideration, and represent the

best financing (and terms) available under the circumstances.



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                 (iii) Good Faith Pursuant to Section 364(e). The terms and conditions of the

 DIP Facility and the use of Cash Collateral were negotiated in good faith and at arm’s length

 among the Debtors and the DIP Lender with the assistance and counsel of their respective

 advisors. Credit to be extended under the DIP Facility shall be deemed to have been allowed,

 advanced, made, or extended in good faith by the DIP Lender within the meaning of

 section 364(e) of the Bankruptcy Code.

       N.      Good Cause. Good cause has been shown for immediate entry of this Interim

Order, and the entry of this Interim Order is in the best interests of the Debtors, the Estates and

their stakeholders. Among other things, the relief granted herein will minimize disruption of the

Debtors’ business and permit the Debtors to meet payroll and other expenses necessary to

maximize the value of the Estates. The terms of the Debtors’ DIP Facility, use of Cash Collateral

and proposed adequate protection arrangements, as set forth in this Interim Order, are fair and

reasonable under the circumstances, and reflect the Debtors’ exercise of prudent business

judgment.

       O.      Immediate Entry. Sufficient cause exists for immediate entry of this Order

pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and the applicable Local Rules.

       Based upon the foregoing findings and conclusions, the Motion and the record before the

Bankruptcy Court with respect to the Motion, and after due consideration and good and sufficient

cause appearing therefor,

       IT IS HEREBY ORDERED THAT:



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               1.      DIP Financing Approved. On an interim basis, the Motion is granted, entry

into the DIP Facility is authorized and approved, and the use of Cash Collateral is authorized, in

each case, subject to the terms and conditions set forth in this Interim Order. All objections to this

Interim Order to the extent not withdrawn, waived, settled or resolved, and all reservations of rights

included therein, are hereby denied and overruled on the merits. This Interim Order shall become

effective immediately upon its entry.

                                    DIP Facility Authorization

               2.      Authorization of the DIP Financing.         The Debtors are expressly and

immediately authorized and empowered to execute and deliver the DIP Documents, and to incur

and to perform the DIP Obligations in accordance with, and subject to, the terms of this Interim

Order and the DIP Documents, and to execute, deliver and perform under all instruments,

certificates, agreements, and documents which may be required or necessary for the performance

by the Debtors under the DIP Documents and the creation and perfection of the Priming DIP Liens

(as defined below) described in and provided for by this Interim Order and the DIP Documents.

Upon execution and delivery, the DIP Documents shall represent legal, valid and binding

obligations of the Debtors, enforceable against each of the Debtors and their estates in accordance

with their terms. Each officer of a Debtor acting individually is hereby authorized to execute and

deliver each of the DIP Documents, such execution and delivery to be conclusive evidence of such

officer’s respective authority to act in the name of and on behalf of the Debtors. All collections

and proceeds, whether from ordinary course collections, asset sales, debt or equity issuances,



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insurance recoveries, condemnations or otherwise, will be deposited and applied as required by

this Interim Order and the DIP Documents.

               3.      Authorization to Borrow. In order to prevent immediate and irreparable

harm to the Debtors’ estates, subject to the terms and conditions set forth in the DIP Documents

and this Interim Order, the Debtors are hereby authorized to borrow money pursuant to the DIP

Documents in an aggregate principal or face amount not to exceed $3.0 million on an interim basis

and together with applicable interest, expenses, fees and other charges payable in connection with

the DIP Facility, subject in each case to any limitations on, or conditions to, borrowing under the

DIP Documents, which borrowings shall be used solely for purposes permitted under the DIP

Documents, including, without limitation, to provide working capital for the Debtors and to pay

interest, fees, costs, charges and expenses, in each case, in accordance with this Interim Order, the

DIP Documents and the Approved Budget.

               4.      DIP Obligations.     The DIP Documents and this Interim Order shall

constitute and evidence the validity and binding effect of the Debtors’ DIP Obligations. All DIP

Obligations shall be enforceable against the Debtors, their estates and any successors thereto,

including without limitation, any trustee appointed in the Chapter 11 Cases, or in any case under

Chapter 7 of the Bankruptcy Code upon the conversion of any of the Chapter 11 Cases, or in any

other proceedings superseding or related to any of the foregoing (collectively, the “Successor

Cases”).   Upon entry of this Interim Order, the DIP Obligations will include all loans,

reimbursement obligations, and any other indebtedness or obligations, contingent or absolute,

which may now or from time to time be owing by any of the Debtors to the DIP Lender, including,
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without limitation, all principal, accrued interest, costs, charges, fees, expenses and other amounts

under the DIP Documents. The Debtors are hereby authorized and directed to pay in accordance

with this Interim Order the DIP Obligations as such become due and without obtaining further

Bankruptcy Court approval. No obligation, payment, transfer, or grant of collateral security

hereunder or under the DIP Documents (including any DIP Obligation or Priming DIP Liens) to

the DIP Lender shall be stayed, restrained, voidable, avoidable, or recoverable, under the

Bankruptcy Code or under any applicable law (including, without limitation, under

sections 502(d), 544, and 547 to 550 of the Bankruptcy Code or under any applicable state Uniform

Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, or similar statute or common law),

or be subject to any disgorgement, avoidance, reduction, setoff, recoupment, offset,

recharacterization, subordination (whether equitable, contractual, or otherwise), claim,

counterclaim, charge, assessment, cross-claim, defense, or any other liability or challenge under

the Bankruptcy Code or any applicable law or regulation by any person or entity for any reason.

               5.      DIP Collateral.     In order to secure the DIP Obligations, effective

immediately upon entry of this Interim Order, pursuant to sections 361, 362, 364(c)(2), 364(c)(3),

and 364(d) of the Bankruptcy Code, the DIP Lender, is hereby granted, continuing, valid, binding,

enforceable, non-avoidable, and automatically and properly perfected postpetition security

interests in and liens on (collectively, the “Priming DIP Liens”) all assets, real and personal

property, whether now existing or hereafter arising and wherever located, tangible and intangible,

of each of the Debtors and their respective estates, of any kind or nature, including without

limitation: all cash, accounts, accounts receivable, goods (including inventory and equipment),
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documents (including, if applicable, electronic documents), fixtures, instruments, promissory

notes, chattel paper (whether tangible or electronic), letters of credit, letter-of-credit rights

(whether or not the letter of credit is evidenced by a writing), equity interests, securities and all

other investment property, real estate, leaseholds, commercial tort claims, general intangibles

(including all payment intangibles), the Debtors’ rights and interests under any permits or licenses

issued by any governmental entity (to the fullest extent allowed under applicable state and/or local

law), money, deposit accounts (and all amounts on deposit therein from time to time), patents,

trademarks, other intellectual property, licenses of any intellectual property, any other contract

rights or rights to the payment of money, books and records, all supporting obligations, any

insurance, indemnity, warranty or guaranty payable to any of the Debtors from time to time, any

claims and causes of action of the Debtors, and all proceeds, rents, products, accessions to,

replacements for and substitutions of any of the foregoing, and subject to entry of the Final Order,

the causes of action pursuant to Chapter 5 of the Bankruptcy Code (and the proceeds thereof), if

any (collectively, the “DIP Collateral”).

               6.      Priming DIP Liens. The Priming DIP Liens securing the DIP Obligations

are valid, automatically perfected, non-avoidable, senior in priority and superior to any security,

mortgage, collateral interest, lien or claim to any of the DIP Collateral, except that the Priming

DIP Liens shall be subject to the Carve-Out, and shall otherwise be junior only to the Permitted

Liens (as defined in the DIP Term Sheet) that are senior (i) by operation of law or (ii) pursuant to

the written consent of the DIP Lender and the Prepetition Agent in their sole discretion. Other than

as set forth herein or in the DIP Documents, the Priming DIP Liens shall not be made subject to or
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pari passu with any lien or security interest heretofore or hereinafter granted in the Chapter 11

Cases or any Successor Cases, and shall be valid and enforceable against any trustee appointed in

the Chapter 11 Cases or any Successor Cases, upon the conversion of any of the Chapter 11 Cases

to a case under Chapter 7 of the Bankruptcy Code (or in any other Successor Case), and/or upon

the dismissal of any of the Chapter 11 Cases or Successor Cases. The Priming DIP Liens shall not

be subject to section 510, 549 or 550 of the Bankruptcy Code. No lien or interest avoided and

preserved for the benefit of the estate pursuant to section 551 of the Bankruptcy Code shall be pari

passu with or senior to the Priming DIP Liens.

               7.      DIP Superpriority Claims. Subject to the Carve-Out, upon entry of this

Interim Order, the DIP Lender is hereby granted, pursuant to Section 364(c)(1) of the Bankruptcy

Code, allowed superpriority administrative expense claims in each of the Cases and any Successor

Cases (collectively, the “DIP Superpriority Claims”) for all DIP Obligations: (a) except as set forth

herein, with priority over any and all administrative expense claims and unsecured claims against

the Debtors or their estates in any of the Chapter 11 Cases and any Successor Cases, at any time

existing or arising, of any kind or nature whatsoever, including, without limitation, administrative

expenses of the kinds specified in or ordered pursuant to Bankruptcy Code Sections 105, 326, 328,

330, 331, 364, 503(a), 503(b), 507(a), 507(b), 546(c), 546(d), 726, 1113 and 1114, and any other

provision of the Bankruptcy Code, as provided under Section 364(c)(1) of the Bankruptcy Code;

and (b) which shall at all times be senior to the rights of the Debtors and their estates, and any

successor trustee or other estate representative to the extent permitted by law. Notwithstanding

the foregoing, the DIP Superpriority Claims shall be junior to the Carve-Out.
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               8.     No Obligation to Extend Credit. The DIP Lender shall have no obligation

to make any loan or advance under the DIP Documents unless all of the conditions precedent under

the DIP Documents, including without limitation such conditions precedent set forth in the DIP

Term Sheet, have been satisfied in full or waived by the DIP Lender in accordance with the terms

of the DIP Documents.

               9.     Use of Proceeds of DIP Facility. From and after the Petition Date, the

Debtors shall use advances of credit under the DIP Facility only for the purposes specifically set

forth in this Interim Order and the DIP Documents, and in compliance with the Approved Budget

and the terms and conditions in this Interim Order and the DIP Documents.

               10.    No Monitoring Obligation. The DIP Lender shall have no obligation nor

responsibility to monitor the Debtors’ use of the DIP Facility, and the DIP Lender may rely upon

the Debtors’ representation that the use of the DIP Facility at any time is in accordance with the

requirements of this Interim Order and the DIP Documents.

                             Authorization to Use Cash Collateral

               11.    Authorization to Use Cash Collateral. Subject to the terms and conditions

of this Interim Order, the DIP Facility and the DIP Documents, and in accordance with the

Approved Budget, the Debtors are authorized to use Cash Collateral until the Termination Date.

Nothing in this Interim Order shall authorize the disposition of any assets of the Debtors outside

the ordinary course of business, or any Debtor’s use of any Cash Collateral or other proceeds

resulting therefrom, except as permitted by this Interim Order, the DIP Facility, the DIP

Documents, and in accordance with the Approved Budget, as applicable.
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               12.     Adequate Protection for Prepetition Secured Parties.            As adequate

protection for any Diminution in the value of the Prepetition Collateral resulting from the

subordination of the Prepetition Lenders’ existing liens to the Priming DIP Liens and for the

Debtors’ use of Cash Collateral, the Prepetition Agent shall receive, for the benefit of the

Prepetition Secured Parties, to the extent of any Diminution of the Prepetition Secured Parties’

interests in the Prepetition Collateral (i) replacement liens pursuant to sections 361, 363(e), and

364(d)(l) of the Bankruptcy Code on the DIP Collateral, which shall be subject and subordinated

only to the Carve-Out, the Priming DIP Liens and Permitted Liens (the “Adequate Protection

Liens”); (ii) a superpriority administrative expense claim, junior and subordinate only to the Carve-

Out and the DIP Superpriority Claim, with priority over any and all other administrative expenses,

with respect to the obligations arising under the Prepetition Credit Agreement, provided that the

Prepetition Agent and the Prepetition Lenders shall not receive or retain any payments, property,

or other amounts in respect of such superpriority claim or on account of the obligations under the

Prepetition Term Loan Facility unless and until the DIP Obligations have indefeasibly been paid

in full in cash or as otherwise agreed by the DIP Lender in writing (the “Adequate Protection

Superpriority Claim”); (iii) cash payments in respect of reasonable fees and expenses (including

reasonable attorneys’ fees) incurred by the Prepetition First-Out Lender (with such amount not to

exceed $175,000 for the period up to the date that is 60 days after the Petition Date (the

“Prepetition First-out Lender Expense Cap”)); (iv) a $2.5 million promissory note (and related

Term Loan and Security Agreement) maturing in 3 years after the execution thereof and accruing

paid-in-kind interest for the first 6 months after the execution thereof (and quarterly cash pay
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interest thereafter) at LIBOR plus 3.50% (with a 0.75% LIBOR Floor), executed by the Purchaser

(or, if an Auction is required, the Stalking Horse Purchaser) in favor of the Prepetition Agent for

the benefit of the Prepetition Secured Parties (including the Prepetition First-Out Lender), secured

by substantially all assets of the Purchaser (or Stalking Horse Purchaser, if applicable), including

pursuant to a mortgage with respect to the Debtors owned real property known as the “Bethel

Bravo Property” located at 3000 Hayden Road, Columbus, Ohio, 43235, with such other terms as

set forth in this Interim Order and in form and substance satisfactory to the DIP Lender and the

Prepetition Agent; (v) a $1.5 million contingent return note executed by the Purchaser (or, if an

Auction is required, the Stalking Horse Purchaser) in favor of the Prepetition Agent for the benefit

of the Prepetition Secured Parties (including the Prepetition First-Out Lender), payable upon the

earlier of certain triggering events (previously agreed to by Purchaser and Prepetition First-out

Lender) and the date that is 5 years after the date thereof, with such other terms as set forth in this

Interim Order and in form and substance satisfactory to the DIP Lender and Prepetition Agent and

(vi) a letter agreement executed by and among the Prepetition Agent and the Purchaser (or, if an

Auction is required, the Stalking Horse Purchaser), wherein the Purchaser (or Stalking Horse

Purchaser, if applicable), agrees to distribute to Prepetition Agent on behalf of the Prepetition

Secured Parties (including the Prepetition First-Out Lender) as additional consideration and not in

payment of the notes described in clauses (iv) and (v) immediately above) the net cash proceeds

received from a sale of the real property located at 8651 Castle Creek Parkway East Drive,

Indianapolis, Indiana, 46250 and acquired by the Purchaser (or Stalking Horse Purchaser, if

applicable) pursuant to the Sale, with the obligations under such letter agreement to be secured by
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a mortgage in favor of the Prepetition Agent on behalf of the Prepetition Secured Parties on such

property; provided, that the documents set forth in clauses (iv) through (vi) (the “Sale Closing

Deliverables”) shall be in form and substance satisfactory to the Purchaser (or Stalking Horse

Purchaser, if applicable) and the Prepetition Agent and included as closing deliverables in the Asset

Purchase Agreement; provided further, however, that the Sale Closing Deliverables will also be

granted to the Prepetition Agent on behalf of the Prepetition Secured Parties (including the

Prepetition First-Out Lender) by the DIP Lender if the DIP Lender acquires any material portion

of the Debtors’ assets by means of an exercise of remedies under the DIP Documents, upon the

closing of such acquisition (provided, for the avoidance of doubt, that the foregoing shall not apply

to any liquidation or sale of assets for cash proceeds by means of an exercise of remedies under

the DIP Documents effectuated in order to satisfy the DIP Obligations, with any cash proceeds

received in excess of those used to satisfy the DIP Obligations in full being paid to the Prepetition

Agent on behalf of the Prepetition Secured Parties pursuant to the terms of the DIP Documents

and this Interim Order) or, unless otherwise agreed by the Prepetition Agent, by any replacement

purchaser of the Debtors’ assets if an Auction is required as part of the 363 Sale Process. The

documents set forth in clauses (iv) through (vi) shall be included as closing deliverables in the

Asset Purchase Agreement. Such adequate protection shall in all cases be subject to the Carve-

Out.

               13.     Adequate Protection Reservation. The receipt by the Prepetition Secured

Parties of the adequate protection provided herein shall not be deemed an admission that the

interests of the Prepetition Secured Parties are adequately protected; provided that until the
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indefeasible payment in full of the DIP Obligations and the termination of the DIP Facility in

accordance with the terms hereof, the Prepetition Secured Parties shall not seek and shall not be

granted any other form of adequate protection.

                         Provisions Common to DIP Financing
                              and Use of Cash Collateral

               14.     Amendment of the DIP Documents. The Debtors irrevocably waive any

right to seek any amendment, modification or extension of this Order without the prior written

consent of the DIP Lender in its sole discretion, and no such consent shall be implied by any action,

inaction or acquiescence of the DIP Lender. After obtaining the DIP Lender’s prior written

consent, the Debtors are authorized and empowered, without further notice and hearing or approval

of this Court, to amend, modify, supplement, or waive any provision of the DIP Documents in

accordance with the provisions thereof, in each case unless such amendment, modification,

supplement, or waiver (i) increases the interest rate (other than as a result of the imposition of the

default rate), (ii) increases the aggregate lending commitments of the DIP Lender in respect of the

DIP Facility to an amount greater than $3.0 million on an interim basis, (iii) shortens the Maturity

Date, or (iv) adds or amends (in any respect materially unfavorable to the Debtors) any Event of

Default not permitted by the DIP Documents.

               15.     Approved Budget.

                       (i)     Attached to this Interim Order as Exhibit A is a 13-week budget

approved by the DIP Lender in its sole discretion, which sets forth, among other things, the

projected cash receipts, sales and cash disbursements of the Debtors. Commencing with the date

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that is three (3) business days after the end of the week following the Petition Date, and continuing

on every week anniversary thereafter, the budget shall be updated and if such updated budget is in

form and substance satisfactory to the DIP Lender in its sole discretion, it shall become the

“Approved Budget” for purposes of the DIP Term Sheet and this Interim Order. Any amendment

or modification of the Approved Budget or the Approved Variance Report shall be subject to the

prior written approval of the DIP Lender in its sole discretion.

                       (ii)    The Approved Budget is approved on an interim basis, and the

proceeds of the DIP Facility and Cash Collateral under this Interim Order shall be used by the

Debtors in accordance with the Approved Budget, this Interim Order and the DIP Documents.

                       (iii)   Other than with respect to the Carve-Out, the DIP Lender’s consent

(if any) to, or acknowledgement of, the Approved Budget shall not be construed as consent to use

the proceeds of the DIP Facility or Cash Collateral beyond the Maturity Date (as defined in the

DIP Term Sheet) or the occurrence of the Termination Date, regardless of whether the aggregate

funds shown on the Approved Budget have been expended.

                       (iv)    Notwithstanding anything to the contrary herein, the Debtors shall

pay the fees, costs and expenses of the DIP Professionals in accordance with the DIP Documents

and this Interim Order without reference to the Approved Budget.

               16.     Budget Reporting. The Debtors shall at all times comply with the Approved

Budget, subject to the variances expressly provided for in this Order. By not later than three (3)

business days after the end of the week following the Petition Date, the Debtors shall deliver to

the DIP Lender and the Prepetition Agent a variance report in form and substance reasonably
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acceptable to the DIP Lender (an “Approved Variance Report”) showing comparisons of actual

results for each line item against such line item in the Approved Budget. Thereafter, Debtors shall

deliver to the DIP Lender and the Prepetition Agent, by not later than three (3) business days after

the close of each weekly period after the Petition Date, an Approved Variance Report for (a) the

preceding week, and (b) the trailing two (2) week period (or, if fewer than two weeks have lapsed

since the Petition Date, then for the trailing one week period, as applicable). Each Approved

Variance Report shall indicate whether there are any adverse variances that exceed the Permitted

Variances (as defined below). “Permitted Variances” shall mean: with respect to the Debtors’ actual

cash disbursements, on a line item basis and a cumulative basis, variances from the Approved

Budget by no more than 15%; provided that if the aggregate amount of any proceeds of the DIP

Loans or any Cash Collateral actually used by the Debtors, measured once every week, is less than

the aggregate amount of proceeds of the DIP Loans and Cash Collateral available for use by the

Debtors in the Approved Budget during such period, then the Debtors may carry over any such

unused amount to the future periods in the Approved Budget.

               17.     Modification of Automatic Stay. The automatic stay of section 362 of the

Bankruptcy Code is hereby modified and vacated to the extent necessary to permit the Debtors,

the DIP Lender and the Prepetition Secured Parties to accomplish the transactions contemplated

by this Order and for the DIP Lender and the Prepetition Secured Parties to take any other action

in accordance with this Order.

               18.     Perfection of Priming DIP Liens and Adequate Protection Liens. This

Interim Order shall be sufficient and conclusive evidence of the creation, validity, perfection, and
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priority of all liens granted herein, including the Carve-Out, the Priming DIP Liens and the

Adequate Protection Liens, without the necessity of filing or recording any financing statement,

mortgage, deed of trust, notice, or other instrument or document which may otherwise be required

under the law or regulation of any jurisdiction or the taking of any other action (including, for the

avoidance of doubt, entering into any deposit account control agreement or the taking of possession

of, or control over, any DIP Collateral) to validate or perfect (in accordance with applicable non-

bankruptcy law) the Priming DIP Liens and the Adequate Protection Liens or to entitle the DIP

Lender and the Prepetition Secured Parties to the priorities granted herein. Notwithstanding the

foregoing, the DIP Lender and the Prepetition Agent are authorized to file, as each deems necessary

or advisable, such financing statements, security agreements, mortgages, notices of liens and other

similar documents to perfect in accordance with applicable non-bankruptcy law or to otherwise

evidence the Priming DIP Liens and the Adequate Protection Liens, and all such financing

statements, mortgages, notices and other documents, and any other action taken by the DIP Lender

to effect or evidence the perfection of the Priming DIP Liens, in each case, shall be deemed to have

been filed or recorded as of the Petition Date; provided, however, that no such filing, recordation

or other action shall be necessary or required in order to create or perfect the Priming DIP Liens

or the Adequate Protection Liens. The Debtors are authorized and directed to execute and deliver

promptly upon demand to the DIP Lender and the Prepetition Agent all such financing statements,

mortgages, notices and other documents as each may reasonably request. The DIP Lender and the

Prepetition Agent may each file a photocopy of this Interim Order as a financing statement with

any filing or recording office or with any registry of deeds or similar office in addition to or in lieu
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of such financing statements, notices of lien or similar instruments. To the extent that the

Prepetition Agent is the secured party under any security agreement, mortgage, leasehold

mortgage, landlord waiver, credit card processor notices or agreements, bailee letters, custom

broker agreements, financing statement, account control agreements or any other Prepetition Loan

Documents or is listed as loss payee, lenders’ loss payee or additional insured under any of the

Debtors’ insurance policies, the DIP Lender shall also be deemed to be the secured party or

mortgagee, as applicable, under such documents or to be the loss payee or additional insured, as

applicable. The Prepetition Agent shall serve in a non-fiduciary representative role as gratuitous

bailee for perfection for the DIP Lender solely for purposes of perfecting the DIP Lender’s liens

on all DIP Collateral that, without giving effect to the Bankruptcy Code and this Interim Order, is

of a type such that perfection of a lien therein may be accomplished by possession or control by a

secured party (including any deposit account control agreement, stock certificates and other equity

interest certificates, and corresponding stock powers and pledges), and all of the Prepetition -

Agent’s rights in such DIP Collateral shall inure to the benefit of and be exercisable exclusively

by the DIP Lender until the DIP Obligations have been indefeasibly repaid in full in cash; provided

that the DIP Lender may, in its sole discretion, require the Debtors and/or the Prepetition Agent to

(and the Debtors and the Prepetition Agent shall) use commercially reasonable efforts to provide

the DIP Lender with such possession or control as is necessary to perfect the DIP Obligations and

Priming DIP Liens. Subject to entry of the Final Order, notwithstanding the forgoing, in the event

any of the Chapter 11 Cases or Successor Cases are dismissed prior to the indefeasible payment in

full of the DIP Obligations, such order dismissing any Chapter 11 Cases or Successor Cases shall
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not be effective for five (5) business days to permit the DIP Lender and the Prepetition Agent to

enter into any agreements or file any documents (including financing statements, mortgages, or

other notices) evidencing the perfection and priority of the Priming DIP Liens and Adequate

Protection Liens, and during such period, the Debtors shall comply with all reasonable requests of

the DIP Lender and the Prepetition Agent to ensure the perfection of the Priming DIP Liens and

the Adequate Protection Liens, as applicable.

               19.     Application of Proceeds of Collateral. As a condition to the entry of the

DIP Documents, the extension of credit under the DIP Facility and the authorization to use Cash

Collateral, the Debtors have agreed that as of and commencing on the date of entry of this Interim

Order, the Debtors shall apply all proceeds of DIP Collateral: (i) first, to costs and expenses of the

DIP Lender; (ii) second, to repayment of the DIP Obligations in the order and manner set forth and

in accordance with the DIP Documents; (iii) third, after indefeasible repayment in full in cash of

the DIP Obligations (including, in each case, provision in such amounts as determined by the DIP

Lender in its reasonable discretion) in accordance with the DIP Documents and the termination of

the DIP Documents and all commitments thereunder, to reduce the Prepetition Obligations.

               20.     Access to Books and Records. Provided that both the DIP Obligations and

the Prepetition Obligations have not yet been indefeasibly paid in full in cash, prior to the closing

of a sale of substantially all of the Debtors’ assets, the Debtors will, and following such closing,

the Debtors will use their reasonable best efforts to, (i) maintain books, records, and accounts to

the extent and as required by the DIP Documents, (ii) cooperate with, consult with, and provide to

the DIP Lender and the Prepetition Agent all such information and documents that any or all of the
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Debtors are obligated (including upon reasonable request by the DIP Lender or the Prepetition

Agent) to provide under the DIP Documents or the provisions of this Interim Order or as otherwise

reasonably requested by the DIP Lender or the Prepetition Agent, (iii) upon one (1) business day’s

advance notice, permit consultants, advisors and other representatives (including third party

representatives) of the DIP Lender and the Prepetition Agent to visit and inspect any of the Debtors’

respective properties, to examine and make abstracts or copies from any of their respective books

and records, to tour the Debtors’ business premises and other properties, and to discuss, and

provide advice with respect to, their respective affairs, finances, properties, business operations

and accounts with their respective officers, employees, independent public accountants and other

professional advisors as and to the extent required by the DIP Documents or the Prepetition Loan

Documents, (iv) permit the DIP Lender, and the Prepetition Agent, and their respective consultants,

advisors and other representatives, to consult with the Debtors’ management and advisors on

matters concerning the Debtors’ businesses, financial condition, operations and assets, and

(v) permit the DIP Lender, and the Prepetition Agent to conduct, at their reasonable direction and

at the Debtors’ cost and expense, field audits, collateral examinations, liquidation valuations and

inventory appraisals in respect of any or all of the DIP Collateral and the Prepetition Collateral, in

each case, in accordance with the DIP Documents and the Prepetition Loan Documents.

               21.     Proceeds of Subsequent Financing.         If the Debtors, any trustee, any

examiner with expanded powers, or any responsible officer subsequently appointed in these

Chapter 11 Cases or any Successor Cases, shall obtain credit or incur debt pursuant to Bankruptcy

Code sections 364(b), 364(c) or 364(d) or in violation of the DIP Documents at any time prior to
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the indefeasible repayment in full in cash of all DIP Obligations and the termination of the DIP

Lender’s obligation to extend credit under the DIP Facility, including subsequent to the

confirmation of any plan for any Debtor but prior to the effective date of such Debtor’s plan, and

such facilities are secured by any DIP Collateral, then all cash proceeds derived from such credit

or debt shall immediately be turned over to the DIP Lender to be applied in accordance with this

Interim Order and the DIP Documents.

               22.     Cash Management.       The Debtors shall maintain cash management in

accordance with the DIP Documents. Unless authorized by this Interim Order or otherwise agreed

to in writing by the DIP Lender and the Prepetition Agent, the Debtors shall not maintain any

accounts except those identified in any interim and/or final order granting the Debtors’

authorization to continue their cash management systems and certain related relief (the “Cash

Management Order”).

               23.     Maintenance of DIP Collateral. Until the indefeasible payment in full in

cash of all DIP Obligations, all Prepetition Obligations, and the termination of the DIP Lender’s

obligation to extend credit under the DIP Facility, the Debtors shall: (a) insure the DIP Collateral

as required under the DIP Documents or the Prepetition Loan Documents, as applicable; and

(b) maintain the cash management system consistent with the terms and conditions of the Cash

Management Order, or as otherwise required by the DIP Documents.

               24.     Disposition of DIP Collateral. The Debtors shall not sell, transfer, lease,

encumber or otherwise dispose of any portion of the DIP Collateral or Prepetition Collateral other

than in the ordinary course of business without the prior written consent of the DIP Lender, it being
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understood that no such consent shall be implied, from any other action, inaction or acquiescence

by the DIP Lender, except as otherwise provided for in the DIP Documents.

               25.     Termination Date. On the applicable Termination Date (defined below),

(a) all applicable DIP Obligations shall be immediately due and payable, all commitments to

extend credit under the applicable DIP Facility will terminate, other than as required in

paragraph 31 with respect to the Carve-Out, and (b) all authority to use Cash Collateral shall cease.

               26.     Events of Default. The occurrence of any of the following events, unless

waived by the DIP Lender in writing and in accordance with the terms of the DIP Documents, shall

constitute an event of default (collectively, the “Events of Default”): (a) the failure of the Debtors

to perform, in any respect, any of the terms, provisions, conditions, covenants or obligations under

this Interim Order, including, without limitation, failure to make any payment under this Interim

Order when due or comply with any Milestones; (b) the occurrence and continuation of an “Event

of Default” under, and as defined in, the DIP Term Sheet or an event of default under any other

DIP Documents; (c) the sale of all or substantially all of the assets of the Debtors without the prior

written consent of the DIP Lender; (d) entry of an order of this Court converting any of the Chapter

11 Cases to cases under Chapter 7 of the Bankruptcy Code; (e) entry of an order of this Court

dismissing any of the Chapter 11 Cases; or (f) entry of an order of this Court confirming a plan of

reorganization or liquidation that does not provide for the payment in full of the DIP Obligations.




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                        27.        Milestones. As a condition to the DIP Facility and the use of Cash
                                                                                                                               4
Collateral, the Debtors shall comply with the following milestones (the “Milestones”):

             (a) April 13, 2020 (the “DIP Motion Date”), the Debtors shall file with the Court the
                 following: (i) motion to approve the DIP Facility on the terms and conditions set forth
                 herein and in the DIP Term Sheet, (ii) motion to approve the 363 Sale Process and the
                 Sale, and (iii) such other first day papers as may be approved or requested by the DIP
                 Lender, all of which shall be in form and substance acceptable to the DIP Lender in its
                 sole discretion;

             (b) Not later than 3 days after the DIP Motion Date (or such other date consented to by the
                 DIP Lender in writing in its sole discretion), this Interim Order shall have been entered
                 by the Court;

             (c) Not later than 15 days after the DIP Motion Date (or such other date consented to by
                 the DIP Lender in writing in its sole discretion), the Asset Purchase Agreement shall
                 have been executed;

             (d) Not later than 25 days after the DIP Motion Date (or such other date consented to by
                 the DIP Lender in writing in its sole discretion), if an Auction is required, the order
                 approving the Stalking Horse Purchaser and the Bid Procedures shall have been entered
                 by the Court;

             (e) Not later than 33 days after the DIP Motion Date (or such other date consented to by
                 the DIP Lender in writing in its sole discretion), the Final Order shall have been entered
                 by the Court;

             (f) Not later than 54 days after the DIP Motion Date (or such other date consented to by
                 the DIP Lender in writing in its sole discretion), if an Auction is required, counterbids
                 for the Debtors’ assets shall be due under the Bid Procedures;

             (g) Not later than 56 days after the DIP Motion Date (or such other date consented to by
                 the DIP Lender in writing in its sole discretion), if an Auction is required and any
                 qualified competing bids are submitted by any qualified purchasers, the Debtors shall
                 hold an auction for Sale in accordance with the Bid Procedures;

             (h) Not later than 58 days after the DIP Motion Date (or such other date consented to by
                 the DIP Lender in writing in its sole discretion), the Court shall hold a Hearing to
                 approve the Sale, and the Debtors shall obtain entry of an order approving the Sale,

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    Capitalized terms used but not defined in this Paragraph 27 shall have the meanings given to them in the DIP Term Sheet.
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           which order shall provide for the indefeasible payment in full in cash of the DIP
           Obligations upon the closing of the Sale (the “Payoff Amount”); and

       (i) Not later than 60 days after the DIP Motion Date (or such other date consented to by
           the DIP Lender in writing in its sole discretion), the Closing of the Sale shall occur in
           accordance with the terms of the Asset Purchase Agreement and receipt by the DIP
           Lender of the Payoff Amount.

For the avoidance of doubt, the failure of the Debtors to comply with any of the Milestones shall

constitute an immediate Event of Default under the DIP Documents and this Interim Order.

               28.     Rights and Remedies Upon Event of Default.            Immediately upon the

occurrence and during the continuation of an Event of Default, notwithstanding the provisions of

section 362 of the Bankruptcy Code, without any application, motion or notice to, hearing before,

or order from the Bankruptcy Court, but subject to the terms of this Interim Order: (a) the DIP

Lender may declare (any such declaration shall be referred to herein as a “Termination

Declaration”) (1) all DIP Obligations owing under the DIP Documents to be immediately due and

payable, (2) the termination, reduction or restriction of any further commitment to extend credit to

the Debtors to the extent any such commitment remains under the DIP Facility, (3) the termination

of the DIP Facility and the DIP Documents as to any future liability or obligation of the DIP

Lender, but without affecting any of the Priming DIP Liens or the DIP Obligations, and (4) that

the application of the Carve-Out has occurred following delivery of the Carve-Out Trigger Notice

to the Borrower; (b) interest, including, where applicable, default interest, shall accrue and be paid

as set forth in the DIP Documents; and (c) the DIP Lender may declare a termination, reduction or

restriction on the ability of the Debtors to use Cash Collateral (the earliest date on which a

Termination Declaration is delivered by the DIP Lender shall be referred to herein as the

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“Termination Date”). The Termination Declaration shall be given by electronic mail (or other

electronic means) to counsel to the Debtors, counsel to the Committee (if appointed), counsel to

the Prepetition Secured Parties, and the U.S. Trustee. The automatic stay in the Chapter 11 Cases

otherwise applicable to the DIP Lender is hereby modified so that three (3) business days after the

date a Termination Declaration is delivered (such three (3) business day period, the “Remedies

Notice Period”) the DIP Lender shall be (x) entitled to exercise rights and remedies (and take any

and all actions) permitted by and in accordance with the DIP Documents, this Interim Order and/or

applicable law, and (y) permitted to apply any collections to reduce the outstanding DIP

Obligations and DIP Superpriority Claims, subject to the Carve-Out. During the Remedies Notice

Period, (i) the Debtors and the Committee (if any) may seek an emergency hearing (at which

hearing the sole issue shall be whether or not an Event of Default has occurred or is continuing)

and (ii) neither the DIP Lender nor the Prepetition Secured Parties shall be required to consent to

the use of any Cash Collateral or provide any loans or other financial accommodations under the

DIP Facility. At the end of the Remedies Notice Period, the automatic stay with respect to the DIP

Lender and the Prepetition Secured Parties shall automatically terminate without further notice or

order and the DIP Lender and the Prepetition Secured Parties shall be permitted to exercise all

remedies set forth in this Interim Order, the DIP Documents, the Prepetition Loan Documents, and

as otherwise available at law without further order of or application or motion to the Bankruptcy

Court unless the Court orders otherwise prior to the end of the Remedies Notice Period. The

Debtors shall take all action that is reasonably necessary to cooperate with the DIP Lender in the



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DIP Lender’s exercise of its rights and remedies and facilitate the realization upon the DIP

Collateral by the DIP Lender.

               29.     Certain Rights and Remedies Following Termination Date. After a

Termination Date and the expiration of the Remedies Notice Period, subject to the Carve-Out, the

Debtors are hereby authorized and directed to remit to the DIP Lender one-hundred percent (100%)

of all collections on, and proceeds of, the DIP Collateral, all collections, remittances, and proceeds

of the DIP Collateral in accordance with the DIP Documents and this Interim Order. In furtherance

of the foregoing, each bank or other financial institution with an account of any Debtor is hereby

authorized and instructed to comply at all times with any instructions originated by the DIP Lender

to such bank or financial institution directing the disposition of cash, securities, investment

property and other items from time to time credited to such account, without further consent of

any Debtor, including without limitation, any instruction to send to the DIP Lender by wire transfer

or in such other manner as the DIP Lender directs, all cash, securities, investment property and

other items held by such bank or financial institution.

               30.     [RESERVED]

               31.     Carve-Out. On a weekly basis, the Debtors shall fund into a separate escrow

account (the “Estate Professional Fee Escrow”) the amounts set forth for such week on the line-

items in the Approved Budget entitled “Debtor professional fees / escrow” and “UCC professional

fee escrow” (collectively, such weekly funding, the “Weekly Escrow Funding”). The Estate

Professional Fee Escrow shall be used to fund the allowed fees, disbursements, costs, and expenses

(the “Professional Fees”) incurred prior to the delivery of the Carve-Out Trigger Notice by
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professionals or professional firms retained by the Debtors or their estates pursuant to sections

327, 328 or 363 of the Bankruptcy Code and any Committee appointed in the chapter 11 case

pursuant to section 1103 of the Bankruptcy Code (collectively, the “Estate Professionals”). Any

residual amounts in the Estate Professional Fee Escrow after payment of the Estate Professionals

pursuant to this Interim Order shall be paid in accordance with paragraph 19. Each of the Priming

DIP Liens, the DIP Superpriority Claims, the Prepetition Liens, the Adequate Protection Liens, the

Adequate Protection Superpriority Claim, and the Adequate Protection Administrative Expense

Claim shall be subject and subordinate to payment of the Carve-Out. “Carve-Out” means the sum

of (i) all fees required to be paid to the Clerk of the Bankruptcy Court and to the Office of the U.S.

Trustee under section 1930(a) of title 28 of the United States Code plus interest at the statutory

rate which shall not be limited by any budget; (ii) fees and expenses up to $25,000 incurred by a

trustee under section 726(b) of the Bankruptcy Code; (iii) if not already paid to the Estate

Professional Fee Escrow, the Weekly Escrow Funding for the week immediately preceding the

delivery of the Carve-Out Trigger Notice; and (iv) allowed Professional Fees incurred after the

first Business Day following delivery by the DIP Lender of the Carve-Out Trigger Notice

(including transaction fees or success fees earned or payable to any Estate Professional) in an

aggregate amount not to exceed $200,000 with respect to Estate Professionals (the amount set forth

in this clause (iv) being the “Post-Carve-Out Trigger Notice Cap”). For the avoidance of doubt,

(a) other than the Carve-Out and the Estate Professional Fee Escrow, no other amounts owed by

any of the Debtors to any party as of the date the Carve-Out Trigger Notice is delivered (including

any amounts set forth in the Approved Budget) shall be payable from Cash Collateral or DIP
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Collateral, (b) following the delivery of a Carve-Out Trigger Notice, there shall be no further

funding of the Estate Professional Fee Escrow other than as set forth in (iii) of the Carve-Out and

(c) nothing herein shall be construed to impair the ability of any party to object to any fees,

expenses, reimbursement or compensation sought by any such professionals or any other person

or entity. For purposes of the foregoing, “Carve-Out Trigger Notice” shall mean a written notice

delivered by email (or other electronic means) by the DIP Lender to the Debtors’ counsel, the U.S.

Trustee and lead counsel to the Committee (if any), which notice may be delivered following the

Termination Date and expiration of the Remedies Notice Period, stating that the Post-Carve-Out

Trigger Notice Cap has been invoked. No portion of the Carve-Out, any Cash Collateral, any other

DIP Collateral, or any proceeds of the DIP Facility, including any disbursements set forth in the

Approved Budget or obligations benefitting from the Carve-Out, shall be used for the payment of

Professional Fees, disbursements, costs or expenses incurred by any person, including, without

limitation, any Committee, in connection with challenging the DIP Lender’s liens or claims,

preventing, hindering or delaying any of the DIP Lender’s enforcement or realization upon any of

the DIP Collateral, or initiating or prosecuting any claim or action against the DIP Lender, other

than with respect to challenging a Termination Declaration by seeking a determination that an

Event of Default has not occurred or is not continuing. Proceeds from the DIP Facility and/or

Cash Collateral not to exceed $25,000 in the aggregate (the “Investigation Budget Cap”) may be

used to pay Professional Fees incurred by the Committee’s professionals (if any) in connection

with the investigation of Avoidance Actions or any other claims or causes of action (but not the



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      prosecution of such actions) on account of the Prepetition Secured Facilities (but not the DIP

      Facility).

                       32.    Prepetition Secured Parties Consent.

                        (i)   Each of the Prepetition Secured Parties (including on behalf of each of its

respective successors and assigns):

                       (a)    subject to the terms and conditions set forth in the DIP Term Sheet, consents

      to (a) the use of Cash Collateral, subject to the terms hereof, this Interim Order and the Final Order,

      as applicable, (b) the DIP Credit Facility, including the Priming DIP Liens, as described in the DIP

      Term Sheet and in this Interim Order and the Final Order, as applicable, (c) the 363 Sale Process,

      including, if an Auction is required, the designation of the DIP Lender or one or more of its

      designees as the Stalking Horse Purchaser and the Bid Procedures (including the Break-Up

      Protection) and (d) the Approved Budget; and

                       (b)    agrees (and shall be deemed to have agreed upon entry of this Order):

                       (i)    to (x) consent (and be deemed to have consented) (including as may be

      required under section 363(f)(2) of the Bankruptcy Code) to any sale or disposition of the DIP

      Collateral (and release any liens and security interest therein) agreed to by the DIP Lender and (y)

      not object to, or otherwise contest (or support any other person contesting), any order pursuant to

      Section 363(f) of the Bankruptcy Code or other applicable Bankruptcy Law relating to any sale or

      disposition of the DIP Collateral (and release any liens and security interest therein) agreed to by

      the DIP Lender; provided that (i) the liens of the Prepetition Secured Parties shall attach to the

      proceeds to the extent not applied to the DIP Obligations, (ii) notwithstanding the foregoing, any
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      Prepetition Secured Party may raise any objections to any such sale or disposition of assets (other

      than a sale under the Asset Purchase Agreement) that could be raised by any other creditor of a

      Debtor whose claims are not secured by any Liens on the applicable DIP Collateral to the extent

      not otherwise inconsistent with the terms of the DIP Term Sheet; and (iii) the Prepetition Agent on

      behalf of the Prepetition Secured Parties (including the Prepetition First-Out Lender) is granted

      the Sale Closing Deliverables by the Purchaser (or Stalking Horse Purchaser, if applicable) as

      closing deliverables under the Asset Purchase Agreement or DIP Lender if the DIP Lender acquires

      any material portion of the Debtors’ assets whether pursuant to the 363 Sale Process or by means

      of an exercise of remedies under the DIP Documents, upon the closing of such acquisition

      (provided, for the avoidance of doubt, that the foregoing shall not apply to any liquidation or sale

      of assets for cash proceeds by means of an exercise of remedies under the DIP Documents

      effectuated in order to satisfy the DIP Obligations, with any cash proceeds received in excess of

      those used to satisfy the DIP Obligations in full being paid to the Prepetition Agent on behalf of

      the Prepetition Secured Parties pursuant to the terms of the DIP Documents and this Interim Order)

      or, unless otherwise agreed by the Prepetition Agent, by any replacement purchaser of the Debtors’

      assets if an Auction is required as part of the 363 Sale Process; and

                      (ii)    not take any action that would restrain, hinder, limit, or delay any action

taken by the DIP Lender (or the DIP Lender’s inaction) in connection with the Chapter 11 Cases that is

consistent with this Order;

      provided, in each of clause (a) and (b), the Final Order, the Bid Procedures and the 363 Sale Process

      are in form and substance satisfactory to the Prepetition Agent on behalf of the Prepetition Secured
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Parties as to the adequate protection terms pertaining to the Prepetition Secured Parties provided

for therein; provided that the Prepetition Secured Parties acknowledge and agree that the adequate

protection terms set forth in this Interim Order are satisfactory to the Prepetition Secured Parties.

               33.     [RESERVED].

               34.     Interim Order Controls. To the extent of any conflict or inconsistency

between or among (a) the express terms or provisions of any of the DIP Documents, the Motion,

any other order of this Court (including, without limitation, the Cash Management Order), or any

other agreements, on the one hand, and (b) the terms and provisions of this Interim Order, on the

other hand, the terms and provisions of this Interim Order shall govern and control.

               35.     Good Faith Under Section 364(e) of the Bankruptcy Code; No Modification

or Stay of this Interim Order. The DIP Lender has acted in good faith in connection with this

Interim Order and is entitled to rely upon the protections granted herein and by section 364(e) of

the Bankruptcy Code.

               36.     Approval of DIP Fees. In consideration for the DIP Financing and the

consent to the use of Cash Collateral in accordance with the terms of this Interim Order, the DIP

Lender shall be paid all fees, expenses and other amounts payable under the DIP Documents as

such become due, including, without limitation, commitment fees, original issue discounts,

extension fees and the reasonable and documented fees and expenses of the DIP Lender in

connection with the facility, without regard to whether or not the transactions contemplated hereby

are consummated (all such fees, together, the “DIP Fees”). The DIP Fees shall be fully earned and

payable upon entry of this Interim Order. The DIP Fees shall be part of the DIP Obligations. Any
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and all DIP Fees paid prior to the Petition Date by any of the Debtors to the DIP Lender in

connection with or with respect to the DIP Facility in each case is hereby approved in full.

               37.     Lender Professionals’ Fees. Subject to the terms of this Interim Order

(including with respect to the Prepetition Professionals (as defined below), the Prepetition First-

Out Lender Expense Cap), professionals for the DIP Lender (the “DIP Professionals”) and

professionals for the Prepetition Secured Parties (“Prepetition Professionals,” and together with

the DIP Professionals, the “Lender Professionals”) shall be entitled to payment of their reasonable

fees and expenses (“Lender Expenses”) and shall not be required to comply with the U.S. Trustee

fee guidelines or file applications or motions with, or obtain approval of, this Court nor shall they

be subject to the standards set forth in sections 330 and 331 of the Bankruptcy Code in the case of

the Prepetition Professionals. The Lender Professionals shall submit copies of summary invoices

to the Debtors, the U.S. Trustee, and counsel for any Committee (the “Fee Notice Parties”). The

summary invoices shall only include a general description of the nature of the matters worked on,

a list of professionals who worked on the matter, their hourly rate (if such professionals bill at an

hourly rate), the number of hours each professional billed and, with respect to the invoices of law

firms, the year of law school graduation for each attorney; provided, however, that the U.S. Trustee

reserves the right to seek copies of invoices containing the detailed time entries of any

professional. The provision of such invoices shall not constitute a waiver of the attorney-client

privilege or any benefits of the attorney work product doctrine. If no objection to the payment of

such Lender Professional’s fees and expenses is made in writing by the Fee Notice Parties within

ten (10) calendar days after delivery of such invoices, then, without further order of, or application
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to, the Court or notice to any other party, such Lender Expenses shall be promptly paid by the

Debtors. If an objection is made by any of the Fee Notice Parties within the ten-day objection

period to the payment of the Lender Expenses, then the disputed portion of such Lender Expenses

shall not be paid until the objection is resolved by the applicable parties in good faith or by order

of the Court. The Debtors shall timely pay in accordance with the terms and conditions of this

Interim Order (a) the undisputed fees, costs, and expenses reflected on any invoice to which a Fee

Objection has been timely filed and (b) all fees, costs and expenses on any invoice to which no

Fee Objection has been timely filed.

               38.     Indemnification. The Debtors shall indemnify and hold harmless the DIP

Lender (and its directors, officers, members, employees and agents) against any loss, liability, cost

or expense incurred in respect of the financing contemplated hereby or the use or the proposed use

of proceeds thereof (except to the extent resulting from the gross negligence or willful misconduct

of the indemnified party, as determined by a final, non-appealable judgment of a court of

competent jurisdiction).

               39.     Right to Credit Bid. Subject to section 363(k) of the Bankruptcy Code, the

DIP Lender shall be authorized to credit bid the full amount of the outstanding DIP Obligations,

including any accrued interest and expenses, in a sale of any DIP Collateral.

               40.     Pleadings. The Debtors shall use their commercial best efforts to (x) provide

draft copies of all substantive pleadings and documents that the Debtors intend to file with the

Court (or any other court) to the DIP Lender, but in no event less than two (2) business days before

the filing of any relief that is sought on a non-expedited or non-emergency basis, and (y) without
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limiting any of the consent or approval rights contained in this Order, and to the extent practicable,

consult in good faith with counsel to the DIP Lender regarding the form and substance of any of

the foregoing documents in advance of their filing, execution, distribution or use.

               41.     Proofs of Claim. The DIP Lender shall not be required to file proofs of

claim in any of the Chapter 11 Cases or Successor Cases for any claim arising under the DIP

Documents. The Debtors’ stipulations, admissions, and acknowledgments and the provisions of

this Interim Order shall be deemed to constitute a timely filed proof of claim for the DIP Lender

with regard to all claims arising under the DIP Documents.

               42.     No Obligation to Pay Professional Fees; No Waiver of Right to Object to

Fees. The DIP Lender shall have no responsibility for the payment or reimbursement of any fees

or disbursements of any Estate Professional incurred in connection with the Cases or any Successor

Case. Nothing in this Order or otherwise shall be construed to obligate the DIP Lender, in any

way, to compensate or reimburse expenses of, any Estate Professional or to guarantee that the

Debtors have sufficient funds to pay such compensation or reimbursement. Nothing herein

(including consent to the Carve-Out) shall be construed as consent to the allowance of any

professional fees or expenses of any Estate Professionals in these Chapter 11 Cases or any

Successor Cases, or of any other person or entity, or shall affect the right of any party (including

the DIP Lender) to object to the allowance and payment of any such fees and expenses.

               43.     Limitations on Use of DIP Proceeds, Cash Collateral and Carve-Out.

Unless otherwise ordered by the Court and except as otherwise permitted in this Interim Order, the

proceeds of the DIP Facility, the DIP Collateral, the Prepetition Collateral, the Cash Collateral and
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the Carve-Out may not be used in connection with: (a) using or seeking to use Cash Collateral or

selling or otherwise disposing of DIP Collateral without the consent of the DIP Lender; (b) using

or seeking to use any insurance proceeds constituting DIP Collateral without the consent of the

DIP Lender; (c) incurring any indebtedness without the prior consent of the DIP Lender, except to

the extent permitted under the DIP Documents; or (d) seeking to amend or modify any of the rights

granted to the DIP Lender under this Interim Order or the DIP Documents, including seeking to

use Cash Collateral and/or DIP Collateral on a contested basis. Except as otherwise permitted in

this Interim Order, the proceeds of the DIP Facility, the DIP Collateral, the Prepetition Collateral,

the Cash Collateral and the Carve-Out may not be used in connection with: (w) objecting to or

challenging in any way the Priming DIP Liens or the DIP Obligations, the DIP Collateral (including

Cash Collateral) or any other claims or liens, held by or on behalf of the DIP Lender; (x) asserting,

commencing or prosecuting any claims or causes of action whatsoever, including, without

limitation, any actions under Chapter 5 of the Bankruptcy Code, applicable state law equivalents

or other actions to recover or disgorge payments against the DIP Lender or any of its affiliates,

agents, attorneys, advisors, professionals, officers, directors, and employees; (y) litigating,

objecting to, challenging, contesting in any manner, or raising any defenses to, the validity, extent,

amount, perfection, priority, or enforceability of any of the DIP Obligations, the Priming DIP

Liens, or any other rights or interests of the DIP Lender; or (z) seeking to subordinate,

recharacterize, disallow or avoid the DIP Obligations.

               44.     Turn Over. Subject to entry of the Final Order, prior to the indefeasible

payment in full in cash and the complete satisfaction of all DIP Obligations and termination of the
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commitment in accordance with the DIP Documents, any party who holds a lien or security interest

in DIP Collateral that is junior and/or subordinate to the Priming DIP Liens or a claim that is

subordinate to the DIP Superpriority Claims (including any of the Prepetition Secured Parties)

receives or is paid the proceeds of any DIP Collateral or receives any other payment or

consideration from the Debtors or any other source (including under any chapter 11 plan) other

than as expressly permitted in the DIP Documents and this Interim Order, such party shall be

deemed to have received, and shall hold, such proceeds or payments in trust for the DIP Lender

and shall immediately turn over such amounts to the DIP Lender for application to repay the DIP

Obligations in accordance with the DIP Documents and this Interim Order until indefeasibly paid

in full in cash.

                   45.   Effect of Stipulations on Third Parties. The Debtors’ Stipulations contained

in paragraph G and releases in paragraph H hereof shall be binding upon the Debtors in all

circumstances upon entry of this Interim Order. The Debtors’ Stipulations shall be binding upon

each other party-in-interest, including the Committee, except to the extent such party in interest

that obtains standing (including any chapter 11 trustee) other than the Debtors (or if the Chapter

11 Cases are converted to cases under chapter 7 prior to the expiration of the Challenge Period (as

defined below), the chapter 7 trustee in such Successor Case), first, commences, by the earliest of

(x) with respect to any Committee, sixty (60) calendar days after the formation and appointment

of any Committee, (y) with respect to other parties-in-interest with requisite standing other than

the Debtors or any Committee, seventy-five (75) calendar days following the date of entry of this

Interim Order, and (such time period established by the earliest of clauses (x) and (y), shall be
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referred to as the “Challenge Period,” and the date that is the next calendar day after the termination

of the Challenge Period in the event that either (i) no Challenge (as defined below) is raised during

the Challenge Period or (ii) with respect only to those parties who file a Challenge, such Challenge

is finally adjudicated, shall be referred to as the “Challenge Period Termination Date”), a contested

matter, adversary proceeding, or other matter challenging or otherwise objecting to the admissions,

stipulations, findings, or releases included in the Debtors’ Stipulations (each, a “Challenge”), and

second, obtains a final, non-appealable order in favor of such party-in-interest sustaining any such

Challenge in any such timely-filed contested matter, adversary proceeding, or other action (any

such Challenge timely brought for which such a final and non-appealable order is so obtained, a

“Successful Challenge”). Except as otherwise expressly provided herein, from and after the

Challenge Period Termination Date and for all purposes in these Chapter 11 Cases and any

Successor Cases (and after the dismissal of these Chapter 11 Cases or any Successor Cases), (i)

any and all payments made to or for the benefit of the Prepetition Secured Parties or otherwise

authorized by this Interim Order (whether made prior to, on, or after the Petition Date) shall be

indefeasible and not be subject to counterclaim, set-off, subordination, recharacterization, defense,

disallowance, recovery or avoidance, (ii) any and all such Challenges by any party-in-interest shall

be deemed to be forever released, waived, and barred, (iii) all of the Prepetition Obligations shall

be deemed to be fully allowed claims within the meaning of section 506 of the Bankruptcy Code,

and (iv) the Debtors’ Stipulations shall be binding on all parties in interest in these Chapter 11

Cases or any Successor Cases, including any Committee or chapter 11 or chapter 7 trustee.

Notwithstanding the foregoing, to the extent any Challenge is timely asserted, the Debtors’
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Stipulations and the other provisions in clauses (i) through (iv) in the immediately preceding

sentence shall nonetheless remain binding and preclusive on any Committee and on any other

party-in-interest from and after the Challenge Period Termination Date, except to the extent that

such Debtors’ Stipulations or the other provisions in clauses (i) through (iv) of the immediately

preceding sentence were challenged in such Challenge and such Challenge becomes a Successful

Challenge. Notwithstanding any provision to the contrary herein, nothing in this Interim Order

shall be construed to grant standing on any party in interest, including any Committee, to bring

any Challenge on behalf of the Debtors’ estates.

                46.     No Third-Party Rights. Except as explicitly provided for herein or in any

of the DIP Documents, this Interim Order does not create any rights for the benefit of any third

party, creditor, equity holder, or direct, indirect, or incidental beneficiary.

                47.     No Lender Liability. In determining to make any loan (whether under the

DIP Documents or otherwise) or to permit the use of Cash Collateral or taking any other act

permitted under this Interim Order and the DIP Documents or by other Court order, the DIP Lender

shall not (i) be deemed to be in control of the operations of the Debtors or to be acting as a

“responsible person” or “owner or operator” with respect to the operation or management of the

Debtors (as such terms, or any similar terms, are used in the United States Comprehensive

Environmental Response, Compensation and Liability Act, as amended, or any similar federal,

state or local statute or regulation) or (ii) owe any fiduciary duty to the Debtors, their respective

creditors, shareholders, or estates.



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               48.     Section 506(c) Claims. Subject to entry of a Final Order and as a further

condition of the DIP Facility and any obligation of the DIP Lender to make credit extensions

pursuant to the DIP Documents (and the consent of the DIP Lender to the payment of the Carve-

Out to the extent provided herein and the consent of the Prepetition Secured Parties of the priming

of the Prepetition Liens by the DIP Facility and the use of Cash Collateral) (a) no costs or expenses

of administration of the Chapter 11 Cases or any Successor Cases shall be charged against or

recovered from or against the DIP Lender with respect to the DIP Collateral pursuant to section

105 or section 506(c) of the Bankruptcy Code or otherwise, without the prior written consent of

the DIP Lender and (b) no such consent shall be implied from any other action, inaction, or

acquiescence of the DIP Lender.

               49.     No Marshaling. The DIP Lender shall not be subject to the equitable

doctrine of “marshaling” or any other similar doctrine with respect to the DIP Collateral.

               50.     Section 552(b). The DIP Lender shall be entitled to all of the rights and

benefits of section 552(b) of the Bankruptcy Code, and the “equities of the case” exception under

section 552(b) of the Bankruptcy Code shall not apply to the DIP Secured Parties with respect to

proceeds, product, offspring or profits of the DIP Collateral.

               51.     Exculpation. Nothing in this Interim Order or the DIP Documents shall in

any way be construed or interpreted to impose or allow the imposition upon the DIP Lender any

liability for any claims arising from the prepetition or postpetition activities of the Debtors,

including with respect to the operation of their businesses, in connection with their restructuring

efforts or administration of these Chapter 11 Cases. In addition, other than with respect to the acts
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to exercise any state law statutory or common law rights and remedies outside of the supervision

of the Bankruptcy Court, (a) the DIP Lender shall not in any way or manner be liable or responsible

for: (i) the safe-keeping of the DIP Collateral, (ii) any loss or damage thereto occurring or arising

in any manner or fashion from any cause, (iii) any Diminution thereof, or (iv) any act or default of

any carrier, servicer, bailee, custodian, forwarding agency or other person, and (b) all risk of loss,

damage, or destruction of the DIP Collateral shall be borne by the Debtors.

               52.     Release of DIP Lender. Upon entry of this Interim Order, the Debtors, on

their own behalf and their estates, forever and irrevocably: (i) release, discharge, and acquit each

of the DIP Lender and its former or current officers, employees, directors, agents, representatives,

owners, members, partners, financial advisors, legal advisors, shareholders, managers, consultants,

accountants, attorneys, affiliates, and predecessors-in-interest of and from any and all claims,

demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness and

obligations, of every type, including, without limitation, any so-called “lender liability” or

equitable subordination claims or defenses, arising on or before the date of this Interim Order

(including with respect to or relating to the negotiation and entry into the DIP Documents); and

(ii) waive, discharge and release any and all defenses (including, without limitation, offsets and

counterclaims of any nature or kind) as to the validity, perfection, priority, enforceability, and

avoidability of the Priming DIP Liens and the DIP Obligations.

               53.     Insurance Proceeds and Policies. Upon entry of this Interim Order and to

the fullest extent provided by applicable law, the DIP Lender, shall be, and shall be deemed to be,



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without any further action or notice, named as additional insured and loss payee on each insurance

policy maintained by the Debtors that in any way relates to the DIP Collateral.

               54.     Rights Preserved. Except as set forth in this Interim Order and in the DIP

Documents (including paragraph 33 hereof), the entry of this Interim Order is without prejudice

to, and does not constitute a waiver of, expressly or implicitly: (a) the DIP Lender’s right to seek

any other or supplemental relief in respect of the Debtors; (b) any of the rights of the DIP Lender

under the Bankruptcy Code or under applicable non-bankruptcy law, including, without limitation,

the right to (i) request modification of the automatic stay of section 362 of the Bankruptcy Code,

(ii) request dismissal of any of the Chapter 11 Cases or Successor Cases, conversion of any of the

Cases to cases under Chapter 7, or appointment of a Chapter 11 trustee or examiner with expanded

powers, or (iii) propose, subject to the provisions of section 1121 of the Bankruptcy Code, a

Chapter 11 plan or plans; (c) any other rights, claims or privileges (whether legal, equitable or

otherwise) of the DIP Lender; (d) the Debtors’, any Committee’s or any party-in-interest’s right to

oppose any of the relief requested in (a) – (c) hereof except as expressly prohibited in this Interim

Order; and (e) any and all rights of the Debtors, a Committee (if appointed) or any other party-in-

interest with respect to the terms and approval of the Final Order and any other position which any

party-in-interest deems appropriate to raise in the Debtors’ Cases.

               55.     No Waiver by Failure to Seek Relief. The failure of the DIP Lender to seek

relief or otherwise exercise their rights and remedies under this Interim Order, the DIP Documents,

or applicable law, as the case may be, shall not constitute a waiver of any of the rights hereunder,

thereunder, or otherwise.
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               56.     Binding Effect of Interim Order. Immediately upon entry of this Interim

Order by this Court, the terms and provisions of this Interim Order shall become valid and binding

upon and inure to the benefit of the Debtors, the DIP Lender, the Prepetition Secured Parties, all

other creditors of any of the Debtors, any Committee (or any other court appointed committee)

appointed in the Chapter 11 Cases and all other parties-in-interest and their respective successors

and assigns, including any trustee or other fiduciary hereafter appointed in any of the Chapter 11

Cases, any Successor Cases, or upon dismissal of any Chapter 11 Case or Successor Case.

               57.     No Modification of Interim Order. Until and unless the DIP Obligations

have been indefeasibly paid in full in cash, and all commitments to extend credit under the DIP

Facility have been terminated, the Debtors irrevocably waive the right to seek and shall not seek

or consent to, directly or indirectly, without the prior written consent of the DIP Lender, (i) any

modification, stay, vacatur or amendment to this Interim Order; (ii) a priority claim for any

administrative expense or unsecured claim against the Debtors (now existing or hereafter arising

of any kind or nature whatsoever, including, without limitation any administrative expense of the

kind specified in sections 503(b), 506(c), 507(a) or 507(b) of the Bankruptcy Code) in any of the

Cases or Successor Cases, equal or superior to the DIP Superpriority Claims, Adequate Protection

Superpriority Claims, or Adequate Protection Administrative Expense Claim, other than the Carve

Out and the Prepetition Priority Liens; (iii) any order allowing use of Cash Collateral (other than

as permitted during the Remedies Notice Period) resulting from DIP Collateral or Prepetition

Collateral; (iv) any lien on any of the DIP Collateral with priority equal or superior to the Priming

DIP Liens, except as specifically provided in the DIP Documents; or (v) without the prior written
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consent of the Prepetition Agent, any lien on any of the Prepetition Collateral with priority equal

or superior to the Prepetition Liens or Adequate Protection Liens except as otherwise permitted

under this Interim Order or the DIP Documents.

               58.     Discharge. Except as otherwise agreed in writing by the DIP Lender and

the Prepetition Agent (acting at the direction of the Prepetition Lenders), the DIP Obligations and

the obligations of the Debtors with respect to the adequate protection provided herein shall not be

discharged by the entry of an order confirming any plan of reorganization in any of the Cases,

notwithstanding the provisions of section 1141(d) of the Bankruptcy Code, unless such obligations

have been indefeasibly paid in full in cash (and, in the case of DIP Obligations, “payment in full”

as provided by the DIP Documents), on or before the effective date of such confirmed plan of

reorganization, or each of the DIP Lender and Prepetition Agent has otherwise agreed in writing.

None of the Debtors shall propose or support any plan of reorganization or sale of all or

substantially all of the Debtors’ assets, or order confirming such plan or approving such sale, that

is not conditioned upon the indefeasible payment of the DIP Obligations, and the payment of the

Debtors’ obligations with respect to the adequate protection provided for herein, in full in cash

within a commercially reasonable period of time (and in no event later than the effective date of

such plan of reorganization or sale) (a “Prohibited Plan or Sale”) without the written consent of

each of the DIP Lender and the Prepetition Agent (acting at the direction of the Prepetition

Lenders). For the avoidance of doubt, the Debtors’ proposal or support of a Prohibited Plan or

Sale, or the entry of an order with respect thereto, shall constitute an Event of Default hereunder

and under the DIP Documents.
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               59.     Joint and Several. The Debtors are jointly and severally liable for the DIP

Obligations and all other obligations hereunder.

               60.     Survival. The provisions of this Interim Order and any actions taken

pursuant hereto shall survive entry of any order which may be entered: (a) confirming any plan of

reorganization in any of the Chapter 11 Cases; (b) converting any of the Chapter 11 Cases to a case

under Chapter 7 of the Bankruptcy Code; (c) dismissing any of the Chapter 11 Cases or any

Successor Cases; or (d) pursuant to which this Bankruptcy Court abstains from hearing any of the

Cases or Successor Cases. The terms and provisions of this Interim Order, including the claims,

liens, security interests and other protections granted to the DIP Lender and the Prepetition Secured

Parties pursuant to this Interim Order and the DIP Documents, shall continue in the Chapter 11

Cases, in any Successor Cases, or following dismissal of the Chapter 11 Cases or any Successor

Cases, and shall maintain their priority as provided by this Interim Order until: (i) in respect of the

DIP Facility, all the DIP Obligations, pursuant to the DIP Documents and this Interim Order, have

been indefeasibly paid in full in cash (such payment being without prejudice to any terms or

provisions contained in the DIP Facility which survive such discharge by their terms), and all

commitments to extend credit under the DIP Facility are terminated; and (ii) in respect of the

Prepetition Secured Facilities, all of the Prepetition Obligations pursuant to the Prepetition Loan

Documents and this Interim Order, have been indefeasibly paid in full in cash. The terms and

provisions concerning the indemnification of the DIP Lender shall continue in the Cases, in any

Successor Cases, following dismissal of the Cases or any Successor Cases, following termination

of the DIP Documents and/or the indefeasible repayment of the DIP Obligations. In addition, the
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terms and provisions of this Interim Order shall continue in full force and effect for the benefit of

the Prepetition Secured Parties notwithstanding the repayment in full or termination of the DIP

Obligations until such time as the Prepetition Obligations have been indefeasibly paid in full.

               61.     Final Hearing. The Final Hearing to consider entry of the Final Order and

final approval of the DIP Facility is scheduled for April [__], 2020, at 2:00pm (Eastern Standard

Time) before the Honorable _______, United States Bankruptcy Judge, in Courtroom #[2], at the

United States Bankruptcy Court for the Middle District of Florida. On or before April [__], 2020,

the Debtors shall serve, by United States mail, first-class postage prepaid, notice of the entry of

this Interim Order and of the Final Hearing (the “Final Hearing Notice”), together with copies of

this Interim Order, the proposed Final Order and the Motion, on: (a) the parties having been given

notice of the Interim Hearing; (b) any party that has filed prior to such date a request for notices

with this Bankruptcy Court; and (c) counsel for a Committee (if appointed). The Final Hearing

Notice shall state that any party-in-interest objecting to the entry of the proposed Final Order shall

file written objections with the Clerk of the Bankruptcy Court no later than April [ ], 2020 at 4:00

pm (Eastern Standard Time), which objections shall be served so as to be received on or before

such date by: (i) counsel to the Debtors, Shuker & Dorris, PA, 121 S. Orange Avenue, Suite 1120,

Orlando, Florida 32801, Attn: R. Scott Shuker, Esquire; (ii) counsel to the Prepetition Agent,

Chapman and Cutler LLP, 1270 Avenue of the Americas, New York, NY 10020, Attn: Anthony M.

DiGiacomo; and (iii) counsel to the DIP Lender, Proskauer Rose LLP, Eleven Times Square, New

York, NY 10036, Attn: Vincent Indelicato and Chris Theodoridis, and Zachary Frimet.



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                 62.   Necessary Action. The Debtors are authorized to take any and all such

actions and to make, execute and deliver any and all instruments as may be reasonably necessary

to implement the terms and conditions of this Order and the transactions contemplated hereby.

                 63.   Enforceability. This Interim Order shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect and be enforceable

immediately upon entry thereof.       Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h),

6006(d), 7062 or 9014 of the Bankruptcy Rules, any applicable Local Bankruptcy Rules, or Rule

62(a) of the Federal Rules of Civil Procedure, this Interim Order shall be immediately effective

and enforceable upon its entry and there shall be no stay of execution or effectiveness of this

Interim Order.

                 64.   Binding Effect of Interim Order. Immediately upon entry of this Interim

Order by this Court, the terms and provisions of this Interim Order shall become valid and binding

upon and inure to the benefit of the Debtors, the DIP Lender, the Prepetition Secured Parties, all

other creditors of any of the Debtors, any Committee (or any other court appointed committee)

appointed in the Chapter 11 Cases and all other parties-in-interest and their respective successors

and assigns, including any trustee or other fiduciary hereafter appointed in any of the Chapter 11

Cases, any Successor Cases, or upon dismissal of any Chapter 11 Case or Successor Case.

                 65.   Headings. The headings in this Interim Order are for purposes of reference

only and shall not limit or otherwise affect the meaning of this Interim Order.

                 66.   Retention of Jurisdiction. This Court has and will retain jurisdiction to

enforce this Interim Order according to its terms.
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Attorney R. Scott Shuker is directed to serve a copy of this order on interested parties and file a proof of service within
three (3) days of entry of the order.




                                                           58
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                                                                                                             EXHIBIT "C"
13 Week Cash Inflow / Outflow
Period                                       Week 1         Week 2           Week 3           Week 4          Week 5        Week 6            Week 7           Week 8          Week 9           Week 10        Week 11          Week 12          Week 13
Actual/Forecast                              Forecast       Forecast         Forecast        Forecast        Forecast       Forecast          Forecast         Forecast        Forecast         Forecast       Forecast         Forecast         Forecast       13‐Week
Week Ending                                 11‐Apr‐20      18‐Apr‐20        25‐Apr‐20        2‐May‐20        9‐May‐20      16‐May‐20         23‐May‐20        30‐May‐20        6‐Jun‐20         13‐Jun‐20      20‐Jun‐20        27‐Jun‐20        4‐Jul‐20         Total

Operating Cash Inflows
 Credit/Debit Cards                                141           141              141              141             141            141              141               141              141             141            141              141              141          1,831
 Deposits (Cash/Checks)                              16            16               16               16              16             16               16                16               16              16             16               16               16           208
 AR Deposits                                       ‐             ‐                ‐                ‐               ‐              ‐                ‐                 ‐                ‐               ‐              ‐                ‐                ‐              ‐
 ACH Incoming                                      ‐             ‐                ‐                ‐               ‐              ‐                ‐                 ‐                ‐               ‐              ‐                ‐                ‐              ‐
 Sales & Use Tax                                     10            10               10               10              10             10               10                10               10              10             10               10               10           125
Total Operating Cash Inflows                       166           166              166              166             166            166              166               166              166             166            166              166              166          2,164
Operating Disbursements
 Food supplier                                     (48)           (48)             (48)            (48)            (48)           (48)              (48)             (48)             (48)             (48)           (48)             (48)             (48)          (623)
 Payroll                                           ‐             (380)             ‐              (200)            ‐             (200)              ‐               (200)             ‐               (200)           ‐               (200)             ‐           (1,380)
 Sales & Use Tax                                   ‐              ‐                (38)            ‐               ‐              ‐                 ‐                (48)             ‐                ‐              ‐                (38)             ‐             (125)
 Advertising                                       (20)           (20)             (20)            (20)            (20)           (20)              (20)             (20)             (20)             (20)           (20)             (20)             (20)          (260)
 Rent                                              ‐              ‐                ‐               ‐               ‐              ‐                 ‐                ‐                ‐                ‐              ‐                ‐             (1,500)        (1,500)
 Credit Card Fees                                  ‐              ‐                ‐               ‐               ‐              ‐                 ‐                ‐                ‐                ‐              ‐                ‐                ‐              ‐
 Software                                            (5)            (5)              (5)             (5)             (5)            (5)               (5)              (5)              (5)              (5)            (5)              (5)              (5)          (67)
 General Liability                                   (9)            (9)              (9)             (9)             (9)            (9)               (9)              (9)              (9)              (9)            (9)              (9)              (9)         (117)
 Trash                                               (5)            (0)              (0)             (0)             (0)            (0)               (0)              (0)              (0)              (0)            (0)              (0)              (0)          (11)
 Packaging                                           (5)            (5)              (5)             (5)             (5)            (5)               (5)              (5)              (5)              (5)            (5)              (5)              (5)          (62)
 Delivery Fees                                       (6)            (6)              (6)             (6)             (6)            (6)               (6)              (6)              (6)              (6)            (6)              (6)              (6)          (79)
 Utilities                                         (24)           (24)             (24)            (24)            (24)           (24)              (24)             (24)             (24)             (24)           (24)             (24)             (24)          (311)
 R&M                                                 (2)            (2)              (2)             (2)             (2)            (2)               (2)              (2)              (2)              (2)            (2)              (2)              (2)          (26)
 Capex                                             ‐              ‐                ‐               ‐               ‐              ‐                 ‐                ‐                ‐                ‐              ‐                ‐                ‐              ‐
 Taxes                                             ‐              ‐                ‐               ‐               ‐              ‐                 ‐                ‐                ‐                ‐              ‐                ‐                ‐              ‐
 Other                                             (15)           (15)             (15)            (15)            (15)           (15)              (15)             (15)             (15)             (15)           (15)             (15)             (15)          (195)
Total Operating Disbursements                     (139)          (514)            (173)           (334)           (134)          (334)             (134)            (382)            (134)            (334)          (134)            (373)          (1,634)        (4,756)
Net Cash Flow before Non‐Op Disbursements           28           (348)                 (6)        (168)             32           (168)               32             (216)                 32          (168)            32             (206)          (1,468)        (2,592)
Non‐Operating Disbursements
 Corporate management                             (500)           ‐                ‐               ‐              (500)            ‐                ‐                ‐                ‐               (500)           ‐                ‐                ‐           (1,500)
 Deferred rent                                     ‐              ‐                ‐               ‐               ‐               ‐                ‐                ‐                ‐                ‐              ‐                ‐             (3,000)        (3,000)
 Other                                               (5)              (5)              (5)             (5)           (5)               (5)              (5)              (5)              (5)            (5)              (5)              (5)            (5)          (65)
Total Non‐Operating Disbursements                 (505)               (5)              (5)             (5)        (505)                (5)              (5)              (5)              (5)         (505)               (5)              (5)       (3,005)        (4,565)
Net Cash Flow                                     (477)          (353)             (11)           (173)           (473)          (173)               27             (221)                 27          (673)            27             (211)          (4,473)        (7,157)
Beginning Cash Balance ‐ Book                      725            748             395              883             711            738              565               592              871              898           725               752            1,041            725
 Net Cash Flow                                    (477)          (353)            (11)            (173)           (473)          (173)               27             (221)               27            (673)            27             (211)          (4,473)        (7,157)
 Change in Borrowings                              500            ‐               500              ‐               500            ‐                ‐                 500              ‐                500           ‐                 500            4,500          7,500
Ending Available Cash Balance ‐ Book               748            395             883              711             738            565              592               871              898              725           752             1,041            1,068          1,068
DIP Loan
Ending Balance                                     856            856            1,423           1,423           1,978          1,978             1,978            2,567            2,567            3,122          3,122            3,724           8,824
Ending Availability                              9,144          9,144            8,577           8,577           8,022          8,022             8,022            7,433            7,433            6,878          6,878            6,276           1,176




                                                                                                                           Page 1 of 1
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                                                                                    CONFIDENTIAL ‐ NOT FOR EXTERNAL DISTRIBUTION




Debt Schedule
Period                          Week 1        Week 2       Week 3        Week 4      Week 5         Week 6           Week 7       Week 8        Week 9       Week 10       Week 11      Week 12       Week 13
Actual/Forecast                 Forecast      Forecast     Forecast     Forecast    Forecast        Forecast         Forecast     Forecast      Forecast      Forecast      Forecast     Forecast     Forecast      13‐Week
Week Ending                    11‐Apr‐20     18‐Apr‐20    25‐Apr‐20     2‐May‐20    9‐May‐20       16‐May‐20        23‐May‐20    30‐May‐20      6‐Jun‐20     13‐Jun‐20     20‐Jun‐20    27‐Jun‐20     4‐Jul‐20        Total

DIP Balance
 Total DIP Beginning Balance          ‐             856          856        1,423         1,423         1,978            1,978        1,978          2,567        2,567         3,122        3,122         3,724          ‐
 Borrowings                           500           ‐            500          ‐             500           ‐                ‐            500            ‐            500           ‐            500         4,500        7,500
 Fees                                 356           ‐              56         ‐               56          ‐                ‐              56           ‐              56          ‐              56          500        1,133
 Expenses                             ‐             ‐            ‐            ‐             ‐             ‐                ‐            ‐              ‐            ‐             ‐            ‐             100          100
 (Paydown)                            ‐             ‐            ‐            ‐             ‐             ‐                ‐            ‐              ‐            ‐             ‐            ‐             ‐            ‐
 PIK interest Accrual                 ‐             ‐              12         ‐             ‐             ‐                ‐              33           ‐            ‐             ‐              46          ‐              90
Total Ending Balance                  856           856        1,423        1,423         1,978         1,978            1,978        2,567          2,567        3,122         3,122        3,724         8,824        8,824
DIP Funding to Company                500           ‐            500          ‐             500           ‐                ‐            500            ‐            500           ‐            500         4,500
 Gross Up for Commitment Fee          556           ‐            556          ‐             556           ‐                ‐            556            ‐            556           ‐            556         5,000
 Origination Fee                      300           ‐            ‐            ‐             ‐             ‐                ‐            ‐              ‐            ‐             ‐            ‐             ‐
 Expense Reimbursement                ‐             ‐            ‐            ‐             ‐             ‐                ‐            ‐              ‐            ‐             ‐            ‐             100
DIP Draw                              856           ‐            556          ‐             556           ‐                ‐            556            ‐            556           ‐            556         5,100
PIK Interest
PIK Interest Accrual                                              12                                                                     33                                                     46
PIK Interest Rate                                               0.8%                                                                   1.3%                                                   1.3%
  Number of Days per Month                                        20                                                                     31                                                     30
DIP Availability
Beginning Availability             10,000         9,144        9,144        8,577        8,577          8,022            8,022        8,022          7,433        7,433         6,878        6,878         6,276
Change in Borrowings                 (856)          ‐           (567)         ‐           (556)           ‐                ‐           (588)           ‐           (556)          ‐           (602)       (5,100)
Ending Availability                 9,144         9,144        8,577        8,577        8,022          8,022            8,022        7,433          7,433        6,878         6,878        6,276         1,176




                                                                                                      Page 1 of 1
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FoodFirst Global Restaurants, Inc.   City National Bank                    Gordon Food Service
420 S. Orange Ave., Ste. 900         Attn: Portfolio Manager               P.O. Box 88029
Orlando, FL 32801                    555 South Flower St, 24th FL          Chicago, IL 60680-1029
                                     Los Angeles, CA 90071



R.Scott Shuker, Esq                  City National Bank                    GULFSTREAM PARK RACING
Shuker & Dorris, P.A.                Attn: Managing Counsel                ATTN: ACCTS RECEIVABLES
121 S. Orange Avenue                 555 South Flower St, 24th FL          901 S. FEDERAL HWY
Suite 1120                           Los Angeles, CA 90071                 Hallandale, FL 33009
Orlando, FL 32801

100 PRATT ST. VENTURE, LLC           Davis & Jones, LLC                    HINES GLOBAL REIT
PO BOX 780462                        209 West 2nd St. Ste. 322             4875 TOWN CENTER LLC
Philadelphia, PA 19178-0462          Fort Worth, TX 76102                  P.O. BOX 742632
                                                                           Atlanta, GA 30374-2632



AMERICAN EXPRESS PCARD               DOLPHIN MALL ASSOCIATES               Holland & Knight LLP
1801 NW 66TH AVE. STE 103C           PO BOX 6700                           Attn: Eric W. Kimiball
Fort Lauderdale, FL 33313-4571       DEPT 189501                           200 Crescent Court, Ste 1600
                                     Detroit, MI 48267-1895                Dallas, TX 75201



ANTHEM BCBS                          EASTON TOWN CENTER LLC                Internal Revenue Service
PO BOX 645438                        L-3769                                Centralized Insolvency Ops
Cincinnati, OH 45264-5438            Columbus, OH 43260-3769               PO Box 7346
                                                                           Philadelphia, PA 19101-7346



Bugatti Merger Sub, Inc.             ESIS Customer Service                 K&L Gates LLP
420 S. Orange Ave., Ste. 900         P.O. Box 15054 #1275 3-E              Rua Iguatemi
Orlando, FL 32801                    Wilmington, DE 19850                  151 conjunto 281
                                                                           São Paulo - SP, 01451-011
                                                                           Brazil

C.H. ROBINSON COMPANY, INC           FAIRFAX COMP OF VIRGINIA              Little John's Refrigeration
P.O. BOX 9121                        P.O BOX 67000                         1795 N. Fry Rd., Ste. 315
Minneapolis, MN 55480-9121           DEPT 56501                            Katy, TX 77449
                                     Detroit, MI 48267-0565



Chapman & Cutler LLP                 Garrison Loan Agency Service          Lucas Santos Rodas
Attn: Anthony DiGiacomo, Esq         Attn: Portfolio Manager               Av Brig. Faira Lima
1270 Ave of Americas 30th FL         1290 Ave of Americas Ste 914          2601 - CJ. 42
New York, NY 10020                   New York, NY 10104                    Sao Paulo - SP - 01452-924
                                                                           Brazil

CHERRY HILL TOWN CTR PARTN           Garrison Loan Agency Service          MICHAEL'S FINER MEATS
1260 SHELTON ROAD                    Attn: Legal Department                29037 NETWORK PLACE
ATTN: SHOSHANA MAGDIELI              1290 Ave of Americas Ste 914          Chicago, IL 60673-1290
Piscataway, NJ 08854                 New York, NY 10104
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OHIO TREASURER OF STATE            Tribal Casino Gaming Enterpr
180 E. BORAD STREET                P.O. Box 1955
Columbus, OH 43215                 Cherokee, NC 28719




OPEN TABLE INC                     TYSONS CORNER CENTER
29109 NETWORK PLACE                P.O. BOX 849554
Chicago, IL 60673-1291             Los Angeles, CA 90087-9554




Orange County Tax Collector        Wasserstrom Company
301 S Robinson Avenue              P.O. Box 182056
Orlando, FL 32801                  Columbus, OH 43218-2056




Paul, Weiss, Rifkind, et al        WEST FARMS MALL, LLC
Attn: S. Koo or D. Klein           PO BOX 67000
1285 Avenue of the Americas        DEPT 55501
New York, NY 10019-6064            Detroit, MI 48267-0555



Piper Sandler & Co.
800 Nicollet Mall
Suite 900
Minneapolis, MN 55402



PRODUCE ALLIANCE LLC
PO BOX 7762
Carol Stream, IL 60197-7762




PROFORMA
6341 NICHOLAS DRIVE
Columbus, OH 43235




ROUSE - PARK MEADOWS, LLC
P.O. BOX 86
Minneapolis, MN 55486-3096




STAR-WEST FRANKLIN PK MALL
P.O. BOX 398008
San Francisco, CA 94139-8008
                              Case 6:20-bk-02159-LVV     Doc 23         Filed 04/13/20   Page 126 of 127
Label Matrix for local noticing               FoodFirst Global Restaurants, Inc.            100 PRATT ST. VENTURE, LLC
113A-6                                        420 S Orange Ave Ste 900                      PO BOX 780462
Case 6:20-bk-02159-KJ                         Orlando, FL 32801-4903                        Philadelphia, PA 19178-0462
Middle District of Florida
Orlando
Mon Apr 13 09:53:12 EDT 2020
AMERICAN EXPRESS PCARD                        ANTHEM BCBS                                   (p)C H ROBINSON WORLDWIDE INC
1801 NW 66TH AVE. STE 103C                    PO BOX 645438                                 ATTN BANKRUPTCY TEAM BILL GLAD
Fort Lauderdale, FL 33313-4571                CINCINNATI, OH 45264-5438                     14701 CHARLSON ROAD
                                                                                            SUITE 2400
                                                                                            EDEN PRAIRIE MN 55347-5093

CHERRY HILL TOWN CTR PARTN                    DOLPHIN MALL ASSOCIATES                       EASTON TOWN CENTER LLC
1260 SHELTON ROAD                             PO BOX 6700                                   L-3769
ATTN: SHOSHANA MAGDIELI                       DEPT 189501                                   Columbus, OH 43260-3769
Piscataway, NJ 08854                          Detroit, MI 48267-1895


FAIRFAX COMP OF VIRGINIA                      GORDON FOOD SERVICE                           GULFSTREAM PARK RACING
P.O BOX 67000                                 P.O. BOX 88029                                ATTN: ACCTS RECEIVABLES
DEPT 56501                                    CHICAGO, IL 60680-1029                        901 S. FEDERAL HWY
Detroit, MI 48267-0565                                                                      Hallandale, FL 33009-7199


HINES GLOBAL REIT                             MICHAEL’S FINER MEATS                         OPEN TABLE INC
4875 TOWN CENTER LLC                          29037 NETWORK PLACE                           29109 NETWORK PLACE
P.O. BOX 742632                               Chicago, IL 60673-1290                        Chicago, IL 60673-1291
Atlanta, GA 30374-2632


PRODUCE ALLIANCE LLC                          PROFORMA                                      ROUSE - PARK MEADOWS, LLC
PO BOX 7762                                   6341 NICHOLAS DRIVE                           P.O. BOX 86
Carol Stream, IL 60197-7762                   Columbus, OH 43235-5204                       Minneapolis, MN 55486-3096



STAR-WEST FRANKLIN PK MALL                    TYSONS CORNER CENTER                          WASSERSTROM COMPANY
P.O. BOX 398008                               P.O. BOX 849554                               P.O. BOX 182056
SAN FRANCISCO, CA 94139-8008                  Los Angeles, CA 90084-9554                    COLUMBUS OH 43218-2056



WEST FARMS MALL, LLC                          Mariane L Dorris +                            R Scott Shuker +
PO BOX 67000                                  Shuker & Dorris, P.A.                         Shuker & Dorris, P.A.
DEPT 55501                                    121 South Orange Avenue, Suite 1120           121 South Orange Avenue
Detroit, MI 48267-0555                        Orlando, FL 32801-3238                        Suite 1120
                                                                                            Orlando, FL 32801-3238

United States Trustee - ORL +                 Ronald M Tucker +                             Jill E Kelso +
Office of the United States Trustee           Simon Property Group                          Office of the United States Trustee
George C Young Federal Building               225 West Washington Street                    400 W. Washington Street
400 West Washington Street, Suite 1100        Indianapolis, IN 46204-3438                   Suite 1100
Orlando, FL 32801-2210                                                                      Orlando, FL 32801-2440

Note: Entries with a ’+’ at the end of the
name have an email address on file in CMECF
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


C.H. ROBINSON COMPANY, INC                           End of Label Matrix
P.O. BOX 9121                                        Mailable recipients    27
Minneapolis, MN 55480-9121                           Bypassed recipients     0
                                                     Total                  27
